       Case 22-90168 Document 1090 Filed in TXSB on 12/07/22 Page 1 of 128


                              IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE SOUTHERN DISTRICT OF TEXAS
                                         HOUSTON DIVISION

                                                      §
In re:                                                §        Chapter 11
                                                      §
CINEWORLD GROUP PLC, et al.,                          §        Case No. 22-90168 (MI)
                                                      §
                                                      §        (Jointly Administered)
                    Debtors.1                         §
                                                      §

           FIRST FEE STATEMENT OF WEIL, GOTSHAL & MANGES LLP
          FOR SERVICES AND REIMBURSEMENT OF EXPENSES AS CO-
      COUNSEL TO THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS
     FOR THE PERIOD FROM SEPTEMBER 28, 2022 THROUGH OCTOBER 31, 2022

Name of Applicant:                                  Weil, Gotshal & Manges LLP
Applicant’s Role in Case:                           Co-Counsel to the Official Committee of Unsecured Creditors
Date of Retention:                                  November 28, 2022, nunc pro tunc to September 28, 2022
                                                      Beginning of Period                   End of Period
Time period covered by this statement:                September 28, 2022                  October 31, 2022
                                  Summary of Total Fees and Expenses Requested:
                                                                         $1,279,789.20
Total fees requested in this statement:
                                                                         (80% of $1,599,736.50)
Total expenses requested in this statement:                              $4,925.87
Total fees and expenses requested in this statement
                                                                         $1,284,715.07
(excluding holdback):
                                       Summary of Attorney Fees Requested:
Total attorney fees requested in this statement:                         $1,566,562.00
Total actual attorney hours covered by this statement:                   1,358.90
Average hourly rate for attorneys:                                       $1,152.82
                                   Summary of Paraprofessional Fees Requested:

Total paraprofessional fees requested in this statement:                 $33,174.50

Total actual paraprofessional hours covered by this statement:           80.70
Average hourly rate for paraprofessionals:                               $411.08




1
  A complete list of each of the Debtors in these Chapter 11 Cases may be obtained on the website of the Debtors’
claims and noticing agent at https://cases.ra.kroll.com/cineworld/. The location of the Debtors’ service address for the
purposes of these Chapter 11 Cases is: 8th Floor Vantage London, Great West Road, Brentford, England, TW8 9AG,
United Kingdom.



WEIL:\98902839\4\25808.0003
       Case 22-90168 Document 1090 Filed in TXSB on 12/07/22 Page 2 of 128


                    In accordance with the Order Establishing Procedures for Interim
                    Compensation and Reimbursement of Expenses for Professionals
                    [Docket No. 666], each party receiving notice of the monthly fee
                    statement will have until 4:00 p.m. (Prevailing Central Time), 20 days
                    after service of the monthly fee statement to object to the requested
                    fees and expenses. Upon the expiration of such 20-day period, the
                    Debtor is authorized to pay the Professional an amount of 80% of the
                    fees and 100% of the expenses requested in the applicable monthly fee
                    statement.

           Pursuant to §§ 327, 330, and 331 of title 11 of the United States Code (the “Bankruptcy

 Code”), Rule 2016 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”),

 Rule 2016-1 of the Bankruptcy Local Rules for the Southern District of Texas (the “Bankruptcy

 Local Rules”), and the Order Establishing Procedures for Interim Compensation and

 Reimbursement of Expenses for Retained Professionals (the “Fee Procedures Order”) [Docket

 No. 666], Weil, Gotshal & Manges LLP (“Weil”), as co-counsel to the Official Committee of

 Unsecured Creditors, hereby files its First Monthly Fee Statement of Weil, Gotshal & Manges

 LLP for Services and Reimbursement of Expenses as Co-Counsel to the Official Committee of

 Unsecured Creditors for the Period from September 28, 2022 Through October 31, 2022

 (“Monthly Fee Statement”).

           1.        Pursuant to the Fee Procedures Order, Weil seeks interim payment of

 $1,279,789.20 (80% of $1,599,736.50) as compensation for professional services rendered to the

 Debtor during the period from September 28, 2022 through October 31, 2022 (the “Fee

 Period”); and reimbursement of actual and necessary expenses in the amount of $4,925.87, for a

 total amount of $1,284,715.07 to be paid upon expiration of the objection deadline.

           2.        In support of the Monthly Fee Statement, Weil submits a Summary of hours

 billed, attached hereto as Exhibit A, a Compensation by Matter, attached hereto as Exhibit B,

 an Expense Summary, attached hereto as Exhibit C, and a Detailed Record of Fees and

 Expenses, attached hereto as Exhibit D.

           3.        Pursuant to the Fee Procedures Order, any party objecting to the payment of


                                                       2
WEIL:\98902839\4\25808.0003
       Case 22-90168 Document 1090 Filed in TXSB on 12/07/22 Page 3 of 128


 interim compensation and reimbursement of expenses shall serve via email to Weil, and the

 following Application Recipients (as defined in the Fee Procedures Order), a written notice

 setting forth the precise nature of the objection and the amount at issue (the “Notice of

 Objection”) on or before

                     4:00 p.m. (prevailing Central Time) twenty (20) days after service of this Monthly
 Fee Statement:

           (a)       the Debtors, Cineworld Group plc, Attn: General Counsel, Nigel Kravitz
                     (nigel.kravitz@cineworld.co.uk);


           (b)       co-counsel to the Debtors, Kirkland & Ellis LLP, 601 Lexington Avenue, New
                     York, New York 10022, Attn: Joshua A. Sussberg, P.C.
                     (joshua.sussberg@kirkland.com), Christopher Marcus, P.C.
                     (christopher.marcus@kirkland.com), Christine Okike, P.C.
                     (christine.okike@kirkland.com), and Ciara Foster (ciara.foster@kirkland.com);


           (c)       co-counsel to the Debtors, Jackson Walker LLP, 1401 McKinney Street, Suite
                     1900, Houston, Texas 77010, Attn: Rebecca Blake Chaikin (rchaikin@jw.com)
                     and Vienna Anaya (vanaya@jw.com);


           (d)       the U.S. Trustee, 515 Rusk Street, Suite 3516, Houston, Texas 77002, Attn: Stephen
                     D. Statham (Stephen.Statham@usdoj.gov);


           (e)       counsel to the Ad Hoc Term Loan Group, Arnold & Porter Kaye Scholer LLP,
                     70 West Madison Street, Suite 4200 Chicago, IL 60602, Attn: Mike Messersmith
                     (michael.messersmith@arnoldporter.com) and Arnold & Porter Kaye Scholer
                     LLP, 250 West 55th Street, New York, NY 10019, Attn: Maja Zerjal Fink
                     (maja.zerjalfink@arnoldporter.com);


           (f)       counsel to the agent under the Debtors’ debtor-in-possession facility, Sullivan &
                     Cromwell LLP, 125 Broad Street New York, New York 10004, Attn: James
                     L. Bromley (bromleyj@sullcrom.com); and


           (g)       counsel to the Official Committee of Unsecured Creditors, Weil Gotshal
                     Manges, 700 Louisiana Street, Suite 1700, Houston, TX 77002
                     (alfredo.perez@weil.com) and Pachulski Stang Ziehl & Jones LLP, 440
                     Louisiana Street, Suite 900, Houston, TX 77002 (mwarner@pszjlaw.com).

           4.        Although every effort has been made to include all fees and expenses incurred in

 the Fee Period, some fees and expenses might not be included in this Monthly Fee Statement
                                                      3
WEIL:\98902839\4\25808.0003
       Case 22-90168 Document 1090 Filed in TXSB on 12/07/22 Page 4 of 128


 due to delays caused by accounting and processing during the Fee Period.   Weil reserves the

 right to make further application to this Court for allowance of such fees and expenses not

 included herein. Subsequent Monthly Fee Statements will be filed in accordance with the

 Bankruptcy Code, the Bankruptcy Rules, and the Fee Procedures Order.



Dated: December 7, 2022
       Houston, Texas                      /s/ Gabriel A. Morgan
                                          WEIL, GOTSHAL & MANGES LLP
                                          Alfredo R. Pérez (TX Bar No. 15776275)
                                          Gabriel A. Morgan (TX Bar No. 24125891)
                                          Theodore S. Heckel (admitted pro hac vice)
                                          700 Louisiana Street, Suite 1700
                                          Houston, Texas 77002
                                          Telephone: (713) 546-5000
                                          Facsimile: (713) 224-9511
                                          Email: Alfredo.Perez@weil.com
                                                 Gabriel.Morgan@weil.com
                                                 Theodore.Heckel@weil.com

                                          -and-

                                          WEIL, GOTSHAL & MANGES LLP
                                          Matthew S. Barr (admitted pro hac vice)
                                          Sunny Singh (admitted pro hac vice)
                                          Rachael L. Foust (admitted pro hac vice)
                                          767 Fifth Avenue
                                          New York, New York 10153
                                          Telephone: (212) 310-8000
                                          Facsimile: (212) 310-8007
                                          Email: Matt.Barr@weil.com
                                                 Sunny.Singh@weil.com
                                                 Rachael.Foust@weil.com

                                          Co-Counsel to the Official Committee
                                          of Unsecured Creditors




                                              4
WEIL:\98902839\4\25808.0003
          Case 22-90168 Document 1090 Filed in TXSB on 12/07/22 Page 5 of 128


                                                         Exhibit A

                                            Summary of Hours Billed by
                                           Weil Attorneys for the Fee Period

 The attorneys who rendered professional services in these chapter 11 cases from September 28,
 2022 through October 31, 2022 (the “Fee Period”) are:

                                                              YEAR       HOURLY      TOTAL       TOTAL
       NAME OF              POSITION       DEPARTMENT
                                                            ADMITTED2    BILLING     BILLED   COMPENSATION
     PROFESSIONAL
                                                                          RATE       HOURS
Perez, Alfredo R.              Partner      Restructuring      1980      $1,695.00   112.80    $191,196.00
Barr, Matthew S.               Partner      Restructuring      1997      $1,950.00    46.10     $89,895.00
Gogna, Reena                   Partner       Corporate         2001      $1,715.00    3.00       $5,145.00
                                                               2003
Lawford, Mark                  Partner      Restructuring   (England &   $1,715.00    1.80      $3,087.00
                                                              Wales)
Friedmann, Jared R.            Partner       Litigation        2004      $1,395.00    13.80     $19,251.00
Singh, Sunny                   Partner      Restructuring      2007      $1,595.00   103.70    $165,401.50
                                                               2008
Davidson, Jenny                Partner      Restructuring   (England &   $1,715.00    5.10      $8,746.50
                                                              Wales)
Morgan, Gabriel A.             Partner      Restructuring      2009      $1,495.00   20.00      $29,900.00
Nemunaitis, Vynessa            Partner       Corporate         2009      $1,375.00   20.10      $27,637.50
                                                               2012
Lado, Luke                     Counsel       Corporate      (England &   $1,255.00    19.60     $24,598.00
                                                              Wales)
Bernstein, Lauren              Counsel       Litigation        2014      $1,250.00    19.50     $24,375.00
Friedman, Julie T.             Associate    Restructuring      2003       $695.00     3.50      $2,432.50
Gutierrez, Daniela
                               Associate     Corporate          2016     $1,200.00    43.90     $52,680.00
Cristina
                                                            2016 (New
Cross, Harrison                Associate    Restructuring     South      $1,195.00    5.40      $6,453.00
                                                              Wales)
                                                            2017 (New
Young, Felicity                Associate    Restructuring     South      $1,075.00    60.00     $64,500.00
                                                              Wales)
Foust, Rachael L.              Associate    Restructuring      2018      $1,165.00   100.70    $117,315.50
Heckel, Theodore S.            Associate    Restructuring      2018      $1,130.00   307.40    $347,362.00
                                                               2018
Kelly-Taglianini,
                               Associate    Restructuring   (England &   $980.00      71.50     $70,070.00
Amedea
                                                              Wales)
                                                               2019
Gao, Xin                       Associate     Corporate      (England &   $980.00      20.60     $20,188.00
                                                              Wales)
Findlay, Loren                 Associate    Restructuring      2021      $980.00     117.20    $114,856.00
Jones, Taylor                  Associate    Restructuring      2022      $980.00     12.80     $12,544.00
Silber, Joseph                 Associate    Restructuring        *       $690.00      88.50    $61,065.00
Su, Yifan                      Associate    Restructuring        *       $690.00      90.20    $62,238.00

 2
     * - Not yet admitted to practice.

                                                            5
 WEIL:\98902839\4\25808.0003
        Case 22-90168 Document 1090 Filed in TXSB on 12/07/22 Page 6 of 128



                                                         YEAR      HOURLY    TOTAL         TOTAL
    NAME OF                POSITION    DEPARTMENT
                                                       ADMITTED2   BILLING   BILLED     COMPENSATION
  PROFESSIONAL
                                                                    RATE     HOURS
Wollmuth, John             Associate    Litigation         *       $690.00    54.60       $37,674.00
Long, Alexander            Law Clerk   Restructuring       *       $465.00    9.80        $4,557.00
O'Donohue, Jack            Law Clerk    Corporate          *       $465.00    7.30        $3,394.50
Total                                                                        1,358.90    $1,566,562.00




                                                       6
 WEIL:\98902839\4\25808.0003
           Case 22-90168 Document 1090 Filed in TXSB on 12/07/22 Page 7 of 128


                                        Summary of Hours Billed by
                     Weil Paraprofessionals and Other Non-Legal Staff for the Fee Period

    The paraprofessionals and other non-legal staff who rendered professional services in these chapter
    11 cases during the Fee Period are:

      NAME OF
                                                                    HOURLY    TOTAL
PROFESSIONAL PERSON                                                                         TOTAL
                                  POSITION      DEPARTMENT          BILLING   BILLED
AND OTHER NON-LEGAL                                                                      COMPENSATION
                                                                     RATE     HOURS
       STAFF
Lee, Kathleen Anne                Paralegal      Restructuring      $495.00   35.60         $17,622.00
                                  Litigation   Litigation Support
Haiken, Lauren C.                                                   $435.00    3.20          $1,392.00
                                   Support          Services
Olvera, Rene A.                   Paralegal      Restructuring      $430.00    14.50         $6,235.00
                                  Litigation   Litigation Support
Chavez, Miguel                                                      $380.00    1.80           $684.00
                                   Support          Services
Jalomo, Chris                     Paralegal      Restructuring      $340.00   3.10           $1,054.00
Okada, Tyler                      Paralegal      Restructuring      $275.00   22.50          $6,187.50
Total                                                                          80.70         $33,174.50




                                                        7
    WEIL:\98902839\4\25808.0003
        Case 22-90168 Document 1090 Filed in TXSB on 12/07/22 Page 8 of 128




                                                   Exhibit B

                                    COMPENSATION BY MATTER

TASK                                                                   TOTAL BILLED      TOTAL
                              PROJECT CATEGORY
CODE                                                                      HOURS       COMPENSATION

001        Asset Sales/ 363 Matters (AD)                                   2.00          $3,370.00
           Bar Date/Claims Analysis/Comms w/Unsecured Creditors
003                                                                        9.90         $11,766.50
           n/o UCC(CO)
004        Business Plan/Review Decks for Committee Calls (OP)             64.70        $80,012.50
           Critical Dates; Case Admin; WIP; Mtgs/Call UCC
005                                                                       224.10        $250,086.00
           Professionals (CA
           Committee Business incl. Comm. Meetings and
006                                                                        58.50        $84,555.50
           Communications (GC)
           Communications with Debtors and Other Case Constituents
007                                                                        7.50         $10,563.50
           (CD)
008        DIP Financing / Cash Collateral / Milestone Related (FN)       634.70        $738,990.50
           Executory Contracts/Leases/Real Property/Other 365
010                                                                        25.80        $33,074.50
           Matters (EC)
011        Hearings and Court Matters (HE)                                 25.40         $35,060.50
012        International Matters (IM)                                     112.80        $117,473.00
013        Litigation Matters (BL)                                        74.10         $62,161.00
           Retention / Fee Applications: Non-Weil Professionals (CPO
016                                                                        77.10        $67,815.00
           & RPO)
017        Retention / Fee Applications: Weil (CP & RP)                   121.70        $103,741.50
020        341(a) Meeting of Creditors (MC)                                0.60           $590.00
021        U.S Trustee Issues/Meetings/Communications (UST)                0.70           $476.50
Total                                                                     1,439.60      $1,599,736.50




                                                        8
WEIL:\98902839\4\25808.0003
        Case 22-90168 Document 1090 Filed in TXSB on 12/07/22 Page 9 of 128




                                       Exhibit C

                                   EXPENSE SUMMARY

                EXPENSE CATEGORY                         AMOUNT
Air Courier / Express Mail                                $32.65
Duplicating                                              $3,956.05
Electronic Research                                       $458.91
Local Transportation                                      $320.86
Meals                                                     $157.40
Total                                                    $4,925.87




                                          9
WEIL:\98902839\4\25808.0003
      Case 22-90168 Document 1090 Filed in TXSB on 12/07/22 Page 10 of 128




Dated: December 7, 2022
       Houston, Texas                 /s/ Gabriel A. Morgan
                                     WEIL, GOTSHAL & MANGES LLP
                                     Alfredo R. Pérez (TX Bar No. 15776275)
                                     Gabriel A. Morgan (TX Bar No. 24125891)
                                     Theodore S. Heckel (admitted pro hac vice)
                                     700 Louisiana Street, Suite 1700
                                     Houston, Texas 77002
                                     Telephone: (713) 546-5000
                                     Facsimile: (713) 224-9511
                                     Email: Alfredo.Perez@weil.com
                                            Gabriel.Morgan@weil.com
                                            Theodore.Heckel@weil.com

                                     -and-

                                     WEIL, GOTSHAL & MANGES LLP
                                     Matthew S. Barr (admitted pro hac vice)
                                     Sunny Singh (admitted pro hac vice)
                                     Rachael L. Foust (admitted pro hac vice)
                                     767 Fifth Avenue
                                     New York, New York 10153
                                     Telephone: (212) 310-8000
                                     Facsimile: (212) 310-8007
                                     Email: Matt.Barr@weil.com
                                            Sunny.Singh@weil.com
                                            Rachael.Foust@weil.com

                                     Co-Counsel to the Official Committee
                                     of Unsecured Creditors




                                       10
WEIL:\98902839\4\25808.0003
      Case 22-90168 Document 1090 Filed in TXSB on 12/07/22 Page 11 of 128




                                      Certificate of Service

I hereby certify that, on December 7, 2022, a true and correct copy of the foregoing document
was served by the Electronic Case Filing System for the United States Bankruptcy Court for the
Southern District of Texas, and will be served as set forth in the Affidavit of Service to be filed
by the Debtors’ claims, noticing, and solicitation agent.


                                                        /s/ Gabriel A. Morgan
                                                       Gabriel A. Morgan




                                                11
WEIL:\98902839\4\25808.0003
      Case 22-90168 Document 1090 Filed in TXSB on 12/07/22 Page 12 of 128




                                           Exhibit D

                              Detailed Record of Fees and Expenses




                                              12
WEIL:\98902839\4\25808.0003
                 Case 22-90168 Document 1090 Filed in TXSB on 12/07/22 Page 13 of 128




Cineworld (Regal Cinemas) Unsecured Creditors' Committee - Cineworld UCC
25808.0003
2022012213

                                           ITEMIZED SERVICES - 25808.0003 - Cineworld UCC


   Date         Timekeeper/Narrative                            Hours         Amount        Task   Index

   09/29/22  Perez, Alfredo R.                      0.30        508.50        001                  65796815
       REVIEW NCM STIPULATION AND STATUS (.2); COMMUNICATIONS WITH UCC PROFESSIONALS
       REGARDING STATUS (.1).


   09/29/22   Singh, Sunny                                        0.20          319.00      001    65793390
       EMAIL TO UCC RE NATIONAL STIP.


   10/15/22  Perez, Alfredo R.                                    0.30          508.50      001    65913654
       REVIEW TRANSACTION SLIDES.


   10/20/22  Perez, Alfredo R.                    0.40          678.00       001        65975172
       REVIEW EMERGENCY MOTION TO SELL REAL PROPERTY (.2); VARIOUS COMMUNICATIONS WITH FTI
       AND PACHULSKI REGARDING MOTION AND NEXT STEPS (.2).


   10/31/22   Perez, Alfredo R.                     0.80      1,356.00       001        66053824
       PARTICIPATE IN PART OF PRESENTATION FROM PARTY REGARDING STRATEGIC ALTERNATIVES.


    SUBTOTAL TASK 001 - Asset Sales/ 363 Matters                  2.00       $3,370.00
    (AD):

   09/30/22  Singh, Sunny                                         1.10        1,754.50      003    66104677
       CALL WITH A&P.


   10/27/22  Perez, Alfredo R.                      0.10       169.50       003                    66023847
       VARIOUS COMMUNICATIONS WITH R. FOUST AND P. CANDEL REGARDING BAR DATE MOTION.


   10/27/22   Foust, Rachael L.                     2.20       2,563.00         003         66060698
       REVIEW DEBTORS' BAR DATE MOTION AND ORDER (1.8); CORRESPOND WITH S. SINGH AND A. PEREZ RE
       SAME (0.4).


   10/27/22     Su, Yifan                                         0.50          345.00      003    66118351
                 Case 22-90168 Document 1090 Filed in TXSB on 12/07/22 Page 14 of 128




Cineworld (Regal Cinemas) Unsecured Creditors' Committee - Cineworld UCC
25808.0003
2022012213

                                           ITEMIZED SERVICES - 25808.0003 - Cineworld UCC


   Date         Timekeeper/Narrative                            Hours         Amount        Task   Index
        REVIEW BAR DATE PRECEDENTS.


   10/27/22  Young, Felicity                        0.30                        322.50      003    66050989
       REVIEW BAR DATE MOTION AND CONFER WITH S. SUE RE SAME.


   10/28/22  Perez, Alfredo R.                        0.60      1,017.00       003         66037166
       EMAILS WITH R. FOUST REGARDING DISCUSSIONS WITH KIRKLAND REGARDING BAR DATE MOTION
       AND FOLLOW-UP (.2); REVIEW EMERGENCY BAR DATE MOTION (.2); CONFERENCE WITH R. FOUST
       REGARDING NEXT STEPS ON BAR DATE MOTION (.1); COMMUNICATIONS WITH PACHULSKI REGARDING
       BAR DATE MOTION (.1).


   10/28/22  Foust, Rachael L.                      2.40       2,796.00       003          66060683
       REVIEW DEBTORS' BAR DATE MOTION AND ORDER (1.6); CORRESPOND INTERNALLY RE SAME (0.6);
       CORRESPOND WITH DEBTORS' COUNSEL RE SAME (0.2).


   10/31/22  Perez, Alfredo R.                       0.10          169.50      003         66053690
       VARIOUS COMMUNICATIONS WITH R. FOUST, R. FEINSTEIN AND S. SINGH REGARDING BAR DATE.


   10/31/22   Foust, Rachael L.                   0.30          349.50       003      66060521
       CORRESPOND WITH DEBTORS REGARDING BAR DATE MOTION (0.2); AND CASH MANAGMENT MOTION
       (0.1).


   10/31/22  Su, Yifan                            0.50       345.00                         003    66262630
       RESEARCH BAR DATES AND REVIEW RELEVANT ORDER AND MOTION.


   10/31/22   Young, Felicity                      1.80       1,935.00       003          66050928
       REVIEW BAR DATE MOTION AND DRAFT PROPOSED AMENDMENTS TO THE ORDER (1.5); DRAFT EMAIL
       TO THE COMMITTEE REGARDING PJT RETENTION APPLICATION AND PROPOSED RESOLUTION (.3).


    SUBTOTAL TASK 003 - Bar Date/Claims                           9.90      $11,766.50
    Analysis/Comms w/Unsecured Creditors n/o
    UCC(CO):
                 Case 22-90168 Document 1090 Filed in TXSB on 12/07/22 Page 15 of 128




Cineworld (Regal Cinemas) Unsecured Creditors' Committee - Cineworld UCC
25808.0003
2022012213

                                           ITEMIZED SERVICES - 25808.0003 - Cineworld UCC


   Date         Timekeeper/Narrative                            Hours         Amount        Task   Index

   09/30/22  Perez, Alfredo R.                        0.60      1,017.00         004   65798738
       VARIOUS COMMUNICATIONS WITH PERELLA AND FTI REGARDING SLIDES FOR THE UCC MEETING (.1);
       REVIEW INFORMATION PROVIDED (.4); REVIEW FIRST HALF OPERATING RESULTS (.1).


   10/02/22     Perez, Alfredo R.                     2.00       3,390.00        004    65798649
       REVIEW PRESENTATIONS IN CONNECTION WITH UCC MEETING INCLUDING COMMENTS TO PWP SLIDES
       (1.3); VARIOUS COMMUNICATIONS WITH WEIL TEAM REGARDING SLIDES AND OPEN ISSUES ON
       POTENTIAL ALTERNATE DIP (.3); REVIEW CLEANSING MATERIALS IN DATA ROOM (.4).


   10/03/22   Perez, Alfredo R.                     0.80        1,356.00      004       66105003
       REVIEW AND COMMENT ON SLIDES FOR THE UCC MEETING (.5); VARIOUS COMMUNICATIONS WITH
       WEIL TEAM REGARDING COMMENTS TO THE SLIDES (.3).


   10/03/22  Singh, Sunny                                         0.80        1,276.00      004    65814416
       REVIEW DRAFT PRESENTATION FOR UCC MEETING.


   10/03/22   Heckel, Theodore S.                     1.80     2,034.00       004           65839868
       REVIEW COMMITTEE MEETING MATERIALS (.5); DRAFT COMMENTS TO COMMITTEE MEETING
       MATERIALS (.3); CORRESPOND WITH WEIL TEAM RE: COMMITTEE MEETING MATERIALS (.2);
       CORRESPOND WITH PWP TEAM RE: COMMITTEE MEETING MATERIALS (.1); CALL WITH J. LI (PERELLA)
       RE: COMMITTEE MEETING MATERIALS (.1); DRAFT ANNOTATIONS TO COMMITTEE MEETING
       MATERIALS (.6).


   10/04/22  Perez, Alfredo R.                     0.30       508.50       004                     66262631
       REVIEW AGENDA AND MATERIALS IN PREPARATION FOR THE COMMITTEE MEETING.


   10/04/22  Heckel, Theodore S.                                  0.70          791.00      004    65842247
       DRAFT ANNOTATIONS TO COMMITTEE MATERIALS.


   10/10/22     Heckel, Theodore S.                               4.00        4,520.00      004    65886842
                 Case 22-90168 Document 1090 Filed in TXSB on 12/07/22 Page 16 of 128




Cineworld (Regal Cinemas) Unsecured Creditors' Committee - Cineworld UCC
25808.0003
2022012213

                                           ITEMIZED SERVICES - 25808.0003 - Cineworld UCC


   Date         Timekeeper/Narrative                            Hours         Amount        Task   Index
        DRAFT COMMITTEE MEETING AGENDA (.6); DRAFT COMMITTEE MEETING SLIDES (2.3); CORRESPOND
        WITH WEIL TEAM RE: COMMITTEE MEETING MATERIALS (.3); CALL WITH R. FOUST RE: COMMITTEE
        MEETING AGENDA (.2); CALL WITH R. FOUST RE: COMMITTEE MEETING MATERIALS (.2); FOLLOW UP
        CALL WITH R. FOUST RE: COMMITTEE MEETING MATERIALS (.4).


   10/11/22  Perez, Alfredo R.                     0.60      1,017.00        004                   65879534
       VARIOUS COMMUNICATIONS WITH PACHULSKI, PERELLA WEINBERG, FTI, AND WEIL TEAMS
       REGARDING SLIDES FOR THE COMMITTEE MEETING ON THURSDAY.


   10/11/22  Singh, Sunny                                         0.40          638.00      004    65882242
       REVIEW COMMITTEE DRAFT PRESENTATION.


   10/11/22   Foust, Rachael L.                     1.40      1,631.00         004        66262532
       COORDINATE WITH T. HECKEL ON PREPARATION OF UCC MEETING MATERIALS (0.8); DRAFT BULLETS
       FOR SLIDES ON CASH MANAGEMENT (0.6).


   10/11/22   Heckel, Theodore S.                      8.60       9,718.00      004           65887024
       DRAFT COMMITTEE MEETING SLIDES (4.2); REVISE COMMITTEE MEETING AGENDA (.4); REVISE
       COMMITTEE MEETING SLIDES (3.1); CALL WITH R. FOUST RE: COMMITTEE MATERIALS (.1); CALL WITH
       R. FOUST RE: COMMITTEE MATERIALS AND OUTSTANDING WORKSTREAMS (.2); CORRESPOND WITH
       WEIL TEAM RE: COMMITTEE MEETING MATERIALS (.3); CORRESPOND WITH PSZJ TEAM RE: COMMITTEE
       MEETING MATERIALS (.2); CORRESPOND WITH FTI TEAM RE: COMMITTEE MEETING MATERIALS (.1).


   10/12/22  Perez, Alfredo R.                       0.70       1,186.50       004       65883449
       REVIEW SLIDE DECK AND REVISIONS FOR THE COMMITTEE CALL (.4); VARIOUS COMMUNICATIONS
       WITH PACHULSKI, FTI, PERELLA WEINBERG, AND WEIL TEAMS REGARDING DECK FOR THE COMMITTEE
       MEETING (.3).


   10/12/22  Perez, Alfredo R.                                    0.10          169.50      004    66118585
       REVIEW AGENDA FOR COMMITTEE MEETING.


   10/12/22  Singh, Sunny                          0.60                         957.00      004    65882240
       REVIEW UCC PRESENTATION AND EMAILS RE SAME.
                 Case 22-90168 Document 1090 Filed in TXSB on 12/07/22 Page 17 of 128




Cineworld (Regal Cinemas) Unsecured Creditors' Committee - Cineworld UCC
25808.0003
2022012213

                                           ITEMIZED SERVICES - 25808.0003 - Cineworld UCC


   Date         Timekeeper/Narrative                            Hours         Amount        Task   Index

   10/12/22   Heckel, Theodore S.                    2.40         2,712.00      004          65887045
       REVISE COMMITTEE AGENDA (.2); REVIEW REVISED COMMITTEE MEETING SLIDES (.6); CORRESPOND
       WITH WEIL TEAM RE: COMMITTEE MEETING SLIDES (.2); REVISE COMMITTEE MEETING SLIDES (1.0);
       CORRESPOND WITH PWP TEAM RE: COMMITTEE MEETING SLIDES (.2); CORRESPOND WITH FTI TEAM RE:
       COMMITTEE MEETING SLIDES (.1); CORRESPOND WITH WEIL TEAM RE: COMMITTEE MEETING AGENDA
       (.1).


   10/12/22  Heckel, Theodore S.                 0.30        339.00       004                      66118833
       CORRESPOND WITH COMMITTEE MEMBERS RE: COMMITTEE MEETING MATERIALS.


   10/13/22  Perez, Alfredo R.                      0.40       678.00                       004    66118835
       REVIEW SLIDES AND AGENDA IN PREPARATION FOR THE COMMITTEE MEETING.


   10/13/22  Heckel, Theodore S.                  0.30        339.00                        004    65928541
       CORRESPOND WITH WEIL TEAM RE: COMMITTEE MEETING MATERIALS.


   10/17/22  Heckel, Theodore S.                    3.20        3,616.00      004        66041276
       PREPARE OUTLINE OF COMMITTEE MEETING PRESENTATION MATERIALS (.3); CORRESPOND WITH PSZJ
       TEAMS RE: COMMITTEE PRESENTATION MATERIALS OUTLINE (.2); CORRESPOND WITH WEIL TEAM RE:
       COMMITTEE PRESENTATION MATERIALS OUTLINE (.2); DRAFT COMMITTEE MEETING PRESENTATION
       MATERIALS (2.5).


   10/18/22  Perez, Alfredo R.                     0.70       1,186.50       004                   65947683
       REVIEW AGENDA AND VARIOUS DRAFTS OF SLIDES FOR THE OCUC MEETING ON THURSDAY.


   10/18/22  Foust, Rachael L.                       3.30       3,844.50          004          66060790
       COORDINATE PREPARATION OF COMMITTEE MEETING MATERIALS AND REVIEW SAME (1.6); REVIEW
       AND REVISE ULTRA SUMMARY SLIDES (0.9); CORRESPOND WITH A. PEREZ (0.3) AND T. HECKEL (0.5) RE
       SAME.


   10/18/22     Heckel, Theodore S.                               5.20        5,876.00      004    66052473
                 Case 22-90168 Document 1090 Filed in TXSB on 12/07/22 Page 18 of 128




Cineworld (Regal Cinemas) Unsecured Creditors' Committee - Cineworld UCC
25808.0003
2022012213

                                           ITEMIZED SERVICES - 25808.0003 - Cineworld UCC


   Date         Timekeeper/Narrative                            Hours         Amount        Task   Index
        DRAFT COMMITTEE MEETING SLIDE DECK (3.8); CALL S. SU RE: COMMITTEE MEETING MATERIALS (.1);
        CORRESPOND WITH R. FOUST RE: COMMITTEE MEETING MATERIALS (.2); CORRESPOND WITH WEIL
        TEAM RE: COMMITTEE MEETING SLIDE DECK (.3); DRAFT COMMITTEE MEETING AGENDA (.4); REVIEW
        FTI SLIDES RE: COMMITTEE MEETING (.2); CORRESPOND WITH PSZJ TEAM RE: COMMITTEE MEETING
        AGENDA (.1); CORRESPOND WITH WEIL TEAM RE: COMMITTEE MEETING AGENDA SLIDE DECK (.1).


   10/19/22  Perez, Alfredo R.                       2.20        3,729.00           004        65965553
       REVIEW AND REVISE SLIDES FOR THE OCUC MEETING (.9); TELEPHONE CONFERENCE WITH A. SENOUSSI
       REGARDING OID SLIDE (.2); VARIOUS COMMUNICATIONS WITH D. SANOTS, J. LI, A. SENOUSSI, AND WEIL
       TEAM REGARDING THE PRESENTATION FOR THE OCUC MEETING (1.1).


   10/19/22  Singh, Sunny                                         1.80        2,871.00      004    65966036
       REVIEW COMMITTEE MEETING MATERIALS.


   10/19/22  Barr, Matthew S.                                     0.80        1,560.00      004    66117924
       REVIEW COMMITTEE DECK.


   10/19/22  Foust, Rachael L.                        1.10         1,281.50       004              66060781
       COORDINATE WITH RX ASSOCIATE TEAM REGARDING PREPARATION OF COMMITTEE MEETING
       MATERIALS (0.6); CORRESPOND WITH T. HECKEL RE SAME (0.2); COORDINATE FINALIZATION OF
       MATERIALS (0.3).


   10/19/22   Heckel, Theodore S.                      5.20     5,876.00        004         66053485
       REVISE COMMITTEE MEETING SLIDE DECK (3.9); REVISE COMMITTEE MEETING AGENDA (.2);
       CORRESPOND WITH WEIL TEAM RE: COMMITTEE MEETING SLIDE DECK (.3); REVIEW COMMENTS TO
       COMMITTEE MEETING SLIDE DECK (.2); REVIEW PWP COMMITTEE MEETING SLIDES (.3); CORRESPOND
       WITH PWP TEAM RE: COMMITTEE MEETING SLIDE DECK (.3).


   10/19/22  Heckel, Theodore S.                     0.20      226.00       004                    66053489
       CORRESPOND WITH COMMITTEE MEMBERS RE: AGENDA (.1); CORRESPOND WITH COMMITTEE
       MEMBERS RE: COMMITTEE MEETING MATERIALS (.1).


   10/19/22     Silber, Joseph                                    1.90        1,311.00      004    66117935
                 Case 22-90168 Document 1090 Filed in TXSB on 12/07/22 Page 19 of 128




Cineworld (Regal Cinemas) Unsecured Creditors' Committee - Cineworld UCC
25808.0003
2022012213

                                           ITEMIZED SERVICES - 25808.0003 - Cineworld UCC


   Date         Timekeeper/Narrative                            Hours         Amount        Task   Index
        UPDATE COMMITTEE MEETING PRESENTATION MATERIALS TO INCLUDE IMPLICATIONS OF RECENT
        ULTRA DECISION.


   10/20/22  Singh, Sunny                                         0.50          797.50      004    66117936
       REVIEW COMMITTEE MATERIALS.


   10/24/22  Heckel, Theodore S.                  3.20      3,616.00          004                  66057508
       CORRESPOND WITH WEIL TEAM RE: COMMITTEE MEETING MATERIALS (.3); DRAFT COMMITTEE
       MEETING MATERIALS (2.9).


   10/25/22  Perez, Alfredo R.                       0.20         339.00      004                  66009365
       VARIOUS COMMUNICATIONS WITH C. NELSON, R. FEINSTEIN AND B. MENDELSOHN REGARDING
       BUSINESS PLAN ISSUES.


   10/25/22  Heckel, Theodore S.                  4.10                        4,633.00      004    66057536
       DRAFT AND REVISE COMMITTEE MEETING MATERIALS.


   10/26/22  Perez, Alfredo R.                     0.20        339.00        004        66262557
       REVIEW PROPOSED AGENDA (.1); VARIOUS COMMUNICATIONS WITH T. HECKEL REGARDING AGENDA
       (.1).


   10/26/22  Heckel, Theodore S.                     3.30       3,729.00         004      66057545
       DRAFT COMMITTEE MEETING AGENDA (.4); CORRESPOND WITH WEIL TEAM RE: COMMITTEE MEETING
       AGENDA (.2); DRAFT COMMITTEE MEETING PRESENTATION MATERIALS (2.0); CORRESPOND WITH WEIL
       TEAM RE: COMMITTEE PRESENTATION MATERIALS (.2); DRAFT REVISIONS TO COMMITTEE MEETING
       AGENDA (.3); CORRESPOND WITH PSZJ TEAM RE: COMMITTEE MEETING AGENDA (.2).


   10/27/22  Heckel, Theodore S.                  0.80          904.00         004        66057583
       REVIEW UPDATED COMMITTEE MEETING MATERIALS (.1); REVISE COMMITTEE MEETING AGENDA (.2);
       CORRESPOND WITH WEIL TEAM RE: COMMITTEE MEETING MATERIALS (.1); FINALIZE COMMITTEE
       MEETING MATERIALS (.4).
                 Case 22-90168 Document 1090 Filed in TXSB on 12/07/22 Page 20 of 128




Cineworld (Regal Cinemas) Unsecured Creditors' Committee - Cineworld UCC
25808.0003
2022012213

                                           ITEMIZED SERVICES - 25808.0003 - Cineworld UCC


   Date         Timekeeper/Narrative                            Hours         Amount        Task   Index
    SUBTOTAL TASK 004 - Business Plan/Review                     64.70      $80,012.50
    Decks for Committee Calls (OP):

   09/28/22  Barr, Matthew S.                       0.70       1,365.00       005                  65784503
       REVIEW AND RESPOND TO CORRESPONDENCE (.2); ATTEND TO NEXT STEPS WITH TEAM (.5).


   09/28/22     Heckel, Theodore S.                   3.80       4,294.00          005         65814524
       COMPILE FIRST DAY PLEADINGS (.3); CORRESPOND WITH WEIL TEAM RE: WIP LIST (.2); DRAFT WIP LIST
       (1.4); DRAFT WORKING GROUP LIST (1.9).


   09/28/22  Heckel, Theodore S.                       0.20                     226.00      005    66104523
       CALL WITH S. SINGH AND PSZJ TEAM RE: KICK-OFF MEETING.


   09/29/22  Perez, Alfredo R.                       0.70      1,186.50        005        65796899
       INTERNAL WEIL CATCH-UP CALL TO REVIEW WIP LIST, ALLOCATE RESPONSIBILITY AND NEXT STEPS.


   09/29/22  Perez, Alfredo R.                         1.40      2,373.00       005        65798525
       REVIEW WIP LIST (.3); CONFERENCE CALL WITH ALL UCC ADVISORS REGARDING ALLOCATION OF
       RESPONSIBILITY AND NEXT STEPS (1.0); REVIEW AND APPROVE NOTICE OF APPEARANCE (.1).


   09/29/22  Singh, Sunny                             1.90      3,030.50        005                66104524
       CALL WITH G. MORGAN RE STRATEGY AND NEXT STEPS (.4); EMAILS WITH VARIOUS CASE
       CONSTITUENTS (.4); UCC ADVISOR STRATEGY CALL (1.1).


   09/29/22  Morgan, Gabriel A.                       0.40                      598.00      005    65790304
       CALLS WITH S. SINGH RE: STATUS AND NEXT STEPS.


   09/29/22  Barr, Matthew S.                           3.50        6,825.00    005          65813341
       CALL WITH TEAM REGARDING OPEN ISSUES (.9); ALL HANDS CALL WITH ADVISORS (1.0); AND FOLLOW
       UP WITH TEAM (.5); TEAM CALL (.7); AND REVIEW NEXT STEP ISSUES (.4).


   09/29/22     Heckel, Theodore S.                              12.50       14,125.00      005    65838389
                 Case 22-90168 Document 1090 Filed in TXSB on 12/07/22 Page 21 of 128




Cineworld (Regal Cinemas) Unsecured Creditors' Committee - Cineworld UCC
25808.0003
2022012213

                                           ITEMIZED SERVICES - 25808.0003 - Cineworld UCC


   Date         Timekeeper/Narrative                            Hours         Amount        Task   Index
        DRAFT (REVISE) WORKING GROUP LIST (.7); DRAFT NOTICE OF APPEARANCE FOR WEIL AND PSZJ
        TEAMS (.6); CORRESPOND WITH WEIL TEAM RE: NOTICE OF APPEARANCE FOR WEIL AND PSZJ TEAMS
        (.2); CALL WITH TEAM RE: CASE STRATEGY, ORGANIZATION, AND IMMEDIATE WORKSTREAMS (.6);
        CORRESPOND WITH WEIL TEAM RE: NOTICE OF APPEARANCE FOR WEIL AND PSZJ TEAMS (.2); REVISE
        NOTION OF APPEARANCE FOR WEIL AND PSZJ TEAM (.3); COORDINATE FILING OF NOTICE OF
        APPEARANCE (.3); CORRESPOND WITH WEIL TEAM RE: PRO HAC APPLICATIONS (.2); COORDINATE
        FILING OF PRO HAC APPLICATIONS (.2); CALL WITH UCC ADVISORS TEAMS RE: CASE STRATEGY AND
        OUTSTANDING WORKSTREAMS (1.0); CALL WITH S. CHO (PSZJ) RE: WORKING GROUP LIST (.1);
        CORRESPOND WITH PWP TEAM RE: WORKING GROUP LIST (.2); CORRESPOND WITH FTI TEAM RE:
        WORKING GROUP LIST (.3); CORRESPOND WITH PSZJ TEAM RE: WORKING GROUP LIST (.3); CORRESPOND
        WITH WEIL TEAM RE: WORKING GROUP LIST (.2); CORRESPOND WITH PWP TEAM RE: WORKING GROUP
        LIST (.2); DRAFT UPDATES TO WORKING GROUP LIST (3.5); CORRESPOND WITH WEIL TEAM RE:
        COMMITTEE BYLAWS (.3); REVIEW DRAFT OF COMMITTEE BYLAWS (1.4); REVISE COMMITTEE BYLAWS
        (1.7).


   09/29/22  Heckel, Theodore S.                   0.70        791.00         005       66104527
       DRAFT UPDATE EMAIL TO COMMITTEE RE: COMMITTEE MEETINGS, LISTSERVS, AND WORKING GROUP
       LIST.


   09/30/22   Barr, Matthew S.                           3.20     6,240.00       005       66104922
       REVIEW AND RESPOND TO CORRESPONDENCE AND CALL WITH TEAM (.5); ADVISOR CALL (.6); REVIEW
       OPEN ISSUES (.5); AND NEXT STEPS (.4); REVIEW BACKGROUND MATERIALS (1.2).


   09/30/22  Foust, Rachael L.                                    0.30          349.50      005    65786095
       CALL WITH T. HECKEL RE CASE BACKGROUND.


   09/30/22  Findlay, Loren                     0.30                            294.00      005    65791511
       REVIEW BACKGROUND INFORMATIONAL MATERIALS.


   09/30/22  Heckel, Theodore S.                        2.70      3,051.00        005          65838538
       CALL WITH S. CHO (PSZJ) RE: DIP ALTERNATIVES, MATTER ADMINISTRATION, AND UPCOMING
       DEADLINES (.2); CALL WITH R. FOUST RE: OUTSTANDING WORKSTREAMS (.3); CORRESPOND WITH WEIL
       TEAM RE: WORKING GROUP LIST (.2); UPDATE WORKING GROUP LIST (1.1); DRAFT WIP LIST (.9).
                 Case 22-90168 Document 1090 Filed in TXSB on 12/07/22 Page 22 of 128




Cineworld (Regal Cinemas) Unsecured Creditors' Committee - Cineworld UCC
25808.0003
2022012213

                                           ITEMIZED SERVICES - 25808.0003 - Cineworld UCC


   Date         Timekeeper/Narrative                            Hours         Amount        Task   Index

   09/30/22  Young, Felicity                                      1.00        1,075.00      005    65793344
       REVIEW BRIEFING MATERIAL.


   09/30/22  Olvera, Rene A.                          4.00         1,720.00     005        65788624
       PREPARE EXHIBIT FILES AS REQUESTED BY T. HECKEL (.5); REVIEW, DOWNLOAD AND ELECTRONICALLY
       ORGANIZE DATAROOM DOCUMENTS (3.5).


   10/01/22   Perez, Alfredo R.                   0.20       339.00       005         65798666
       VARIOUS COMMUNICATIONS WITH UCC PROFESSIONALS REGARDING COORDINATION OF NEXT STEPS
       AND FIRST UCC MEETING.


   10/01/22  Morgan, Gabriel A.                   0.60        897.00                        005    65790262
       REVIEW AND RESPOND TO DEAL CORRESPONDENCE WITH WEIL TEAM.


   10/01/22   Heckel, Theodore S.                     4.30       4,859.00                   005    65839772
       REVISE AND UPDATE WIP LIST (4.0); UPDATE WORKING GROUP LIST (.3).


   10/02/22  Perez, Alfredo R.                    1.00      1,695.00       005                     65798806
       CONFERENCE CALL WITH UCC PROFESSIONALS REGARDING STATUS AND STRATEGY.


   10/02/22 Singh, Sunny                             1.20      1,914.00       005                  65806076
       COMMITTEE ADVISOR COORDINATION CALL (1.0); FOLLOW UP INTERNAL EMAILS RE SAME (.2).


   10/02/22  Morgan, Gabriel A.                       1.10       1,644.50         005        65790308
       PREPARE FOR (.1) AND PARTICIPATE ON CALL WITH WEIL, PACHULSKI, FTI, AND PWP TEAMS RE:
       STATUS AND STRATEGY (1.0).


   10/02/22  Nemunaitis, Vynessa                  1.20       1,650.00        005          66104941
       CONFERENCE CALL WITH ADVISORS REGARDING TRANSACTION (1.0) AND PREPARE FOR SAME (.2).


   10/02/22     Barr, Matthew S.                                  0.80        1,560.00      005    65813847
                 Case 22-90168 Document 1090 Filed in TXSB on 12/07/22 Page 23 of 128




Cineworld (Regal Cinemas) Unsecured Creditors' Committee - Cineworld UCC
25808.0003
2022012213

                                           ITEMIZED SERVICES - 25808.0003 - Cineworld UCC


   Date         Timekeeper/Narrative                            Hours         Amount        Task   Index
        CORRESPONDENCES WITH TEAM RE OPEN ISSUES (.3) AND REVIEW MATERIALS (.5).


   10/02/22  Foust, Rachael L.                        2.30      2,679.50        005       65786920
       ATTEND UCC ADVISORS COORDINATION AND UPDATE CALL (1.0); REVIEW FIRST DAY PLEADINGS (0.9);
       REVIEW WIP LIST (0.3); COORDINATE INTERNALLY REGARDING WIP LIST AND CALENDAR UPDATES (0.1).


   10/02/22     Heckel, Theodore S.                     7.80      8,814.00            005          65839855
       CALL WITH WEIL, PSZJ, FTI, AND PWP TEAMS RE: CASE STRATEGY AND OUTSTANDING WORKSTREAMS
       (1.0); CALL WITH R. FOUST RE: ORGANIZATION AND OUTSTANDING WORKSTREAMS (.3); CORRESPOND
       WITH PSZJ TEAM RE: WIP LIST (.1); CORRESPOND WITH PWP TEAM RE: WIP LIST (.1); REVISE WIP LIST
       (1.6); REVIEW DOCKET RE: MATERIAL PLEADINGS AND UPCOMING DEADLINES (1.4); DRAFT CASE
       CALENDAR (3.3).


   10/02/22  Young, Felicity                        1.00                      1,075.00      005    65819630
       CALL WITH UCC PROFESSIONALS RE: CASE PROGRESS.


   10/03/22  Perez, Alfredo R.                         1.00    1,695.00      005        65813407
       CONFERENCE CALL WITH UCC PROFESSIONALS IN PREPARATION FOR THE UCC MEETING TO REVIEW
       THE AGENDA AND SLIDES (.8); REVIEW REVISED SLIDES (.2).


   10/03/22  Singh, Sunny                                         0.70        1,116.50      005    65814401
       UCC ADVISORS STRATEGY CALL.


   10/03/22  Barr, Matthew S.                        2.10         4,095.00       005               65814006
       REVIEW MATTER MATERIALS (1.0); UCC ADVISORS CALLS (.7); AND FOLLOW UP WITH TEAM (.4).


   10/03/22  Foust, Rachael L.                                    0.80          932.00      005    66058500
       ATTEND STANDING UCC ADVISOR CALL.


   10/03/22     Findlay, Loren                                    1.80        1,764.00      005    65806057
                 Case 22-90168 Document 1090 Filed in TXSB on 12/07/22 Page 24 of 128




Cineworld (Regal Cinemas) Unsecured Creditors' Committee - Cineworld UCC
25808.0003
2022012213

                                           ITEMIZED SERVICES - 25808.0003 - Cineworld UCC


   Date         Timekeeper/Narrative                            Hours         Amount        Task   Index
        REVIEW BACKGROUND INFORMATIONAL MATERIALS (.7); ATTEND CALL WITH T. HECKEL RE
        BACKGROUND MATERIALS AND NEXT STEPS STRATEGY (.4); ATTEND STANDING UCC ADVISORS CALL
        (.7).


   10/03/22  Heckel, Theodore S.                     3.30        3,729.00        005          65839942
       CALL WITH J. SILBER RE: OUTSTANDING WORKSTREAMS (.2); REVISE WORKING GROUP LIST (.2); DRAFT
       COMMITTEE BOILERPLATE (1.1); STANDING ADVISOR CALL WITH WEIL, PWP, FTI, AND PSZJ TEAMS (.9);
       CALL WITH S. SU RE: CASE BACKGROUND AND OUTSTANDING WORKSTREAMS (.5); CALL WITH L.
       FINDLAY RE: MATTER AND NEXT STEPS (.4).


   10/03/22   Silber, Joseph                        4.00       2,760.00        005        65813361
       REVIEW FIRST DAY MOTIONS, CREDITORS' COMMITTEE DISCUSSION MATERIALS, UPDATED
       PRESENTATION TO UCC IN ADVANCE OF KICK-OFF MEETING TOMORROW (3.8); CALL WITH T. HECKEL
       RE: MATTER (0.2).


   10/03/22  Su, Yifan                                 2.90        2,001.00         005       65803810
       STANDING ADVISOR CALL (.9); REVIEW CALL NOTES (.3); CALL WITH T. HECKEL RE: MATTER AND
       STATUS UPDATE (.5); REVIEW FIRST DAY TRANSCRIPT (1.0); REVIEW DRAFT WIP AND ASSIGNMENTS (.2).


   10/03/22  Young, Felicity                       2.00        2,150.00         005         65819794
       MEET WITH CREDITORS' COMMITTEE PROFESSIONALS RE: CASE PROGRESS (0.8); REVIEW BRIEFING
       MATERIALS (1.2).


   10/03/22   Olvera, Rene A.                        1.00      430.00      005          66054833
       REVIEW AND UPDATE ELECTRONIC FILES IN CONNECTION WITH DATAROOM DOCUMENTS (.8); EMAILS
       AND DISCUSSIONS WITH TEAM REGARDING SAME (.2).


   10/04/22  Perez, Alfredo R.                    0.50        847.50                        005    65822973
       CONFERENCE CALL WITH WEIL TEAM REGARDING WIP AND NEXT STEPS.


   10/04/22   Singh, Sunny                            0.70                    1,116.50      005    65820910
       WEIL INTERNAL WIP MEETING (.5); REVIEW WIP MATERIALS (.2).
                 Case 22-90168 Document 1090 Filed in TXSB on 12/07/22 Page 25 of 128




Cineworld (Regal Cinemas) Unsecured Creditors' Committee - Cineworld UCC
25808.0003
2022012213

                                           ITEMIZED SERVICES - 25808.0003 - Cineworld UCC


   Date         Timekeeper/Narrative                            Hours         Amount        Task   Index

   10/04/22  Morgan, Gabriel A.                                   0.60          897.00      005    65856596
       WORK IN PROCESS CALL.


   10/04/22  Foust, Rachael L.                    0.50        582.50                        005    66058485
       ATTEND CALL WITH UCC ADVISOR TEAM REGARDING DIP COUNTER PROPOSALS.


   10/04/22  Findlay, Loren                            1.00         980.00        005              65819233
       ATTEND WIP CALL (.5); ATTEND CALL WITH PSZJ RE DIVISION OF WORK RE DILIGENCE (.5).


   10/04/22   Heckel, Theodore S.                         3.30       3,729.00        005         65842103
       REVISE WIP LIST (.8); REVISE CASE CALENDAR (.7); CALL WITH WEIL TEAM RE: CASE STRATEGY AND
       OUTSTANDING WORKSTREAMS (.5); CALL WITH R. FOUST (PARTIAL), S. SU, AND J. SILBER RE: WIP LIST
       REVISIONS (.6); CORRESPOND WITH WEIL TEAM RE: WIP LIST (.2); REVISE WORKING GROUP LIST (.5).


   10/04/22   Silber, Joseph                         3.50         2,415.00        005         65814365
       ATTEND WIP MEETING (.5); REVIEW WORKING GROUP LIST (.7); EMAIL F. YOUNG ABOUT DEBTORS
       OMNIBUS LEASE REJECTION MOTIONS AND LEASE HISTORICALS (1.8); EMAIL S. SU EDITS TO WIP LIST
       (0.5).


   10/04/22  Su, Yifan                                    3.10       2,139.00       005       65814963
       WIP CALL WITH TEAM (.5); UPDATE WIP LIST (.9); REVIEW FIRST DAY PLEADINGS AND ORG CHART (1.0);
       UPDATE CASE CALENDAR (.7).


   10/04/22   Young, Felicity                       0.80          860.00         005       65819584
       MEET WITH INTERNAL WEIL TEAM RE: WIP AND CASE PROGRESS (.5); REVIEW WIP AND ALLOCATED
       TASKS (.3).


   10/04/22  Olvera, Rene A.                        0.80       344.00       005        66054737
       SEARCH DOCKET REPORTS FOR RECENTLY FILED BANKRUPTCIES AND PREPARE EMAIL TO TEAM
       ATTACHING RETENTION APPLICATIONS FILED BY CREDITOR COMMITTEES.


   10/05/22     Singh, Sunny                                      0.50          797.50      005    65827143
                 Case 22-90168 Document 1090 Filed in TXSB on 12/07/22 Page 26 of 128




Cineworld (Regal Cinemas) Unsecured Creditors' Committee - Cineworld UCC
25808.0003
2022012213

                                           ITEMIZED SERVICES - 25808.0003 - Cineworld UCC


   Date         Timekeeper/Narrative                            Hours         Amount        Task    Index
        REVIEW WIP (.2); CALL WITH G. MORGAN RE: STATUS (.3).


   10/05/22  Morgan, Gabriel A.                          0.50       747.50        005        65856630
       CALL WITH S. SINGH RE: NEXT STEPS (0.3); REVIEW AND RESPOND TO DEAL CORRESPONDENCE (0.2).


   10/05/22  Foust, Rachael L.                       0.70          815.50        005            65893102
       COORDINATION CALLS WITH T. HECKEL AND L. FINDLAY (.4); REVIEW AND REVISE WIP LIST (0.2);
       REVIEW DIP ISSUES LIST (0.1).


   10/05/22    Heckel, Theodore S.                           2.20        2,486.00        005         65842092
       REVISE WIP LIST (.7); CALL WITH S. SUE RE: WIP LIST (.5); REVISE CASE CALENDAR (.3); CALL WITH S. SUE
       RE: WIP LIST REVISIONS (.1); COORDINATE CALENDARING OF UPCOMING HEARINGS (.2); DRAFT
       UPDATES TO WORKING GROUP LIST (.2); DRAFT UPDATE EMAIL FOR COMMITTEE RE: RESCHEDULED
       COMMITTEE MEEETINGS AND UPDATED WORKING GROUP LIST (.2).


   10/05/22    Su, Yifan                              1.30        897.00          005        65825319
       CALLS WITH T. HECKEL ABOUT WIP AND CASE CALENDAR COMMENTS (.6); REVISE WIPS (.3); REVISE
       CASE CALENDAR (.1); CALL WITH T. HECKEL ABOUT DILIGENCE PRECEDENTS (.1); LOCATE DILIGENCE
       DOCS (.2).


   10/05/22  Young, Felicity                        0.50                        537.50      005     66047418
       MEET WITH INTERNAL WEIL TEAM RE: WIP AND CASE PROGRESS.


   10/05/22  Olvera, Rene A.                        0.80      344.00        005                     66054259
       PREPARE CALENDAR INVITES IN CONNECTION WITH UPCOMING HEARINGS AND DEADLINES.


   10/06/22  Singh, Sunny                             0.80       1,276.00                   005     65831900
       STRATEGY CALL WITH PERELLA TEAM (.5); EMAILS RE WIP AND CALENDAR (.3).


   10/06/22     Heckel, Theodore S.                               0.80          904.00      005     65845134
                 Case 22-90168 Document 1090 Filed in TXSB on 12/07/22 Page 27 of 128




Cineworld (Regal Cinemas) Unsecured Creditors' Committee - Cineworld UCC
25808.0003
2022012213

                                           ITEMIZED SERVICES - 25808.0003 - Cineworld UCC


   Date         Timekeeper/Narrative                            Hours         Amount        Task   Index
        CALL WITH J. SILBER RE: WORKING GROUP LIST UPDATES (.3); CALL WITH S. CHO RE: WIP LIST AND
        OUTSTANDING WORKSTREAMS (.2); CORRESPOND WITH WEIL TEAM RE: CASE CALENDAR (.1);
        CORRESPOND WITH WEIL TEAM RE: WIP LIST (.2).


   10/06/22  Silber, Joseph                                       1.00          690.00      005    65829400
       UPDATE WORKING GROUP LIST.


   10/06/22  Su, Yifan                               1.20          828.00        005         65829412
       MONITOR CASE DOCKET (.5); UPDATE WIP AND CALENDAR (.6); CALL WITH T. HECKEL ABOUT WIP
       DOCKET UPDATE (.1).


   10/06/22  Olvera, Rene A.                            2.30       989.00        005       66054531
       REVIEW AND ELECTRONICALLY ORGANIZE PREPETITION DEBT DOCUMENTS ON THE Y DRIVE AND
       PREPARE ZIP FILE OF SAME (1.0); SEARCH DOCKET REPORTS FROM PREVIOUSLY FILED BANKRUPTCIES
       AND PREPARE EMAIL TO S. SU ATTACHING RETENTION APPLICATIONS WHERE WEIL REPRESENTED A
       COMMITTEE (1.0); PREPARE AND REVISE CALENDAR INVITES IN CONNECTION WITH UPCOMING
       HEARINGS AND DEADLINES (.3).


   10/07/22  Perez, Alfredo R.                                    1.30        2,203.50      005    65847904
       STANDING UCC ADVISORS CONFERENCE CALL.


   10/07/22  Morgan, Gabriel A.                     1.20                      1,794.00      005    65856658
       CALL WITH UCC ADVISORS RE: STATUS AND STRATEGY.


   10/07/22  Foust, Rachael L.                       1.60       1,864.00       005        66061037
       ATTEND UCC ADVISORS CALL (1.0); ATTEND UCC ADVISOR CALL ON ALTERNATIVE DIP COUNTER
       PROPOSAL (0.6).


   10/07/22  Heckel, Theodore S.                        1.30      1,469.00      005                65886877
       CALL WITH WEIL, PSZJ, FTI, AND PWP TEAMS RE: CASE STRATEGY AND OUTSTANDING
       WORKSTREAMS.


   10/09/22     Barr, Matthew S.                                  0.40          780.00      005    65850863
                 Case 22-90168 Document 1090 Filed in TXSB on 12/07/22 Page 28 of 128




Cineworld (Regal Cinemas) Unsecured Creditors' Committee - Cineworld UCC
25808.0003
2022012213

                                           ITEMIZED SERVICES - 25808.0003 - Cineworld UCC


   Date         Timekeeper/Narrative                            Hours         Amount        Task   Index
        CORRESPONDENCE WITH TEAM REGARDING NEXT STEP ISSUES.


   10/09/22  Heckel, Theodore S.                    0.20                        226.00      005    65886940
       CORRESPOND WITH WEIL TEAM RE: UPDATES TO WIP LIST.


   10/10/22  Perez, Alfredo R.                                    1.00        1,695.00      005    65872323
       CONFERENCE CALL WITH UCC ADVISORS.


   10/10/22  Singh, Sunny                              2.30      3,668.50          005       65868672
       CALL RE DIP WITH PACHULSKI AND WEIL TEAM (.5); UCC ADVISOR CALL (1.0); CALL WITH ARNOLD
       AND PORTER RE DIP ISSUES LIST (.8).


   10/10/22  Morgan, Gabriel A.                                   0.70        1,046.50      005    65925288
       UCC ADVISOR STRATEGY CALL (PARTIAL).


   10/10/22  Barr, Matthew S.                        1.10         2,145.00                  005    66118381
       ALL HANDS ADVISORS CALL (.7); AND FOLLOW UP WITH TEAM (.4).


   10/10/22  Foust, Rachael L.                      2.10       2,446.50         005         66061103
       ATTEND INTERNAL WEIL CALL RE: STATUS OF ALTERNATE DIP AND NEXT STEPS (0.5); ATTEND CALL
       WITH PACHULSKI TEAM REGARDING STATUS OF DIP DISCUSSIONS AND NEXT STEPS (0.6); ATTEND
       STANDING ADVISOR CALL (1.0).


   10/10/22  Findlay, Loren                        0.40       392.00       005                     65867156
       ATTEND WEIL MEETING RE PREPARING MATERIALS FOR WEEKLY UCC MEMBER MEETING.


   10/10/22     Heckel, Theodore S.                       2.10       2,373.00          005         65886804
       CALL WITH S. SUE RE: WIP LIST REVISIONS (.2); FOLLOW UP CALL WITH S. SU RE: WIP LIST REVISIONS (.6);
       CALL WITH WEIL, PSZJ, FTI, AND PWP TEAMS RE: CASE STRATEGY AND OUTSTANDING WORKSTREAMS
       (1.0); CALL WITH WEIL TEAM RE: AGENDA AND COMMITTEE MEETING MATERIALS (.3).


   10/10/22     Su, Yifan                                         2.40        1,656.00      005    65858183
                 Case 22-90168 Document 1090 Filed in TXSB on 12/07/22 Page 29 of 128




Cineworld (Regal Cinemas) Unsecured Creditors' Committee - Cineworld UCC
25808.0003
2022012213

                                           ITEMIZED SERVICES - 25808.0003 - Cineworld UCC


   Date         Timekeeper/Narrative                            Hours         Amount        Task   Index
        REVISE WIP LIST (1.3); CALL WITH T. HECKEL RE: WIP (.2); FOLLOW UP CALL WITH T. HECKEL ABOUT WIP
        (.6); REVISE CALENDAR (.3).


   10/10/22  Young, Felicity                        0.40                        430.00      005    65915976
       REVIEW AND RESPOND TO EMAILS RE: CASE PROGRESS.


   10/10/22  Okada, Tyler                           0.20        55.00                       005    65941389
       REVIEW RECENT PLEADINGS, PREPARE AND DISTRIBUTE DOCKET UPDATE.


   10/11/22  Morgan, Gabriel A.                                   0.30          448.50      005    65903421
       CALL WITH WEIL TEAM RE: WORK IN PROCESS.


   10/11/22  Barr, Matthew S.                       0.40                        780.00      005    66118382
       CALL WITH TEAM REGARDING UCC MEETING ISSUES.


   10/11/22  Barr, Matthew S.                                     0.50          975.00      005    66273352
       MEETING WITH TEAM REGARDING OPEN ITEMS.


   10/11/22    Foust, Rachael L.                      2.50         2,912.50        005         66061143
       WEIL WIP MEETING (0.5); FOLLOW-UP COORDINATION CALL WITH T. HECKEL, J. SILBER, AND S. SUE (0.5);
       CALL WITH A. PEREZ ON OPEN ISSUES AND NEXT STEPS (0.2); DRAFT, REVIEW REVISE AND CIRCULATE
       DIP ISSUES WIP LIST FOR COORDINATION WITH PACHULSKI (1.3).


   10/11/22  Findlay, Loren                             0.80         784.00                 005    65875263
       REVIEW AND REVISE DIP WIP LIST (.3); ATTEND WEIL WIP MEETING (.5).


   10/11/22   Heckel, Theodore S.                       1.70       1,921.00           005         65886920
       COORDINATE FILING OF PRO HAC APPLICATIONS (.2); REVIEW REVISIONS TO WIP LIST (.2); REVIEW
       REVISED CASE CALENDAR (.1); CORRESPOND WITH WEIL TEAM RE: CASE CALENDAR (.2); CALL WITH J.
       SILBER RE: WORKING GROUP LIST (.1); DRAFT REVISIONS TO DIP WIP LIST (.8); CALL WITH R. FOUST RE:
       DIP WIP LIST (.1).
                 Case 22-90168 Document 1090 Filed in TXSB on 12/07/22 Page 30 of 128




Cineworld (Regal Cinemas) Unsecured Creditors' Committee - Cineworld UCC
25808.0003
2022012213

                                           ITEMIZED SERVICES - 25808.0003 - Cineworld UCC


   Date         Timekeeper/Narrative                            Hours         Amount        Task     Index

   10/11/22  Silber, Joseph                                       0.80          552.00      005      65873737
       UPDATE WORKING GROUP LIST FOR T. HECKEL.


   10/11/22  Su, Yifan                                 0.60        414.00      005         65875770
       WIP MEETING WITH WEIL TEAM (.5); CALL WITH T. HECKEL ABOUT CALENDAR AND REVISE CASE
       CALENDAR (.1).


   10/11/22  Young, Felicity                        0.80          860.00        005                  65915753
       MEET WITH INTERNAL WEIL TEAM RE: WIP AND CASE PROGRESS (.5); REVIEW AND RESPOND TO
       EMAILS RE: CASE PROGRESS (.3).


   10/11/22  Olvera, Rene A.                            1.30             559.00          005          66053670
       DRAFT MOTION TO APPEAR PRO HAC VICE FOR R. FOUST (.5); FINALIZE AND ELECTRONICALLY FILE
       MOTIONS TO APPEAR PRO HAC VICE FOR (I) R. FOUST; (II) S. CHO; (III) A. KORNFELD; AND (IV) P. LABOV
       (.8).


   10/11/22  Okada, Tyler                           0.20        55.00                       005      65941526
       REVIEW RECENT PLEADINGS, PREPARE AND DISTRIBUTE DOCKET UPDATE.


   10/12/22  Heckel, Theodore S.                     0.30                       339.00      005      65887010
       UPDATE WORKING GROUP LIST (.2); UPDATE CASE CALENDAR (.1).


   10/12/22  Olvera, Rene A.                        0.30       129.00        005       66053438
       PREPARE/REVISE CALENDAR INVITES IN CONNECTION WITH UPCOMING HEARINGS AND DEADLINES.


   10/12/22  Okada, Tyler                           0.20        55.00                       005      65941411
       REVIEW RECENT PLEADINGS, PREPARE AND DISTRIBUTE DOCKET UPDATE.


   10/13/22  Perez, Alfredo R.                                    0.10          169.50      005      66118834
       REVIEW DIP WIP LIST.


   10/13/22     Heckel, Theodore S.                               0.50          565.00      005      65928564
                 Case 22-90168 Document 1090 Filed in TXSB on 12/07/22 Page 31 of 128




Cineworld (Regal Cinemas) Unsecured Creditors' Committee - Cineworld UCC
25808.0003
2022012213

                                           ITEMIZED SERVICES - 25808.0003 - Cineworld UCC


   Date         Timekeeper/Narrative                            Hours         Amount        Task   Index
        UPDATE WORKING GROUP LIST (.1); CALL WITH J. SILBER RE: WORKING GROUP LIST AND WIP LIST (.4).


   10/13/22  Silber, Joseph                          0.70            483.00          005           65888885
       CALL WITH T. HECKEL RE: WORKING GROUP LIST, AND WIP LIST (.4); REVISE SAME (.3).


   10/13/22  Okada, Tyler                           0.10        27.50                       005    65941323
       REVIEW RECENT PLEADINGS, PREPARE AND DISTRIBUTE DOCKET UPDATE.


   10/14/22  Perez, Alfredo R.                    1.00                        1,695.00      005    65913856
       CONFERENCE CALL WITH UCC ADVISORS REGARDING STATUS.


   10/14/22  Singh, Sunny                                         1.00        1,595.00      005    65910803
       UCC ADVISOR COORDINATION CALL.


   10/14/22  Morgan, Gabriel A.                         1.20      1,794.00       005               65925298
       ADVISOR CALL RE: OPEN ITEMS AND NEXT STEPS (.8); REVIEW AND RESPOND TO DEAL
       CORRESPONDENCE (.4).


   10/14/22  Foust, Rachael L.                                    1.00        1,165.00      005    66065777
       ATTEND UCC STANDING ADVISOR CALL.


   10/14/22  Findlay, Loren                                       0.90          882.00      005    65910371
       ATTEND STANDING MEETING WITH UCC ADVISORS.


   10/14/22  Silber, Joseph                                       0.70          483.00      005    65901476
       STANDING ADVISORS CALL (PARTIAL).


   10/14/22 Su, Yifan                                             1.00          690.00      005    65925769
       COMMITTEE ADVISORS CALL.


   10/14/22     Young, Felicity                                   1.00        1,075.00      005    65916080
                 Case 22-90168 Document 1090 Filed in TXSB on 12/07/22 Page 32 of 128




Cineworld (Regal Cinemas) Unsecured Creditors' Committee - Cineworld UCC
25808.0003
2022012213

                                           ITEMIZED SERVICES - 25808.0003 - Cineworld UCC


   Date         Timekeeper/Narrative                            Hours         Amount        Task   Index
        ATTEND COMMITTEE ADVISORS CALL.


   10/14/22  Okada, Tyler                           0.20        55.00                       005    65941299
       REVIEW RECENT PLEADINGS, PREPARE AND DISTRIBUTE DOCKET UPDATE.


   10/16/22  Perez, Alfredo R.                                    1.00        1,695.00      005    65915981
       CONFERENCE CALL WITH UCC ADVISORS.


   10/16/22  Singh, Sunny                                         1.00        1,595.00      005    65910817
       UCC ADVISORS STRATEGY CALL.


   10/16/22  Foust, Rachael L.                                    1.00        1,165.00      005    66060846
       ATTEND CALL WITH UCC ADVISORS.


   10/16/22  Findlay, Loren                                       1.00          980.00      005    65910922
       ATTEND UCC ADVISOR CALL.


   10/16/22   Wollmuth, John                        1.20       828.00        005                   66274779
       PARTICIPATE IN UCC ADVISOR MEETING AND PREPARE SUMMARY FOR LITIGATION TEAM.


   10/16/22  Young, Felicity                                      1.00        1,075.00      005    65916077
       ATTEND UCC ADVISORS CALL.


   10/17/22  Perez, Alfredo R.                                    1.00        1,695.00      005    65935664
       CONFERENCE CALL WITH UCC ADVISORS.


   10/17/22  Singh, Sunny                                         1.00        1,595.00      005    65933502
       UCC ADVISOR STRATEGY CALL.


   10/17/22  Barr, Matthew S.                                     0.20          390.00      005    66273893
       CORRESPONDENCE WITH TEAM RE OPEN ITEMS.
                 Case 22-90168 Document 1090 Filed in TXSB on 12/07/22 Page 33 of 128




Cineworld (Regal Cinemas) Unsecured Creditors' Committee - Cineworld UCC
25808.0003
2022012213

                                           ITEMIZED SERVICES - 25808.0003 - Cineworld UCC


   Date         Timekeeper/Narrative                            Hours         Amount        Task   Index

   10/17/22   Foust, Rachael L.                      1.50       1,747.50        005        66060830
       CORRESPOND INTERNALLY RE CASE UPDATES AND NEXT STEPS (0.1); CALL WITH T. HECKEL RE OPEN
       ITEMS (0.4); ATTEND UCC ADVISORS STANDING COORDINATION CALL (1.0).


   10/17/22  Findlay, Loren                                       0.90          882.00      005    65931638
       ATTEND STANDING UCC ADVISORS CALL.


   10/17/22     Heckel, Theodore S.                    1.20      1,356.00       005         66041011
       CORRESPOND WITH WEIL TEAM RE: WIP LIST (.2); CORRESPOND WITH WEIL TEAM RE: CASE CALENDAR
       (.1); CALL WITH UCC ADVISORS RE: CASE STRATEGY AND OUTSTANDING WORKSTREAMS (.9).


   10/17/22  Su, Yifan                                1.90       1,311.00          005         65946728
       REVIEW DOCKET (.2); UPDATE CALENDAR (.4); ATTEND ADVISOR CALL (PARTIAL) (.5); MEET WITH F.
       YOUNG ABOUT WIP (.2); UPDATE WIP (.6).


   10/17/22  Young, Felicity                        1.50         1,612.50       005         66050826
       REIEW AND RESPOND TO EMAILS RE: CASE PROGRESS (.5); ATTEND UCC ADVISORS CALL RE: CASE
       PROGRESS (PARTIAL) (0.8) REVIEW WIP (.2).


   10/17/22  Okada, Tyler                           0.10        27.50                       005    65986024
       REVIEW RECENT PLEADINGS, PREPARE AND DISTRIBUTE DOCKET UPDATE.


   10/18/22   Perez, Alfredo R.                                   0.30          508.50      005    65947615
       PARTICIPATE IN PART OF WIP MEETING.


   10/18/22  Morgan, Gabriel A.                      0.30                       448.50      005    65990817
       CALL WITH WEIL TEAMS RE: WORK IN PROCESS (PARTIAL).


   10/18/22     Foust, Rachael L.                      1.70       1,980.50        005           66060762
       ATTEND WEIL RX WIP (0.5) CALL WITH T. HECKEL ON OPEN ITEMS AND NEXT STEPS (0.2); REVIE WIP LIST
       (0.7); COORDINATE WITH PACHULSKII TEAM REGARDING OPEN MOTIONS SET FOR HEARING (0.3).
                 Case 22-90168 Document 1090 Filed in TXSB on 12/07/22 Page 34 of 128




Cineworld (Regal Cinemas) Unsecured Creditors' Committee - Cineworld UCC
25808.0003
2022012213

                                           ITEMIZED SERVICES - 25808.0003 - Cineworld UCC


   Date         Timekeeper/Narrative                            Hours         Amount        Task   Index

   10/18/22  Findlay, Loren                                       0.50          490.00      005    65941315
       ATTEND INTERNAL WIP MEETING.


   10/18/22  Heckel, Theodore S.                  0.80       904.00         005         66051654
       CALL WITH WEIL TEAM RE: OUTSTANDING WORKSTREAMS AND CASE STRATEGY (.5); REVIEW AND
       PROVIDE COMMENTS TO UPDATED CASE CALENDAR (.3).


   10/18/22  Su, Yifan                                    1.60       1,104.00         005          65946669
       ATTEND WIP MEETING (.5); REVISE WIP TASK LIST (.3); REVISE CASE CALENDAR (.8).


   10/18/22  Young, Felicity                        0.40                        430.00      005    66051018
       MEET WITH INTERNAL WEIL TEAM RE: WIP AND CASE PROGRESS.


   10/18/22  Okada, Tyler                           0.10        27.50                       005    65986150
       REVIEW RECENT PLEADINGS, PREPARE AND DISTRIBUTE DOCKET UPDATE.


   10/19/22  Perez, Alfredo R.                                    1.20        2,034.00      005    65965471
       CONFERENCE CALL WITH UCC ADVISORS.


   10/19/22  Barr, Matthew S.                                     0.20          390.00      005    65965860
       CORRESPONDENCES WITH TEAM.


   10/19/22  Barr, Matthew S.                          1.40        2,730.00        005          66117925
       ADVISORS CALL (PARTIAL) (.7); MEET WITH TEAM RE NEXT STEPS (.3); REVIEW PROPOSAL ISSUES (.4).


   10/19/22  Foust, Rachael L.                                    1.30        1,514.50      005    66060786
       ATTEND UCC ADVISOR CALL.


   10/19/22  Findlay, Loren                         1.30      1,274.00                      005    65968714
       CALL WITH UCC PROFESSIONALS IN PREPARATION OF UCC MEMBER MEETING.
                 Case 22-90168 Document 1090 Filed in TXSB on 12/07/22 Page 35 of 128




Cineworld (Regal Cinemas) Unsecured Creditors' Committee - Cineworld UCC
25808.0003
2022012213

                                           ITEMIZED SERVICES - 25808.0003 - Cineworld UCC


   Date         Timekeeper/Narrative                            Hours         Amount        Task   Index

   10/19/22  Heckel, Theodore S.                    1.80          2,034.00       005        66053586
       CALL WITH UCC ADVISORS RE: OUTSTANDING WORKSTREAMS AND CASE STRATEGY (1.3); REVIEW
       AND COMMENT ON UPDATES TO CASE CALENDAR (.2); CORRESPOND WITH WEIL TEAM RE: UPDATED
       CASE CALENDAR (.1); REVIEW REVISED WORKING GROUP LIST (.1); CORRESPOND WITH WEIL TEAM RE:
       UPDATED WORKING GROUP LIST (.1).


   10/19/22  Silber, Joseph                                       1.00          690.00      005    65954648
       UPDATE WORKING GROUP LIST.


   10/19/22   Su, Yifan                               1.50      1,035.00      005                  65974777
       REVISE CALENDAR (.3); MONITOR DOCKET, REVISE UPDATES AND COMMITTEE DECKS (1.2).


   10/19/22  Young, Felicity                                      0.50          537.50      005    66050884
       ATTEND COMMITTEE ADVISORS CALL (PARTIAL).


   10/19/22  Okada, Tyler                           0.10        27.50                       005    65986164
       REVIEW RECENT PLEADINGS, PREPARE AND DISTRIBUTE DOCKET UPDATE.


   10/20/22  Heckel, Theodore S.                    0.50         565.00       005        66054282
       CALL WITH R. FOUST RE: OPEN NEAR-TERM WORKSTREAMS (.4); COORDINATE UPDATES TO WORKING
       GROUP LIST (.1).


   10/20/22  Su, Yifan                                            0.40          276.00      005    65974863
       MONITOR DOCKET AND REVISE CASE CALENDAR.


   10/20/22  Okada, Tyler                           0.10        27.50                       005    65986322
       REVIEW RECENT PLEADINGS, PREPARE AND DISTRIBUTE DOCKET UPDATE.


   10/21/22  Perez, Alfredo R.                                    0.60        1,017.00      005    65988856
       CONFERENCE CALL WITH UCC ADVISORS.


   10/21/22     Morgan, Gabriel A.                                0.30          448.50      005    65990822
                 Case 22-90168 Document 1090 Filed in TXSB on 12/07/22 Page 36 of 128




Cineworld (Regal Cinemas) Unsecured Creditors' Committee - Cineworld UCC
25808.0003
2022012213

                                           ITEMIZED SERVICES - 25808.0003 - Cineworld UCC


   Date         Timekeeper/Narrative                            Hours         Amount        Task   Index
        ALL-ADVISOR UPDATE CALL (PARTIAL).


   10/21/22   Foust, Rachael L.                      1.80       2,097.00        005           66060682
       MEET WITH T. JONES AND T. HECKEL RE CASE BACKGROUND, OPEN ISSUES AND NEXT STEPS (1.1);
       ATTEND UCC ADVISORS CALL (0.6); CORRESPOND WITH T. HECKEL RE DIP RESOLUTION AND ISSUES LIST
       (0.1).


   10/21/22  Findlay, Loren                                       0.60          588.00      005    65977629
       ATTEND STANDING CALL WITH UCC ADVISORS.


   10/21/22  Heckel, Theodore S.                        1.00      1,130.00     005          66054764
       CALL WITH R. FOUST AND T. JONES RE: CASE OVERVIEW AND KEY WORKSTREAMS (.7); CALL (PARTIAL)
       WITH WEIL, PSZJ, PWP, AND FTI TEAMS RE: CASE STRATEGY AND OUTSTANDING WORKSTREAMS (.2);
       CALL WITH R. FOUST RE: NEAR-TERM WORKSTREAMS (.1).


   10/21/22  Silber, Joseph                                       0.10           69.00      005    65977151
       UPDATE WORKING GROUP LIST.


   10/21/22  Young, Felicity                        0.60                        645.00      005    66050783
       MEET WITH COMMITTEE PROFESSIONALS RE: CASE PROGRESS.


   10/21/22  Jones, Taylor                                        0.60          588.00      005    66117944
       ATTEND MEETING WITH UCC ADVISORS.


   10/21/22   Olvera, Rene A.                      0.30          129.00       005       66049935
       SUBMIT ELECTRONIC APPEARANCE FOR A. PEREZ AND T. HECKEL IN CONNECTION WITH OCTOBER 21,
       2022 HEARING.


   10/21/22  Okada, Tyler                           0.20        55.00                       005    65986262
       REVIEW RECENT PLEADINGS, PREPARE AND DISTRIBUTE DOCKET UPDATE.


   10/24/22     Perez, Alfredo R.                                 0.70        1,186.50      005    65997465
                 Case 22-90168 Document 1090 Filed in TXSB on 12/07/22 Page 37 of 128




Cineworld (Regal Cinemas) Unsecured Creditors' Committee - Cineworld UCC
25808.0003
2022012213

                                           ITEMIZED SERVICES - 25808.0003 - Cineworld UCC


   Date         Timekeeper/Narrative                            Hours         Amount        Task   Index
        STANDING UCC ADVISORS CALL.


   10/24/22  Singh, Sunny                                         0.80        1,276.00      005    65995286
       UCC ADVISOR CALL.


   10/24/22  Morgan, Gabriel A.                     1.00         1,495.00          005             66037047
       CALL WITH UCC ADVISORS RE: STATUS AND STRATEGY (.8); PREPARE FOR SAME (.2).


   10/24/22  Barr, Matthew S.                         1.10      2,145.00      005                  66017830
       ALL HANDS ADVISORS CALL (.8); CALL WITH TEAM REGARDING FOLLOW UP FROM SAME (.3).


   10/24/22  Foust, Rachael L.                         0.90        1,048.50                 005    66060643
       REVIEW AND REVISE WIP LIST (.2); ATTEND UCC ADVISORS CALL (.7).


   10/24/22  Findlay, Loren                                       0.70          686.00      005    65992583
       ATTEND STANDING CALL WITH UCC ADVISORS.


   10/24/22   Heckel, Theodore S.                        2.70     3,051.00        005        66057495
       REVIEW REVISED WIP LIST (.3); REVIEW REVISED CASE CALENDAR (.2); DRAFT COMMENTS TO REVISED
       WIP LIST (.6); DRAFT COMMENTS TO REVISED CASE CALENDAR (.3); CORRESPOND WITH WEIL TEAM RE:
       WIP LIST (.3); CALL WITH UCC ADVISORS RE: CASE STRATEGY AND OUTSTANDING WORKSTREAMS (.7);
       CALL WITH R. FOUST RE: NEAR-TERM WORKSTREAMS (.3).


   10/24/22   Silber, Joseph                       1.00        690.00           005        66118113
       PARTICIPATE ON AND TAKE NOTES DURING STANDING ADVISORS CALL (.7); REVISE NOTES FROM CALL
       (.3).


   10/24/22  Su, Yifan                             2.80      1,932.00       005                    65995480
       CHECK DOCKETS AND UPDATE KEY FILINGS AND ORDERS ON CALENDAR AND WIP.


   10/24/22     Young, Felicity                                   0.80          860.00      005    66050819
                 Case 22-90168 Document 1090 Filed in TXSB on 12/07/22 Page 38 of 128




Cineworld (Regal Cinemas) Unsecured Creditors' Committee - Cineworld UCC
25808.0003
2022012213

                                           ITEMIZED SERVICES - 25808.0003 - Cineworld UCC


   Date         Timekeeper/Narrative                            Hours         Amount        Task   Index
        ATTEND UCC ADVISORS CALL RE: CASE PROGRESS.


   10/24/22  Jones, Taylor                                        0.60          588.00      005    65993200
       ATTEND MEETING WITH UCC PROFESSIONALS.


   10/24/22  Olvera, Rene A.                          1.00      430.00          005       66047491
       PREPARE TABLE OF CONTENTS AND COVERSHEET IN CONNECTION WITH NATIONAL
       CINEMEDIA-RELATED PLEADINGS BINDERS (.8); PREPARE CALENDAR INVITES IN CONNECTION WITH
       UPCOMING HEARINGS AND DEADLINES (.2).


   10/24/22  Okada, Tyler                           0.30        82.50                       005    66039518
       REVIEW RECENT PLEADINGS, PREPARE AND DISTRIBUTE DOCKET UPDATE.


   10/25/22  Perez, Alfredo R.                       0.50        847.50       005                  66009376
       INTERNAL WEIL WIP MEETING TO DISCUSS OPEN ISSUES, ASSIGNMENTS AND COORDINATION.


   10/25/22   Singh, Sunny                                        0.50          797.50      005    66008335
       WEIL TEAM WIP MEETING.


   10/25/22  Morgan, Gabriel A.                                   0.50          747.50      005    66036108
       WEIL WORK IN PROCESS CALL.


   10/25/22  Barr, Matthew S.                     0.20                          390.00      005    66118118
       CORRESPONDENCES WITH TEAM REGARDING OPEN ISSUES.


   10/25/22  Foust, Rachael L.                       0.90        1,048.50       005                66060692
       ATTEND WEIL RX TEAM WIP MEETING (0.6); FOLLOW-UP WITH T. HECKEL AND ASSOCIATES
       REGARDING OPEN ISSUES AND NEXT STEPS (0.3).


   10/25/22  Heckel, Theodore S.                   0.60       678.00       005                     66057528
       WIP CALL WITH WEIL TEAM RE: OUTSTANDING WORKSTREAMS AND CASE STRATEGY.
                 Case 22-90168 Document 1090 Filed in TXSB on 12/07/22 Page 39 of 128




Cineworld (Regal Cinemas) Unsecured Creditors' Committee - Cineworld UCC
25808.0003
2022012213

                                           ITEMIZED SERVICES - 25808.0003 - Cineworld UCC


   Date         Timekeeper/Narrative                            Hours         Amount        Task   Index

   10/25/22  Silber, Joseph                          0.70         483.00          005              66000203
       REVIEW EMAILS IN PREPARATION FOR WIP MEETING (0.1); ATTEND WIP MEETING (0.6).


   10/25/22  Su, Yifan                                2.10         1,449.00      005        66010460
       ATTEND WIP MEETING (.6); PREPARE WIP MATERIALS (.1) REVIEW DOCKET AND UPDATE WIP AND
       CALENDAR (.9); REVIEW EMAIL RE: RENT AND DIP DEVELOPMENTS AND REVIEW PROPOSED MOTIONS
       (.5).


   10/25/22  Young, Felicity                        0.70                        752.50      005    66050872
       MEET WITH INTERNAL WEIL TEAM RE: WIP AND CASE PROGRESS.


   10/25/22  Jones, Taylor                                        0.40          392.00      005    66005903
       ATTEND WIP MEETING (PARTIAL).


   10/25/22  Olvera, Rene A.                        0.20        86.00        005       66042586
       PREPARE/REVISE CALENDAR INVITES IN CONNECTION WITH UPCOMING HEARINGS AND DEADLINES.


   10/25/22  Okada, Tyler                           0.20        55.00                       005    66039467
       REVIEW RECENT PLEADINGS, PREPARE AND DISTRIBUTE DOCKET UPDATE.


   10/26/22   Perez, Alfredo R.                      0.20       339.00      005         66016942
       PARTICIPATE ON UCC ADVISORS CALL (PARTIAL) REGARDING UPCOMING COMMITTEE MEETING.


   10/26/22  Singh, Sunny                                         0.50          797.50      005    66014203
       UCC ADVISOR COORDINATION CALL.


   10/26/22  Foust, Rachael L.                    0.40       466.00        005                     66060646
       ATTEND CALL WITH UCC ADVISORS REGARDING UPCOMING COMMITTEE MEETING.


   10/26/22     Wollmuth, John                                    0.40          276.00      005    66274778
                 Case 22-90168 Document 1090 Filed in TXSB on 12/07/22 Page 40 of 128




Cineworld (Regal Cinemas) Unsecured Creditors' Committee - Cineworld UCC
25808.0003
2022012213

                                           ITEMIZED SERVICES - 25808.0003 - Cineworld UCC


   Date         Timekeeper/Narrative                            Hours         Amount        Task   Index
        PARTICIPATE ON UCC ADVISOR CALL AND CIRCULATE UPDATE TO THE WEIL LITIGATION TEAM RE
        SAME.


   10/26/22   Heckel, Theodore S.                    0.40         452.00        005       66057549
       REVISE CASE CALENDAR (.3); CORRESPOND WITH WEIL TEAM RE: REVISIONS TO CASE CALENDAR (.1).


   10/26/22   Su, Yifan                                0.80       552.00        005          66015708
       REVISE CASE CALENDAR AND WIP (.3); EMAIL WITH T. HECKEL ABOUT CALENDAR PRACTICE (.1);
       REVIEW MATTER EMAILS (.4).


   10/26/22  Olvera, Rene A.                       0.50       215.00         005                   66042569
       EMAILS AND DISCUSSIONS WITH TEAM REGARDING REDACTIONS TO DIP OBJECTION.


   10/26/22  Okada, Tyler                           0.20        55.00                       005    66039561
       REVIEW RECENT PLEADINGS, PREPARE AND DISTRIBUTE DOCKET UPDATE.


   10/27/22   Heckel, Theodore S.                     0.50        565.00      005                  66057543
       REVISE CASE CALENDAR (.3); CALL WITH RX TEAM RE: OUTSTANDING WORKSTREAMS (.2).


   10/27/22  Silber, Joseph                           1.70       1,173.00     005                  66018693
       UPDATE WORKING GROUP LIST (1.4); MEET WITH RX TEAM RE: CURRENT WORKSTREAM (.3).


   10/27/22  Su, Yifan                            0.90           621.00       005           66018574
       MEETING WITH RX TEAM RE: CURRENT WORKSTREAMS (.3); REVISE WIP AND CALENDAR (.3); REVIEW
       MATTER EMAILS (.3).


   10/27/22  Okada, Tyler                           0.20        55.00                       005    66039412
       REVIEW RECENT PLEADINGS, PREPARE AND DISTRIBUTE DOCKET UPDATE.


   10/28/22  Perez, Alfredo R.                                    0.70        1,186.50      005    66037109
       CONFERENCE CALL WITH UCC ADVISORS.
                 Case 22-90168 Document 1090 Filed in TXSB on 12/07/22 Page 41 of 128




Cineworld (Regal Cinemas) Unsecured Creditors' Committee - Cineworld UCC
25808.0003
2022012213

                                           ITEMIZED SERVICES - 25808.0003 - Cineworld UCC


   Date         Timekeeper/Narrative                            Hours         Amount        Task   Index

   10/28/22  Singh, Sunny                                         0.50          797.50      005    66030182
       ADVISOR COORDINATION CALL (PARTIAL).


   10/28/22  Foust, Rachael L.                                    0.80          932.00      005    66262558
       ATTEND UCC ADVISOR CALL.


   10/28/22  Findlay, Loren                         0.70                        686.00      005    66025247
       ATTEND STANDING CALL WITH UCC PROFESSIONALS.


   10/28/22     Heckel, Theodore S.                    0.90     1,017.00       005       66057582
       REVIEW REVISED WORKING GROUP LIST (.1); CORRESPOND WITH WEIL TEAM RE: WORKING GROUP LIST
       (.1); CALL WITH UCC ADVISORS RE: CASE STRATEGY AND OUTSTANDING WORKSTREAMS (.7).


   10/28/22   Su, Yifan                                           0.80          552.00      005    66035888
       REVISE WIP AND CALENDAR.


   10/28/22  Young, Felicity                                      0.80          860.00      005    66036559
       MEET WITH UCC ADVISORS RE: CASE PROGRESS.


   10/28/22  Jalomo, Chris                            2.00         680.00         005          66042170
       PREPARE AND ELECTRONICALLY FILE (I) WEIL, GOTSHAL & MANGES LLP RETENTION APPLICATION, (II)
       PACHULSKI STANG ZIEHL & JONES LLP RETENTION APPLICATION, (III) FTI CONSULTING, INC. RETENTION
       APPLICATION AND (IV) PERELLA, WEINBERG PARTNERS LP RETENTION APPLICATION.


   10/28/22  Okada, Tyler                           0.50       137.50          005                 66039420
       REVIEW RECENT PLEADINGS, PREPARE AND DISTRIBUTE DOCKET UPDATE (0.4); UPDATE CASE
       CALENDAR (0.1).


   10/31/22  Singh, Sunny                                         1.00        1,595.00      005    66050117
       CALL WITH CINEPLEX TEAM.


   10/31/22     Heckel, Theodore S.                               0.60          678.00      005    66057650
                 Case 22-90168 Document 1090 Filed in TXSB on 12/07/22 Page 42 of 128




Cineworld (Regal Cinemas) Unsecured Creditors' Committee - Cineworld UCC
25808.0003
2022012213

                                           ITEMIZED SERVICES - 25808.0003 - Cineworld UCC


   Date         Timekeeper/Narrative                            Hours         Amount        Task   Index
        REVIEW AND REVISE UPDATED WIP LIST.


   10/31/22  Su, Yifan                               2.30       1,587.00      005           66051491
       UPDATE WIP AND CASE CALENDAR (1.3); SEND OBJECTION DEADLINE CALENDAR REMINDERS (.3);
       UPDATE WIP AND CASE CALENDAR AND INCORPORATE COMMENTS (.7).


   10/31/22  Young, Felicity                        0.50        537.50      005       66050976
       REVIEW AND RESPOND TO EMAILS RE: CASE PROGRESS INCLUDIGN CASH MANGAEMENT AND THE PJT
       RETENTION APPLICATION.


   10/31/22  Okada, Tyler                           0.20        55.00                       005    66162435
       REVIEW RECENT PLEADINGS, PREPARE AND DISTRIBUTE DOCKET UPDATE.


    SUBTOTAL TASK 005 - Critical Dates; Case                    224.10     $250,086.00
    Admin; WIP; Mtgs/Call UCC Professionals (CA:

   09/28/22   Perez, Alfredo R.                       3.80      6,441.00        006         65795637
       PARTICIPATE IN THE BANKER INTERVIEWS AND DELIBERATIONS (3.0); FOLLOW-UP CALL WITH FTI,
       PACHULSKI AND WEIL REGARDING NEXT STEPS (.5); VARIOUS COMMUNICATIONS WITH PACHULSKI
       AND COMMITTEE MEMBERS REGARDING NEGOTIATION OF FEES (.3).


   09/28/22  Singh, Sunny                            4.10          6,539.50       006              65793391
       UCC BANKER CALLS (2.5); CALLS WITH UCC ADVISORS (.8); VARIOUS EMAILS RE SAME (.8).


   09/29/22  Singh, Sunny                             0.90       1,435.50      006                 66104526
       EMAILS WITH WEIL TEAM RE VARIOUS MATTERS (.4); CALL WITH CINEPLEX COUNSEL (.5).


   09/30/22  Perez, Alfredo R.                    0.20         339.00        006                   65798564
       REVIEW PROPOSED LANGUAGE FOR CONFIDENTIALITY PROVISION IN THE UCC BY-LAWS AND
       COMMENTS TO THE BY-LAWS.


   09/30/22     Singh, Sunny                                      0.50          797.50      006    66104675
                 Case 22-90168 Document 1090 Filed in TXSB on 12/07/22 Page 43 of 128




Cineworld (Regal Cinemas) Unsecured Creditors' Committee - Cineworld UCC
25808.0003
2022012213

                                           ITEMIZED SERVICES - 25808.0003 - Cineworld UCC


   Date         Timekeeper/Narrative                            Hours         Amount        Task   Index
        REVIEW BY LAWS.


   09/30/22  Heckel, Theodore S.                   1.60        1,808.00       006         66104924
       REVIEW COMMENTS TO COMMITTEE BYLAWS (.3); DRAFT REVISIONS TO COMMITTEE BYLAWS (1.0);
       CORRESPOND WITH WEIL TEAM RE: COMMITTEE BYLAWS (.2); CORRESPOND WITH PSZJ TEAM RE:
       COMMITTEE BYLAWS (.1).


   10/02/22  Perez, Alfredo R.                                    0.10          169.50      006    65798587
       REVIEW COMMENTS TO THE BY-LAW PROVISIONS.


   10/04/22   Perez, Alfredo R.                        1.30      2,203.50          006       65822989
       VARIOUS COMMUNICATIONS WITH PACHULSKI REGARDING MINUTES (.1); ATTEND COMMITTEE
       MEETING (1.0); FOLLOW-UP CALL WITH S. SINGH REGARDING NEXT STEPS (.1); REVIEW COMMENTS TO
       THE BY-LAWS (.1).


   10/04/22     Singh, Sunny                          1.90      3,030.50       006        65820986
       REVIEW COMMITTEE MATERIALS TO PREPARE FOR CALL (.5); CALL WITH B. MENDELSSOHN RE SAME
       (.3); PARTICIPATE IN CINEWORLD COMMITTEE MEETING (1.1).


   10/04/22   Barr, Matthew S.                      1.30        2,535.00      006        65850372
       PARTICIPATE IN CINEWORLD COMMITTEE MEETING (.8); AND FOLLOW UP WITH TEAM REGARDING
       NEXT STEPS (.5).


   10/04/22  Foust, Rachael L.                                    1.10        1,281.50      006    66058452
       ATTEND CINEWORLD COMMITTEE MEETING.


   10/04/22  Heckel, Theodore S.                                  1.10        1,243.00      006    65840133
       ATTEND CINEWORLD COMMITTEE MEETING.


   10/05/22  Perez, Alfredo R.                      0.30       508.50        006       65828180
       VARIOUS COMMUNICATIONS WITH S. SINGH AND S. CHO REGARDING LANGUAGE IN THE BY-LAWS (.2);
       REVIEW COMMENTS TO BY-LAWS (.1).
                 Case 22-90168 Document 1090 Filed in TXSB on 12/07/22 Page 44 of 128




Cineworld (Regal Cinemas) Unsecured Creditors' Committee - Cineworld UCC
25808.0003
2022012213

                                           ITEMIZED SERVICES - 25808.0003 - Cineworld UCC


   Date         Timekeeper/Narrative                            Hours         Amount        Task   Index

   10/05/22  Singh, Sunny                          0.70        1,116.50       006         65827135
       EMAIL MEMO TO UCC MEMBERS RE UK PROCEEDING (.4); REVIEW BYLAW EDITS AND EMAILS RE SAME
       (.3).


   10/07/22  Perez, Alfredo R.                    0.20                          339.00      006    65847811
       REVIEW ADDITIONAL COMMENTS TO THE BY-LAWS.


   10/07/22  Heckel, Theodore S.                     0.80       904.00          006       65886938
       REVIEW REVISED COMMITTEE BYLAWS (.4); REVISE COMMITTEE BYLAWS (.3); CORRESPOND WITH WEIL
       TEAM RE: BYLAWS (.1).


   10/09/22  Heckel, Theodore S.                  0.30          339.00        006         65886826
       CORRESPOND WITH WEIL TEAM RE: COMMITTEE BYLAWS (.1); CORRESPOND WITH PSZJ TEAM RE:
       COMMITTEE BYLAWS (.2).


   10/10/22   Perez, Alfredo R.                   0.20       339.00       006        65872279
       VARIOUS COMMUNICATIONS WITH PACHULSKI AND KIRKLAND REGARDING THE CONFIDENTIALITY
       PROVISIONS IN THE BY-LAWS.


   10/11/22  Heckel, Theodore S.                    0.30         339.00       006          65886910
       CORRESPOND WITH PSZJ TEAM RE: COMMITTEE BY LAWS (.2); CORRESPOND WITH WEIL TEAM RE:
       COMMITTEE BY LAWS (.1).


   10/12/22   Perez, Alfredo R.                      0.50        847.50      006         65883213
       COMMUNICATIONS WITH T. LAWS AND P. LABOV REGARDING STATUS (.1); COMMUNICATIONS WITH S.
       STAR REGARDING BY-LAWS (.1); REVIEW FURTHER REVISED BY-LAWS AND COMMENTS (.1);
       COMMUNICATIONS WITH FTI AND S. CHO REGARDING IMPLEMENTATION OF THE CONFIDENTIALITY
       PROVISION FOR COMMITTEE MEMBERS (.2).


   10/12/22  Singh, Sunny                                         1.00        1,595.00      006    65882210
       CALL WITH S. BROWN RE VARIOUS UCC ISSUES.


   10/12/22     Heckel, Theodore S.                               0.60          678.00      006    65887039
                 Case 22-90168 Document 1090 Filed in TXSB on 12/07/22 Page 45 of 128




Cineworld (Regal Cinemas) Unsecured Creditors' Committee - Cineworld UCC
25808.0003
2022012213

                                           ITEMIZED SERVICES - 25808.0003 - Cineworld UCC


   Date         Timekeeper/Narrative                            Hours         Amount        Task   Index
        REVIEW REVISED COMMITTEE BYLAWS (.1); CORRESPOND WITH PSZJ TEAM RE: COMMITTEE BYLAWS
        (.2); CORRESPOND WITH WEIL TEAM RE: BYLAWS (.1); CALL WITH R. FOUST RE: BYLAWS (.1);
        CORRESPOND WITH COMMITTEE MEMBERS RE: COMMITTEE BYLAWS (.1).


   10/13/22   Perez, Alfredo R.                      0.90       1,525.50       006         65893850
       PARTICIPATE IN PART OF THE COMMITTEE MEETING (.7); COMMUNICATIONS WITH M. B. MERCADE
       REGARDING COMMITTEE MEMBERSHIP (.1); REVIEW COMMUNICATIONS FROM T. COOPER REGARDING
       LANDSEC RESIGNATION (.1).


   10/13/22  Singh, Sunny                             1.50      2,392.50         006               65910865
       PREPARE FOR (.5) AND PARTICIPATE ON CALL WITH COMMITTEE AND ADVISORS (1.0).


   10/13/22  Morgan, Gabriel A.                    1.10                       1,644.50      006    65902149
       ATTEND MEETING WITH COMMITTEE AND ADVISORS.


   10/13/22  Findlay, Loren                                       1.10        1,078.00      006    65901183
       ATTEND CALL WITH COMMITTEE AND ADVISORS.


   10/13/22  Heckel, Theodore S.                                  1.10        1,243.00      006    65928548
       ATTEND CALL WITH COMMITTEE AND ADVISORS.


   10/17/22  Perez, Alfredo R.                                    0.10          169.50      006    65935716
       REVIEW PROPOSED AGENDA FOR OCUC MEETING.


   10/17/22  Heckel, Theodore S.                   0.20          226.00       006        66040989
       CORRESPOND WITH COMMITTEE MEMBERS RE: 341 MEETING (.1); CORRESPOND WITH COMMITTEE
       MEMBERS RE: REAL ESTATE PLAN (.1).


   10/18/22  Singh, Sunny                              0.70                   1,116.50      006    65945963
       CALL WITH R. CHADWICK (.4); CALL WITH K. GWYNN (.3).


   10/19/22     Singh, Sunny                                      1.70        2,711.50      006    65966010
                 Case 22-90168 Document 1090 Filed in TXSB on 12/07/22 Page 46 of 128




Cineworld (Regal Cinemas) Unsecured Creditors' Committee - Cineworld UCC
25808.0003
2022012213

                                           ITEMIZED SERVICES - 25808.0003 - Cineworld UCC


   Date         Timekeeper/Narrative                            Hours         Amount        Task   Index
        ATTEND UCC ADVISORS MEETING (1.4); CALL WITH B. SANDLER AND R. CHADWICK (.3).


   10/20/22  Perez, Alfredo R.                      1.80         3,051.00      006      65975295
       REVIEW ULTRA ANALYSIS AND MATERIALS FOR THE OCUC MEETING (.6); MEET WITH OCUC MEMBERS
       AND THE PROFESSIONALS PER THE AGENDA FOR THE CALL (1.1); COMMUNICATIONS WITH R.
       CHADWICK REGARDING DISCUSSION FOR OCUC MEETING (.1).


   10/20/22  Singh, Sunny                            2.50         3,987.50       006               65974678
       UCC ADVISOR PRE-CALL (.5); UCC COMMITTEE MEETING (1.2); CALL WITH UCC MEMBER (.8).


   10/20/22  Barr, Matthew S.                                     1.50        2,925.00      006    65989548
       UCC CALL (1.0); FOLLOW UP WITH TEAM (.5).


   10/20/22  Foust, Rachael L.                                    1.10        1,281.50      006    66060747
       ATTEND COMMITTEE MEETING.


   10/20/22  Findlay, Loren                                       1.20        1,176.00      006    65972732
       ATTEND COMMITTEE MEETING.


   10/20/22  Heckel, Theodore S.                                  1.20        1,356.00      006    66053821
       ATTEND COMMITTEE MEETING.


   10/20/22  Young, Felicity                                      1.20        1,290.00      006    66050922
       ATTEND COMMITTEE MEETING.


   10/22/22  Singh, Sunny                                         0.60          957.00      006    65978669
       EMAILS WITH S. BROWN.


   10/24/22  Singh, Sunny                               0.70                  1,116.50      006    65995249
       CALL WITH K. GWYNNE (.3); CALL WITH S. BROWN (.4).


   10/24/22     Davidson, Jenny                                   0.20          343.00      006    66021933
                 Case 22-90168 Document 1090 Filed in TXSB on 12/07/22 Page 47 of 128




Cineworld (Regal Cinemas) Unsecured Creditors' Committee - Cineworld UCC
25808.0003
2022012213

                                           ITEMIZED SERVICES - 25808.0003 - Cineworld UCC


   Date         Timekeeper/Narrative                            Hours         Amount        Task   Index
        EMAILS WITH A. KELLY TAGLIANINI RE LOCAL COUNSEL ENGAGEMENTS.


   10/25/22  Perez, Alfredo R.                        1.20      2,034.00       006                 66009303
       REVIEW MATERIALS (.2); PARTICIPATE IN COMMITTEE MEETING WITH PROFESSIONALS (1.0).


   10/25/22  Singh, Sunny                             1.50      2,392.50                    006    66008459
       REVIEW COMMITTEE MATERIAL (.5); PARTICIPATE IN UCC MEETING (1.0).


   10/25/22  Barr, Matthew S.                                     0.90        1,755.00      006    66118117
       UCC CALL (PARTIAL).


   10/25/22  Foust, Rachael L.                    1.00     1,165.00                         006    66060595
       ATTEND UCC MEETING WITH ADVISORS AND COMMITTEE MEMBERS.


   10/25/22  Findlay, Loren                       1.00       980.00                         006    66009727
       ATTEND UCC MEETING WITH ADVISORS AND COMMITTEE MEMBERS.


   10/25/22  Heckel, Theodore S.                  1.20         1,356.00      006          66057518
       CORRESPOND WITH COMMITTEE MEMBERS RE: EXTENDED DIP OBJECTION DEADLINE (.1); CORRESPOND
       WITH COMMITTEE MEMBERS RE: MEETING MATERIALS (.1); ATTEND COMMITTEE MEETING (1.0).


   10/26/22  Heckel, Theodore S.                 0.20        226.00        006        66057552
       CORRESPOND WITH COMMITTEE MEMBERS RE: COMMITTEE ADVISROS' RETENTION APPLICATIONS.


   10/27/22   Perez, Alfredo R.                        0.70      1,186.50         006       66023827
       PREPARE FOR (.3) AND PARTICIPATE IN CREDITORS' COMMITTEE MEETING (.3); COMMUNICATIONS
       WITH R. CHADWICK REGARDING NEXT STEPS (.1).


   10/27/22  Singh, Sunny                                         0.40          638.00      006    66023480
       ATTEND UCC COMMITTEE MEETING.


   10/27/22     Morgan, Gabriel A.                                0.50          747.50      006    66035890
                 Case 22-90168 Document 1090 Filed in TXSB on 12/07/22 Page 48 of 128




Cineworld (Regal Cinemas) Unsecured Creditors' Committee - Cineworld UCC
25808.0003
2022012213

                                           ITEMIZED SERVICES - 25808.0003 - Cineworld UCC


   Date         Timekeeper/Narrative                            Hours         Amount        Task   Index
        ATTEND COMMITTEE MEETING.


   10/27/22  Foust, Rachael L.                                    0.30          349.50      006    66060700
       ATTEND COMMITTEE MEETING.


   10/27/22  Findlay, Loren                       0.30        294.00                        006    66024364
       ATTEND STANDING UCC CALL WITH UCC MEMBERS AND ADVISORS.


   10/27/22  Heckel, Theodore S.                    0.50         565.00        006                 66057560
       CORRESPOND WITH COMMITTEE MEMBERS RE: COMMITTEE MEETING (.1); ATTEND COMMITTEE
       MEETING (.3); CORRESPOND WITH COMMITTEE CO-CHAIRS RE: RETENTION APPLICATIONS (.1).


   10/31/22  Morgan, Gabriel A.                                   1.00        1,495.00      006    66114533
       CINEPLEX DISCUSSION WITH UCC ADVISORS.


   10/31/22  Foust, Rachael L.                                    0.70          815.50      006    66060523
       ATTEND CINEPLEX PRESENTATION (PARTIAL).


   10/31/22  Findlay, Loren                        1.40          1,372.00      006                 66045901
       ATTEND CINEPLEX PRESENTATION TO UCC PROFESSIONALS (1.0); PREPARE FOR SAME (.4).


   10/31/22  Heckel, Theodore S.                   1.40      1,582.00          006          66057646
       ATTEND CINEPLEX PRESENTATION RE: ALTERNATIVE TRANSACTION (1.0); PREPARE FOR SAME (.4).


   10/31/22  Young, Felicity                                      1.10        1,182.50      006    66050831
       MEET WITH REPRESENTATIVES FOR CINEPLEX.


    SUBTOTAL TASK 006 - Committee Business incl.                 58.50      $84,555.50
    Comm. Meetings and Communications (GC):

   09/29/22     Perez, Alfredo R.                                 0.20          339.00      007    65795628
                 Case 22-90168 Document 1090 Filed in TXSB on 12/07/22 Page 49 of 128




Cineworld (Regal Cinemas) Unsecured Creditors' Committee - Cineworld UCC
25808.0003
2022012213

                                           ITEMIZED SERVICES - 25808.0003 - Cineworld UCC


   Date         Timekeeper/Narrative                            Hours         Amount        Task   Index
        VARIOUS COMMUNICATIONS WITH UCC ADVISORS AND KIRKLAND REGARDING SECOND DAY
        HEARINGS.


   09/30/22  Perez, Alfredo R.                    0.10        169.50        007         65798464
       COORDINATION WITH CASE CONSTITUENTS REGARDING CALL WITH COUNSEL FOR DIP LENDERS.


   09/30/22  Perez, Alfredo R.                      0.70       1,186.50      007        65798622
       CONFERENCE CALL WITH KIRKLAND AND UCC ADVISORS REGARDING NEXT STEPS, DEADLINES,
       HEARING DATES, AND COORDINATION (.5); COMMUNICATIONS WITH KIRKLAND AND UCC ADVISORS
       REGARDING SCHEDULING OF SECOND DAY HEARINGS (.2).


   09/30/22  Singh, Sunny                                         0.50          797.50      007    66104674
       CALL WITH DEBTORS’ COUNSEL.


   09/30/22  Morgan, Gabriel A.                     1.40      2,093.00         007       65790345
       INTRODUCTORY CALL WITH WEIL, PACHULSKI, AND KIRKLAND TEAMS (.4); INTRODUCTORY CALL
       WITH WEIL, PACHULSKI, AND ARNOLD PORTER TEAMS (1.0).


   09/30/22  Barr, Matthew S.                        0.90       1,755.00                    007    65814002
       ALL HANDS CALL WITH DEBTORS ADVISORS (.4); AND FOLLOW UP WITH TEAM (.5).


   09/30/22   Foust, Rachael L.                                   1.00        1,165.00      007    66124641
       INTRO CALL WITH AD HOC GROUP ADVISORS.


   09/30/22     Heckel, Theodore S.                     1.70       1,921.00         007        65838565
       CALL WITH WEIL, PSZJ, AND KIRKLAND TEAMS RE: CASE OVERVIEW, UPCOMING HEARINGS, AND DIP
       (.4); CALL WITH WEIL, PSZJ, AND AD HOC GROUP ADVISORS RE: CASE OVERVIEW (1.0); CORRESPOND
       WITH DEBTORS RE: FOREIGN COUNSEL (.1); CORRESPOND WITH DEBTORS RE: DATAROOM ACCESS (.2).


   10/03/22  Heckel, Theodore S.                  0.20                          226.00      007    65839929
       CORRESPOND WITH DEBTORS RE: DIP DATAROOM MATERIALS.
                 Case 22-90168 Document 1090 Filed in TXSB on 12/07/22 Page 50 of 128




Cineworld (Regal Cinemas) Unsecured Creditors' Committee - Cineworld UCC
25808.0003
2022012213

                                           ITEMIZED SERVICES - 25808.0003 - Cineworld UCC


   Date         Timekeeper/Narrative                            Hours         Amount        Task   Index

   10/17/22  Foust, Rachael L.                    0.20        233.00       007       66060807
       CORRESPOND WITH DEBTORS' COUNSEL REGARDING DIP HEARING AND CASH MANAGEMENT HEARING.


   10/18/22   Heckel, Theodore S.                      0.40       452.00        007         66051675
       CORRESPOND WITH DEBTORS RE: DIP DILIGENCE (.2); CORRESPOND WITH AD HOC GROUP RE: DIP
       DILIGENCE (.2).


   10/20/22  Heckel, Theodore S.                     0.20        226.00           007          66054419
       CORRESPOND WITH AD HOC GROUP RE: DIP DILIGENCE REQUEST (.1); CALL WITH S. SINGH, J. DAVIDSON,
       AND DEBTORS' COUNSEL RE: UK PROCEEDINGS (.1).


    SUBTOTAL TASK 007 - Communications with                       7.50      $10,563.50
    Debtors and Other Case Constituents (CD):

   09/28/22  Perez, Alfredo R.                      0.50       847.50       008          65795501
       CONFERENCE CALL WITH WHITE & CASE, PACHULSKI AND WEIL REGARDING ALTERNATIVE DIP (.3);
       REVIEW PROPOSAL (.2).


   09/28/22  Heckel, Theodore S.                       1.50        1,695.00        008             65814520
       COMPILE DIP DOCUMENTS (.3); REVIEW DIP MOTION (.5); REVIEW INTERIM DIP ORDER (.7).


   09/29/22  Perez, Alfredo R.                         1.20      2,034.00      008       65798456
       REVIEW SLIDES AND COMPARISON TO THE DIP (.2); CONFERENCE CALL COUNSEL REGARDING
       ALTERNATE DIP (.8); REVIEW MILESTONES AND COMMENT ON DEMONSTRATIVE WITH T. HECKEL (.2).


   09/29/22  Singh, Sunny                              6.70     10,686.50           008        66104525
       CALL WITH WHITE & CASE RE ALTERNATIVE DIP (.8); REVIEW EMAILS RE SAME (.4); REVIEW ALL DIP
       PLEADINGS (5.5).


   09/29/22  Nemunaitis, Vynessa                                  0.70          962.50      008    65787686
       REVIEW DIP ORDER.


   09/29/22     Heckel, Theodore S.                               5.40        6,102.00      008    65838417
                 Case 22-90168 Document 1090 Filed in TXSB on 12/07/22 Page 51 of 128




Cineworld (Regal Cinemas) Unsecured Creditors' Committee - Cineworld UCC
25808.0003
2022012213

                                           ITEMIZED SERVICES - 25808.0003 - Cineworld UCC


   Date         Timekeeper/Narrative                            Hours         Amount        Task   Index
        REVIEW DIP DOCUMENTS RE: MILESTONES (.5); REVIEW SEPT. 28TH HEARING AUDIO RE: UPDATED CASE
        MILESTONES (.4); DRAFT COMPARISON OF DIP MILESTONES VERSUS UPDATED CASE MILESTONES (.8);
        CORRESPOND WITH WEIL TEAM RE: UPDATED CASE MILESTONES (.3); CORRESPOND WITH WEIL TEAM
        RE: DIP DOCUMENTS (.3); COMPILE DIP DOCUMENTS FOR WEIL BANKING TEAM (.3); REVIEW DIP
        DOCUMENTS RE: MILESTONES AND KEY ISSUES (2.8).


   09/30/22  Perez, Alfredo R.                     0.50          847.50       008        65798625
       VARIOUS COMMUNICATIONS WITH COUNSEL REGARDING ALTERNATE DIP PROPOSAL (.2);
       COMMUNICATIONS WITH UCC ADVISORS REGARDING CALL WITH INVESTOR IN ALTERNATE DIP (.1);
       REVIEW PRESENTATION FROM PJT REGARDING PROJECT BUSBY (.1); COMMUNICATIONS WITH PERELLA
       REGARDING SAME (.1).


   09/30/22  Singh, Sunny                              0.80       1,276.00                  008    66104676
       INTERNAL CALL WITH WEIL TEAM RE DIP (.4); VARIOUS EMAILS RE SAME (.4).


   09/30/22  Friedmann, Jared R.                   0.40        558.00         008                  65802091
       REVIEW ANALYSIS/COMPARISON OF ALTERNATIVE DIP PROVIDER AND EMAILS RE: SAME.


   09/30/22  Morgan, Gabriel A.                                   0.20          299.00      008    66104921
       CALL WITH WEIL TEAM RE: DIP ISSUES.


   09/30/22   Nemunaitis, Vynessa                  3.70       5,087.50        008       65787668
       REVIEW DIP AND PREPETITION DEBT DOCUMENTS AND PREPARE SUMMARY (3.0); CONFERENCE WITH
       WEIL TEAM REGARDING SAME (.7).


   09/30/22     Heckel, Theodore S.                    4.50          5,085.00      008        65838536
       CALL WITH S. SINGH, V. NEUMAITAIS, AND G. MORGAN RE: DIP (.3); REVIEW ALTERNATIVE DIP
       FINANCING PROPOSAL (.4); CORRESPOND WITH WEIL TEAM RE: ALTERNATIVE DIP FINANCING (.2);
       COMPILE INTERCREDITOR AGREEMENTS (.2); CORRESPOND WITH WEIL BANKING TEAM RE:
       INTERCREDITOR AGREEMENTS (.1); CORRESPOND WITH PSZJ TEAM RE: INTERCREDITOR AGREEMENTS
       (.1); REVISE COMPARISON RE: DIP MILESTONE AND CASE TIMELINE (.7); CORRESPOND WITH WEIL TEAM
       RE: DIP DILIGENCE AND DATAROOM (.3); REVIEW DATAROOM MATERIALS RE: DIP FINANCING (1.4);
       REVIEW PREPETITION CREDIT DOCUMENTS IN CONNECTION WITH DIP (.8).
                 Case 22-90168 Document 1090 Filed in TXSB on 12/07/22 Page 52 of 128




Cineworld (Regal Cinemas) Unsecured Creditors' Committee - Cineworld UCC
25808.0003
2022012213

                                           ITEMIZED SERVICES - 25808.0003 - Cineworld UCC


   Date         Timekeeper/Narrative                            Hours         Amount        Task   Index

   10/01/22  Nemunaitis, Vynessa                                  1.40        1,925.00      008    65886928
       REVIEW DEBT DOCUMENTS.


   10/02/22  Nemunaitis, Vynessa                                  1.00        1,375.00      008    65805542
       REVIEW DEBT DOCUMENTS.


   10/02/22  Foust, Rachael L.                                    0.30          349.50      008    66058462
       REVIEW MAKE-WHOLE RESEARCH.


   10/02/22  Heckel, Theodore S.                       1.60      1,808.00         008           65839960
       CORRESPOND WITH WEIL TEAM RE: DIP (.2); REVIEW DILIGENCE MATERIALS RE: DIP ISSUES (1.4).


   10/03/22  Perez, Alfredo R.                    0.10       169.50        008                     65814120
       REVIEW REQUEST FOR ADDITIONAL ADEQUATE ASSURANCE RECEIVED FROM R. MANOLL.


   10/03/22  Perez, Alfredo R.                     0.40        678.00        008                   65814197
       REVIEW MARK-UP AND ISSUES RAISED BY LANDLORD TO THE PROPOSED DIP ORDER (.3);
       COMMUNICATIONS WITH COUNSEL REGARDING ALTERNATE DIP PROPOSAL (.1).


   10/03/22  Singh, Sunny                                         0.70        1,116.50      008    65814393
       CALL WITH LANDLORD ADVISORS RE DIP ISSUES.


   10/03/22  Nemunaitis, Vynessa                                  2.10        2,887.50      008    65805541
       REVIEW DEBT AND COLLATERAL DOCUMENTS.


   10/03/22  Foust, Rachael L.                    0.40       466.00      008         66058530
       REVIEW PWP DIP SUMMARY MATERIALS AND COORDINATE AND COMPILE COMMENTS RE SAME.


   10/03/22  Findlay, Loren                      2.70      2,646.00       008                      65806063
       REVIEW, ANALYZE, AND SUMMARIZE CASH MANAGEMENT MOTION AND INTERIM ORDER.
                 Case 22-90168 Document 1090 Filed in TXSB on 12/07/22 Page 53 of 128




Cineworld (Regal Cinemas) Unsecured Creditors' Committee - Cineworld UCC
25808.0003
2022012213

                                           ITEMIZED SERVICES - 25808.0003 - Cineworld UCC


   Date         Timekeeper/Narrative                            Hours         Amount        Task   Index

   10/03/22  Heckel, Theodore S.                      6.00      6,780.00        008       65840142
       CALL WITH L. FINDLAY RE: CASH MANAGEMENT (.3); REVIEW CASH MANAGEMENT MOTION AND
       RELATED DOCUMENTS RE: INTERCOMPANY CLAIMS (3.6); CORRESPOND WITH WEIL TEAM RE: DIP
       DATAROOM MATERIALS (.3); REVIEW DATAROOM RE: DIP MATERIALS (.4); REVIEW DILIGENCE
       MATERIALS RE: DIP ISSUES (1.4).


   10/04/22   Perez, Alfredo R.                       2.20      3,729.00        008         65822949
       REVIEW AGENDA AND PARTICIPATE ON CALL REGARDING LIEN SEARCHES (PARTIAL) (.1); REVIEW
       COUNTER-PROPOSAL TO ALTERNATE DIP (.2); PARTICIPATE ON CALL WITH PERELLA, PACHULSKI, FTI
       AND WEIL TEAMS TO REVIEW THE COUNTER-PROPOSAL AND TO DISCUSS STRATEGY (1.3); REVIEW
       MAKE-WHOLE LANGUAGE (.3); REVIEW REVISED COUNTER-PROPOSAL (.2); COMMUNICATIONS WITH B.
       PFEIFFER REGARDING STATUS (.1).


   10/04/22  Singh, Sunny                               3.00      4,785.00        008          65820858
       MEET WITH WEIL TEAM RE DIP ISSUES (.8); REVIEW PERELLA MATERIALS RE SAME (.4); CALL WITH UCC
       ADVISORS RE SAME (1.3); COORDINATION CALL WITH WEIL AND PACHULSKI RE COLLATERAL REVIEW
       (.5).


   10/04/22  Morgan, Gabriel A.                                   1.10        1,644.50      008    65856648
       REVIEW CASH MANAGEMENT MOTION.


   10/04/22   Nemunaitis, Vynessa                   1.20     1,650.00         008         65819110
       CONFERENCE WITH D. GUTTIERREZ REGARDING COLLATERAL REVIEW (.7); CONFERENCE WITH S. SINGH
       AND S. LOO REGARDING COLLATERAL REVIEW (.5).


   10/04/22  Foust, Rachael L.                         5.50        6,407.50       008         65892968
       REVIEW DIP PLEADINGS AND CREDIT AGREEMENT TERM SHEET (0.9); ANALYZE CASE LAW RESEARCH
       AND CONDUCT FOLLOW-UP RESEARCH RE DIP ISSUES (2.9); REVIEW AND REVISE DIP ISSUES LIST (0.4);
       MEET WITH WEIL TEAM RE DIP ISSUES (0.8); FOLLOW UP DISCUSSIONS WITH T. HECKEL AND L FINDLAY
       RE SAME (0.5).


   10/04/22  Foust, Rachael L.                    0.50        582.50                        008    66262520
       ATTEND CALL WITH PACHULSKI TEAM REGARDING LIEN REVIEW.
                 Case 22-90168 Document 1090 Filed in TXSB on 12/07/22 Page 54 of 128




Cineworld (Regal Cinemas) Unsecured Creditors' Committee - Cineworld UCC
25808.0003
2022012213

                                           ITEMIZED SERVICES - 25808.0003 - Cineworld UCC


   Date         Timekeeper/Narrative                            Hours         Amount        Task   Index

   10/04/22   Gutierrez, Daniela Cristina              4.00      4,800.00       008        65822588
       CALL WITH V. NEMUNAITIS TO DISCUSS COLLATERAL REVIEW AND ANALYSIS (.7); CALL WITH WEIL
       TEAM DISCUSS DIP FINANCING (.5); DRAFT AND REVIEW CORRESPONDENCE REGARDING MAKE WHOLE
       PROVISIONS (1.2); DRAFT AND REVISE COLLATERAL SUMMARY (1.6).


   10/04/22     Findlay, Loren                              6.70      6,566.00         008        65819217
       REVIEW AND ANALYZE DIP MOTION AND INTERIM ORDER (.7); MEET WITH WEIL TEAM RE DIP ISSUES
       LIST (.7); PREPARE DIP ISSUES LIST CHART (4.0); ATTEND UCC ADVISOR CALL RE DIP ISSUES/PROPOSAL
       (1.3).


   10/04/22    Heckel, Theodore S.                       5.20          5,876.00     008          65841923
       CALL WITH WEIL TEAM RE: DIP FINANCING (.8); CALL WITH WEIL AND PSZJ TEAMS RE: DIP
       WORKSTREAMS (.5); CALL WITH WEIL, PSZJ, FTI, AND PWP TEAMS RE: DIP FINANCING (1.2); CALL WITH
       R. FOUST AND L. FINDLAY RE: DIP WORKSTREAMS (.2); CORRESPOND WITH WEIL BANKING TEAM RE:
       DIP DILIGENCE (.2); REVIEW DIP DOCUMENTS RE: DIP ISSUES (2.1); CORRESPOND WITH WEIL TEAM RE:
       MAKE WHOLE ANALYSIS (.2).


   10/04/22  Jalomo, Chris                          0.50                        170.00      008    65916063
       RESEARCH DIP FINANCING MOTION OBJECTIONS FOR T. HECKEL.


   10/05/22   Perez, Alfredo R.                     1.90         3,220.50      008         65828196
       TELEPHONE CONFERENCE WITH S. SINGH REGARDING ALTERNATE DIP (.2); TELEPHONE CONFERENCE
       WITH V. NEMUNAITIS REGARDING PERFECTION ISSUES (.2); VARIOUS COMMUNICATIONS WITH
       PACHULSKI AND WEIL TEAMS REGARDING PERFECTION ISSUES (.3); REVIEW LANGUAGE OF
       COMMERCIAL CODE AND CASE LAW REGARDING PERFECTION ISSUES (.9), REVIEW DIP ISSUES LIST (.3).


   10/05/22  Singh, Sunny                                2.10     3,349.50         008        65827187
       COMMUNICATIONS WITH COUNSEL RE ALTERNATIVE DIP (.4); CALL WITH A. PEREZ RE SAME (.2); EMAIL
       MEMO TO UCC ADVISORS RE SAME (.3); CALL WITH G. GWYNN RE SAME AND EMAIL TO WEIL TEAM (.3);
       REVIEW DIP ISSUES LIST AND EMAILS RE SAME (.4); REVIEW MAKE WHOLE ISSUES (.5).


   10/05/22     Nemunaitis, Vynessa                               1.90        2,612.50      008    65845822
                 Case 22-90168 Document 1090 Filed in TXSB on 12/07/22 Page 55 of 128




Cineworld (Regal Cinemas) Unsecured Creditors' Committee - Cineworld UCC
25808.0003
2022012213

                                           ITEMIZED SERVICES - 25808.0003 - Cineworld UCC


   Date         Timekeeper/Narrative                            Hours         Amount        Task   Index
        CONFERENCE WITH J. DAVIDSON REGARDING UK LIEN REVIEW (.7); CONFERENCE WITH A. PEREZ
        REGARDING LIEN ANALYSIS (.2); DEBT ANALYSIS REGARDING COLLATERAL REVIEW (1).


   10/05/22  Gogna, Reena                           2.00      3,430.00          008         65845214
       ATTEND CALLS WITH US TO DISCUSS SCOPE OF WORK AND SECURITY (.7); REVIEW SCOPE OF SECURITY
       DOCUMENTS AND DILIGENCE MATERIALS (1.3).


   10/05/22  Gao, Xin                                 4.00       3,920.00      008         65850865
       REVIEW 2018 LEGACY FACILITY AND 2020 PRIMING FACILITY LOAN AGREEMENTS AND SECURITY
       DOCUMENTATION PROVIDED THEREUNDER (3.0), REVIEW ROW FACILITY AGREEMENT (0.5); INITIAL
       CALLS AND DISCUSSIONS WITH NY BANKING AND RX TEAM RE SCOPE OF REVIEW (0.5).


   10/05/22  Foust, Rachael L.                     0.90         1,048.50        008           66116813
       CALL WITH BANKING TEAM REGARDING LIEN REVIEW (.5); REVIEW AND REVISE DIP ISSUES LIST (.4).


   10/05/22   Gutierrez, Daniela Cristina          4.20         5,040.00       008       65828243
       ATTEND CALL WITH UK BANKING TEAM TO DISCUSS COLLATERAL REVIEW (.5); ATTEND CALL WITH
       KIRKLAND TO DISCUSS PREPETITION DEBT DOCUMENTS (.5); DRAFT AND REVISE COLLATERAL
       SUMMARY (1); RESEARCH CASE LAW AND UCC PROVISIONS REGARDING COLLATERAL CLASSIFICATION
       (2.2).


   10/05/22    Findlay, Loren                           5.30      5,194.00      008        65824916
       DRAFT AND REVISE DIP ISSUES LIST (5.0); CONDUCT LEGAL RESEARCH AND ANALYSIS REGARDING DIP
       ISSUES (.3).


   10/05/22   Heckel, Theodore S.                        7.90        8,927.00           008         65842015
       CALL WITH WEIL BANKING TEAM RE: DIP FINANCING (.5); COORDINATE CALL WITH WEIL AND PSZJ
       TEAMS RE: DIP DOCS (.1); REVIEW INTERIM DIP ORDER (1.7); CALL WITH R. FOUST RE: DIP ISSUES LIST (.1);
       FOLLOW-UP CALL WITH R. FOUST RE: DIP ISSUES LIST (.1); REVISE DIP ISSUES LIST (2.7); CALL WITH S.
       CHO (PSZJ) RE: DIP DILIGENCE (.1); CORRESPOND WITH WEIL TEAM RE: DIP ISSUES LIST (.2); DRAFT
       DILIGENCE LIST RE: DIP AND OTHER FIRST DAY RELIEF (2.4).


   10/05/22     Su, Yifan                                         2.20        1,518.00      008     65825327
                 Case 22-90168 Document 1090 Filed in TXSB on 12/07/22 Page 56 of 128




Cineworld (Regal Cinemas) Unsecured Creditors' Committee - Cineworld UCC
25808.0003
2022012213

                                           ITEMIZED SERVICES - 25808.0003 - Cineworld UCC


   Date         Timekeeper/Narrative                            Hours         Amount        Task   Index
        CONDUCT POST PETITION PROCEEDS RESEARCH.


   10/05/22 O'Donohue, Jack                                       3.50        1,627.50      008    65841927
       CONDUCT COMPANIES SEARCH OF UK ENTITIES.


   10/06/22  Perez, Alfredo R.                         2.40       4,068.00         008      65835597
       MEET WITH WEIL TEAM REGARDING DIP ISSUES LIST (.7); VARIOUS COMMUNICATIONS WITH WEIL
       TEAM REGARDING DIP ISSUES LIST (.4); REVIEW MAKE-WHOLE ISSUES (.5); VARIOUS COMMUNICATIONS
       WITH WEIL TEAM REGARDING MAKE-WHOLE (.1); VARIOUS COMMUNICATIONS WITH PERELLA AND
       COUNSEL REGARDING THE ALTERNATIVE DIP (.3); VARIOUS COMMUNICATIONS WITH PACHULSKI
       REGARDING PERFECTION ISSUES AND ADEQUATE PROTECTION (.4).


   10/06/22  Singh, Sunny                                2.60       4,147.00            008        65831933
       MEET WITH WEIL TEAM RE DIP ISSUES LIST (.8); CALL WITH B. SANDLER RE DIP (.3); CALL WITH J.
       MESTERSMITH RE DIP (.3); CALL WITH G. MORGAN (.2); REVIEW DIP ISSUES LIST (1.0).


   10/06/22   Morgan, Gabriel A.                            1.10 1,644.50        008          65856621
       REVIEW DIP ISSUES LISTS AND COUNTERPROPOSAL (.4); CALL WITH WEIL TEAM (PARTIAL) RE: DIP
       ISSUES LIST (0.5); CALL WITH S. SINGH RE: SAME (.2).


   10/06/22  Nemunaitis, Vynessa                  1.50     2,062.50          008      65846075
       CONFERENCE WITH C. MARCUS REGARDING COLLATERAL MATTERS (.5); DEBT DOCUMENT ANALYSIS
       (1).


   10/06/22  Barr, Matthew S.                          2.90       5,655.00          008            65850568
       MEET WITH TEAM REGARDING DIP ISSUES LIST (.6); AND NEXT STEPS (.3); REVIEW DIP ISSUES (.5); AND
       CORRESPONDENCE WITH TEAM REGARDING SAME (.1); REVIEW RESEARCH (.5); AND ANALYSIS
       REGARDING SAME (.9).


   10/06/22 Gao, Xin                                              5.70        5,586.00      008    65850992
       CONDUCT UK SECURITY REVIEW.


   10/06/22     Foust, Rachael L.                                 3.00        3,495.00      008    66060574
                 Case 22-90168 Document 1090 Filed in TXSB on 12/07/22 Page 57 of 128




Cineworld (Regal Cinemas) Unsecured Creditors' Committee - Cineworld UCC
25808.0003
2022012213

                                           ITEMIZED SERVICES - 25808.0003 - Cineworld UCC


   Date         Timekeeper/Narrative                            Hours         Amount        Task   Index
        MEET WITH WEIL TEAM RE DIP ISSUES LIST AND NEXT STEPS (0.6); COORDINATE WITH T. HECKEL AND
        L. FINDLAY RE SAME (0.7); REVIEW AND REVISE DIP ISSUES LIST (0.8); CORRESPOND WITH L. FINDLAY RE
        SAME (0.2); REVIEW MAKE-WHOLE RESEARCH AND COORDINATE FOLLOW-UP RE SAME (0.4);
        COORDINATE CREATION OF DIP MATERIALS BINDERS FOR THE WEIL TEAM (0.3).


   10/06/22     Gutierrez, Daniela Cristina         4.70      5,640.00        008          65856352
       DRAFT AND REVISE COLLATERAL SUMMARY (1.7); ATTEND CALL WITH WEIL TEAM RE: DIP ISSUES LIST
       (.8); REVIEW GUARANTY AGREEMENTS AND OTHER ANCILLARY DOCUMENTS PROVIDED (2.0); CALL
       WITH R. NAGAR RE: CASH COLLATERAL AND PERFECTION (.2).


   10/06/22   Findlay, Loren                           9.40        9,212.00        008           65831538
       CONDUCT RESEARCH AND ANALYSIS RE 552(B) (2.4); WEIL MEETING RE DIP ISSUES LIST (.8); DRAFT AND
       REVISE DIP ISSUES LIST AND CORRESPONDENCE RE SAME (5.4); DIP DILIGENCE CALL WITH T. HECKEL (.5);
       PREPARE DIP MATERIALS (.3).


   10/06/22    Heckel, Theodore S.                        8.30        9,379.00          008        65844979
       CALL WITH WEIL TEAM RE: DIP ISSUES LIST (.6); CORRESPOND WITH WEIL TEAM RE: DIP ISSUES (.3);
       REVIEW DIP ISSUES LIST (.8); CALL WITH L. FINDLAY RE: DIP DILIGENCE (.5); DRAFT REVISIONS TO DIP
       ISSUES LIST (1.3); CORRESPOND WITH WEIL BANKING TEAM RE: DIP DILIGENCE (.2); CORRESPOND WITH
       WEIL TEAM RE: UPDATED FINANCING DOCUMENTS IN DATAROM IN CONNECTION WITH DIP (.2);
       REVIEW DATAROOM RE: RECENTLY UPDATED FINANCING DOCUMENTS IN CONNECTION WITH DIP (.7);
       DRAFT DATAROOM TRACKER RE: DIP DILIGENCE (1.4); CORRESPOND WITH WEIL TEAM RE: DATAROOM
       TRACKER FOR DIP DILIGENCE (.2); DRAFT DILIGENCE LIST RE: DIP AND FIRST DAY RELIEF (1.9); CALL
       WITH J. SILBER RE: DIP DILIGENCE (.2).


   10/06/22  Silber, Joseph                             4.40 3,036.00    008        65829391
       PREPARE DATAROOM TRACKER OF ALL CINEWORLD DOCUMENTS UPLOADED TO DROPBOX PER T.
       HECKEL (4.2); CALL WITH T. HECKEL RE: SAME (.2).


   10/06/22   Su, Yifan                            2.20      1,518.00    008        65829424
       REVIEW AND CATEGORIZE DATAROOM DOCUMENTS REGARDING DILIGENCE REQUESTS RELATED TO
       THE DIP, CASH MANAGEMENT MOTION AND OTHER FIRST DAY MOTIONS.


   10/06/22     O'Donohue, Jack                                   3.30        1,534.50      008    65842041
                 Case 22-90168 Document 1090 Filed in TXSB on 12/07/22 Page 58 of 128




Cineworld (Regal Cinemas) Unsecured Creditors' Committee - Cineworld UCC
25808.0003
2022012213

                                           ITEMIZED SERVICES - 25808.0003 - Cineworld UCC


   Date         Timekeeper/Narrative                            Hours         Amount        Task   Index
        FINISH SECURITY COMPANY SEARCH OF UK ENTITIES.


   10/06/22   Okada, Tyler                        3.60         990.00                       008     65878430
       ASSIST WITH PREPARATION OF DATAROOM TRACKER FOR T. HECKEL.


   10/07/22   Perez, Alfredo R.                        1.60       2,712.00        008         65848004
       CONFERENCE CALL WITH UCC ADVISOR, REGARDING NEXT STEPS ON THE ALTERNATE DIP (.4); REVIEW
       AND REVISE DIP ISSUES LIST (.4); VARIOUS COMMUNICATIONS WITH PACHULSKI, PERELLA, FTI, AND
       WEIL TEAMS REGARDING DIP ISSUES LIST AND COUNTER TO ALTERNATIVE DIP (.8).


   10/07/22  Singh, Sunny                                   3.70       5,901.50       008           65848463
       REVIEW DIP ISSUES LIST (1.0); RESEARCH RE DIP (.4); CALLS WITH UCC ADVISORS RE DIP (1.5); CALL WITH
       KIRKLAND RE SAME (.5); CALL WITH M. BARR RE SAME (.3).


   10/07/22  Morgan, Gabriel A.                                   0.30          448.50      008     65856625
       CALL WITH UCC ADVISORS RE: ALTERNATE DIP.


   10/07/22   Barr, Matthew S.                        2.00        3,900.00       008          65851020
       CALL (PARTIAL) WITH UCC ADVISOR REGARDING DIP (.9); REVIEW NEXT STEPS REGARDING DIP (.3);
       CALL WITH KIRKLAND REGARDING DIP (.5); CALL WITH S. SINGH RE: DIP (.3).


   10/07/22  Lado, Luke                                3.20                   4,016.00      008     65844317
       REVIEW SUMMARY (2.0); EMAILS (.2); REVIEW SECURITY (1.0).


   10/07/22 Gao, Xin                                              2.50        2,450.00      008     65851024
       CONDUCT UK SECURITY REVIEW.


   10/07/22   Foust, Rachael L.                       3.20     3,728.00      008         66061115
       REVIEW CASH MANAGEMENT MOTION AND ORDER (1.2); DRAFT, REVIEW AND REVISE PRELIMINARY
       ISSUES LIST FOR CASH MANAGEMENT MOTION (1.8); MARKUP CASH MANAGEMENT ORDER (0.2).


   10/07/22     Foust, Rachael L.                                 1.20        1,398.00      008     66061139
                 Case 22-90168 Document 1090 Filed in TXSB on 12/07/22 Page 59 of 128




Cineworld (Regal Cinemas) Unsecured Creditors' Committee - Cineworld UCC
25808.0003
2022012213

                                           ITEMIZED SERVICES - 25808.0003 - Cineworld UCC


   Date         Timekeeper/Narrative                            Hours         Amount        Task   Index
        REVIEW AND REVISE DIP ISSUES LIST (0.4); CORRESPOND WITH S. SINGH RE SAME (0.2); COORDINATE
        PREPARATION OF DIP DOCUMENTS (0.4); CORRESPOND WITH L. FINDLAY AND T. HECKEL RE SAME (0.2).


   10/07/22  Gutierrez, Daniela Cristina        1.00      1,200.00                          008    65856455
       REVIEW UK COMMENTS TO COLLATERAL SUMMARY AND ANALYSIS.


   10/07/22   Findlay, Loren                            8.00      7,840.00          008      65837868
       REVISE DIP ISSUES LIST AND CORRESPONDENCE RE SAME (6.4); ATTEND UCC ADVISOR CALL RE DIP
       ISSUES LIST (1.3); ATTEND UCC ADVISOR CALL RE ALTERNATIVE DIP PROPOSAL (.3).


   10/07/22  Heckel, Theodore S.                        5.00        5,650.00         008        65886781
       REVIEW COMMENTS TO DIP ISSUES LIST (.3); REVIEW DIP DILIGENCE MATERIALS (.7); CALL WITH L.
       FINDLAY AND R. FOUST (PARTIAL) RE: DIP ISSUES LIST REVISIONS (.9); CONDUCT RESEARCH RE: MAKE
       WHOLE ISSUE (2.9); CORRESPOND WITH WEIL TEAM RE: DIP ISSUES LIST (.2).


   10/07/22   Su, Yifan                            4.00      2,760.00    008        65838792
       REVIEW AND CATEGORIZE DATAROOM DOCUMENTS REGARDING DILIGENCE REQUESTS RELATED TO
       THE DIP, CASH MANAGEMENT MOTION AND OTHER FIRST DAY MOTIONS.


   10/07/22   Okada, Tyler                        2.70         742.50                       008    65878480
       ASSIST WITH PREPARATION OF DATAROOM TRACKER FOR T. HECKEL.


   10/08/22  Foust, Rachael L.                        0.10                      116.50      008    66060772
       CIRCULATE WORD VERSION OF DIP ISSUES LIST TO COMMITTEE.


   10/08/22   Silber, Joseph                       5.30      3,657.00    008        65837575
       REVIEW AND CATEGORIZE DATAROOM DOCUMENTS REGARDING DILIGENCE REQUESTS RELATED TO
       THE DIP, CASH MANAGEMENT MOTION AND OTHER FIRST DAY MOTIONS.


   10/08/22   Su, Yifan                            1.00       690.00     008        65838791
       REVIEW AND CATEGORIZE DATAROOM DOCUMENTS REGARDING DILIGENCE REQUESTS RELATED TO
       THE DIP, CASH MANAGEMENT MOTION AND OTHER FIRST DAY MOTIONS.
                 Case 22-90168 Document 1090 Filed in TXSB on 12/07/22 Page 60 of 128




Cineworld (Regal Cinemas) Unsecured Creditors' Committee - Cineworld UCC
25808.0003
2022012213

                                           ITEMIZED SERVICES - 25808.0003 - Cineworld UCC


   Date         Timekeeper/Narrative                            Hours         Amount        Task   Index

   10/09/22   Perez, Alfredo R.                      1.10         1,864.50       008         65849509
       COMMUNICATIONS WITH B. MENDELSOHN, M. BARR, S. SINGH, AND G. MORGAN REGARDING
       ALTERNATIVE DIP (.3); REVIEW CASE LAW ON PAYMENT OF FEES (.7); COMMUNICATIONS WITH S.
       SINGH REGARDING CASE LAW (.1).


   10/09/22  Singh, Sunny                               0.60        957.00                  008    65848269
       CALL WITH C. MARCUS AND B. SANDLER RE DIP (.4); EMAILS RE SAME (.2).


   10/09/22  Heckel, Theodore S.                                  0.10          113.00      008    65886816
       CORRESPOND WITH WEIL TEAM RE: DIP ISSUES.


   10/09/22   Silber, Joseph                       4.30      2,967.00    008        65838362
       REVIEW AND CATEGORIZE DATAROOM DOCUMENTS REGARDING DILIGENCE REQUESTS RELATED TO
       THE DIP, CASH MANAGEMENT MOTION AND OTHER FIRST DAY MOTIONS.


   10/09/22   Su, Yifan                            2.30      1,587.00    008        65845739
       REVIEW AND CATEGORIZE DATAROOM DOCUMENTS REGARDING DILIGENCE REQUESTS RELATED TO
       THE DIP, CASH MANAGEMENT MOTION AND OTHER FIRST DAY MOTIONS.


   10/09/22   Okada, Tyler                         4.80      1,320.00    008        65878505
       REVIEW AND CATEGORIZE DATAROOM DOCUMENTS REGARDING DILIGENCE REQUESTS RELATED TO
       THE DIP, CASH MANAGEMENT MOTION AND OTHER FIRST DAY MOTIONS.


   10/10/22   Perez, Alfredo R.                      2.90          4,915.50        008          65872320
       WEIL INTERNAL CALL REGARDING NEXT STEPS ON ALTERNATE DIP (.3); CONFERENCE CALL WITH
       PACHULSKI AND WEIL REGARDING ALTERNATE DIP AND NEXT STEPS (.4); REVIEW MAKEWHOLE
       MEMORANDUM (.4); TELEPHONE CONFERENCES WITH S. SINGH REGARDING DIP ISSUES (.2); TELEPHONE
       CONFERENCE WITH R. FOUST REGARDING DIP ISSUES LIST (.2); REVIEW REVISED DIP ISSUES LIST (.2);
       TELEPHONE CONFERENCE WITH C. CARLSON REGARDING THE MAKEWHOLE (.2); TELEPHONE
       CONFERENCE WITH G. MORGAN REGARDING MAKEWHOLE (.1); VARIOUS COMMUNICATIONS WITH
       PERELLA WEINBERG, PACHULSKI AND WEIL TEAM REGARDING ALTERNATIVE COUNTER (.3); REVIEW
       RESEARCH ON MAKEWHOLE ISSUES (.5); COMMUNICATIONS WITH OCUC MEMBER REGARDING DIP
       ISSUES LIST (.1).
                 Case 22-90168 Document 1090 Filed in TXSB on 12/07/22 Page 61 of 128




Cineworld (Regal Cinemas) Unsecured Creditors' Committee - Cineworld UCC
25808.0003
2022012213

                                           ITEMIZED SERVICES - 25808.0003 - Cineworld UCC


   Date         Timekeeper/Narrative                            Hours         Amount        Task   Index

   10/10/22    Singh, Sunny                             4.10        6,539.50          008       65868643
       REVIEW CASH MANAGEMENT MOTION AND ORDER (.5); INTERNAL CALL RE DIP ISSUES (.5); CALL WITH
       B. SANDLER AND R. CHADWICK RE DIP (.4); REVIEW DIP ISSUES LIST (1.0); CONDUCT RESEARCH RE DIP
       ISSUES (1.3); WEIL TEAM MEETING RE FOLLOW UP ITEMS (.4).


   10/10/22  Morgan, Gabriel A.                      0.60        897.00                     008    65925396
       CALL WITH WEIL AND PACHULSKI TEAM RE: DIP ISSUES AND NEXT STEPS.


   10/10/22  Barr, Matthew S.                          1.10       2,145.00       008               65885001
       CALL WITH WEIL AND PACHULSKI TEAMS RE : DIP (.7); AND FOLLOW UP WITH TEAM (.4).


   10/10/22   Foust, Rachael L.                        3.70       4,310.50     008       66061090
       REVIEW AND REVISE CASH MANAGEMENT MOTION/ORDER (0.8); CORREPOND WITH TEAM REGARDING
       CASH MANAGEMENT ISSUES LIST, MAKE-WHOLE RESEARCH AND NEXT STEPS (0.6); REVIEW AND
       REVISE DIP ISSUES LIST AND FINALIZE FOR CIRCULATION (2.3).


   10/10/22  Gutierrez, Daniela Cristina        1.70      2,040.00          008       65887276
       REVIEW UK COMMENTS TO COLLATERAL SUMMARY AND ANALYSIS (1.0); REVIEW AND UPDATE
       COLLATERAL SUMMARY (.7).


   10/10/22   Findlay, Loren                            3.30        3,234.00       008        65867195
       ATTEND CALL WITH PSZJ RE DIP STRATEGY (.5); REVISE DIP ISSUES LIST AND CORRESPONDENCE RE
       SAME (1.5); RESEARCH DIP STRATEGIES (1.3).


   10/10/22     Heckel, Theodore S.                         9.00        10,170.00      008         65886817
       REVIEW MEMO RE: MAKE WHOLE (.9); DRAFT DILIGENCE ISSUES LIST RE: DIP AND FIRST DAY
       WORKSTREAMS (2.9); CORRESPOND WITH WEIL TEAM RE: DIP DILIGENCE LIST (.2); CALL WITH WEIL
       TEAM RE: ALTERNATIVE DIP (.3); CALL WITH WEIL AND PSZJ TEAMS RE: DIP WORKSTREAMS AND
       STRATEGY (.4); CALL WITH R. FOUST RE: DIP RESEARCH (.1); CONDUCT RESEARCH RE: ADEQUATE
       PROTECTION ISSUE (2.3); CALL WITH L. FINDLAY RE: DIP RESEARCH (.2); CALL WITH R. FOUST RE: DIP
       DILIGENCE (.1); CALL WITH S. CHO (PSZJ) RE: DIP DILIGENCE (.2); REVIEW DIP DOCUMENTS RE: DILIGENCE
       (.6); REVIEW DIP ISSUES LIST (.3); REVIEW ALTERNATIVE DIP COUNTER PROPOSAL (.2); CORRESPOND
       WITH PSZJ TEAM RE: DIP DILIGENCE LIST (.3).
                 Case 22-90168 Document 1090 Filed in TXSB on 12/07/22 Page 62 of 128




Cineworld (Regal Cinemas) Unsecured Creditors' Committee - Cineworld UCC
25808.0003
2022012213

                                           ITEMIZED SERVICES - 25808.0003 - Cineworld UCC


   Date         Timekeeper/Narrative                            Hours         Amount        Task   Index

   10/10/22  Su, Yifan                             4.50      3,105.00      008                     65858195
       RECORD DOCUMENTS ON DATAROOM TRACKER (2.4); RESEARCH AND DRAFT MEMO RE:
       ADMINISTRATIVE EXPENSE (2.1).


   10/10/22      Young, Felicity                         1.60       1,720.00          008        65916016
       REVIEW CASH COLLATERAL MOTION (.4); MEET WITH R FOUST AND D O'BRIEN RE CASH COLLATERAL
       (FTI)(.2); REVISE CASH COLLATERAL ISSUES LIST AND EMAIL TO FTI RE: SAME (.5); MEET WITH WEIL
       TEAM RE DIP PROGRESS AND WIP (.5).


   10/10/22 Okada, Tyler                          0.40         110.00                       008    65941285
       CONDUCT RESEARCH RE: PRECEDENT BACKSTOP FEES RULING FOR L. FINDLAY.


   10/10/22   Okada, Tyler                         5.70      1,567.50    008        65941407
       REVIEW AND CATEGORIZE DATAROOM DOCUMENTS REGARDING DILIGENCE REQUESTS RELATED TO
       THE DIP, CASH MANAGEMENT MOTION AND OTHER FIRST DAY MOTIONS.


   10/11/22  Perez, Alfredo R.                       1.00       1,695.00       008        65879458
       TELEPHONE CONFERENCE WITH R. FOUST REGARDING MOTION FOR ADMINISTRATIVE EXPENSE (.1);
       REVIEW TRANSCRIPT OF HEARING REGARDING FEES (.4); REVIEW DRAFT LETTER REGARDING
       ALTERNATE DIP FINANCING (.2); COMMUNICATIONS WITH R. FOUST REGARDING DISCOVERY ISSUES (.1);
       REVIEW COMMENTS TO ALTERNATIVE DIP PROPOSAL (.2).


   10/11/22  Singh, Sunny                              0.80      1,276.00           008         65882187
       CALL WITH PERELLA RE DIP (.2); REVIEW TERM SHEET FOR ALTERNATIVE DIP (.3); EMAILS RE DIP WIP
       (.3).


   10/11/22  Nemunaitis, Vynessa                   1.30      1,787.50         008                  65877431
       CONFERENCE WITH D. GUTIERREZ REGARDING COLLATERAL REVIEW (.3); REVIEW DIP CREDIT
       AGREEMENT (1).


   10/11/22  Barr, Matthew S.                                     0.90        1,755.00      008    65885722
       REVIEW DIP ISSUE (.4); AND NEXT STEPS (.5).
                 Case 22-90168 Document 1090 Filed in TXSB on 12/07/22 Page 63 of 128




Cineworld (Regal Cinemas) Unsecured Creditors' Committee - Cineworld UCC
25808.0003
2022012213

                                           ITEMIZED SERVICES - 25808.0003 - Cineworld UCC


   Date         Timekeeper/Narrative                            Hours         Amount        Task   Index

   10/11/22   Foust, Rachael L.                        6.30       7,339.50       008          66061018
       REVIEW AND REVISE DIP ISSUES LIST AND ORDER MARKUP (2.5); CORRESPOND INTERNALLY RE OPEN
       ISSUES AND NEXT STEPS (0.8); COORDINATE REVIEW OF DIP CA WITH WEIL BANKING TEAM (0.3);
       COORDINATE FOLLOW-UP RESEARCH ON MAKE-WHOLE AND OTHER DIP ISSUES (0.8); REVIEW
       RESEARCH SUMMARIES AND ANALYSIS (0.8); COORDINATE WITH F. YOUNG RE CASH MANAGEMENT
       ORDER MARKUP (0.4); REVIEW, REVISE AND CIRCULATE SAME (0.7).


   10/11/22   Gutierrez, Daniela Cristina            4.20      5,040.00        008                 65887261
       REVISE AND DISCUSS COLLATERAL SUMMARY (1.2); DRAFT AND REVIEW CORRESPONDENCE
       REGARDING DOCUMENTS REQUESTS (1.0); REVIEW AND DISCUSS DIP AGREEMENT (2.0).


   10/11/22  Findlay, Loren                        5.70      5,586.00       008                    65875239
       DRAFT MOTION RE ALTERNATIVE DIP FINANCING AND CONDUCT RESEARCH FOR SAME.


   10/11/22    Heckel, Theodore S.                      3.60       4,068.00           008       65886913
       CALL WITH R. FOUST RE: DIP WORKSTREAMS (.2); CONDUCT RESEARCH RE: ADEQUATE PROTECTION
       ISSUE (1.7); CORRESPOND WITH WEIL BANKING TEAM RE: DIP DILIGENCE (.3); CORRESPOND WITH PSZJ
       TEAM RE: DIP DILIGENCE (.1); CORRESPOND WITH WEIL TEAM RE: DIP DILIGENCE (.2); FOLLOW-UP CALL
       WITH R. FOUST RE: DIP WORKSTREAMS (.1); REVISE DIP DILIGENCE LIST (.3); REVIEW DIP DOCUMENTS
       RE: DIP DILIGENCE (.6); REVIEW DIP DEMAND LETTER (.1).


   10/11/22   Silber, Joseph                       1.80      1,242.00    008        65873739
       REVIEW AND CATEGORIZE DATAROOM DOCUMENTS REGARDING DILIGENCE REQUESTS RELATED TO
       THE DIP, CASH MANAGEMENT MOTION AND OTHER FIRST DAY MOTIONS.


   10/11/22   Su, Yifan                            3.40      2,346.00    008        65875584
       REVIEW AND CATEGORIZE DATAROOM DOCUMENTS REGARDING DILIGENCE REQUESTS RELATED TO
       THE DIP, CASH MANAGEMENT MOTION AND OTHER FIRST DAY MOTIONS.


   10/11/22  Young, Felicity                   1.30       1,397.50        008                      65915922
       DRAFT AMENDMENTS TO CASH MANAGEMENT ORDER AND DISCUSS SAME WITH R FOUST.


   10/11/22     Okada, Tyler                                      0.70          192.50      008    65941509
                 Case 22-90168 Document 1090 Filed in TXSB on 12/07/22 Page 64 of 128




Cineworld (Regal Cinemas) Unsecured Creditors' Committee - Cineworld UCC
25808.0003
2022012213

                                           ITEMIZED SERVICES - 25808.0003 - Cineworld UCC


   Date         Timekeeper/Narrative                            Hours         Amount        Task   Index
        REVIEW AND CATEGORIZE DATAROOM DOCUMENTS REGARDING DILIGENCE REQUESTS RELATED TO
        THE DIP, CASH MANAGEMENT MOTION AND OTHER FIRST DAY MOTIONS.


   10/12/22  Perez, Alfredo R.                    0.30        508.50         008                   65884356
       REVIEW OUTLINE OF PROPOSED MOTION REGARDING THE ALTERNATE DIP FINANCING.


   10/12/22  Singh, Sunny                                1.90      3,030.50        008           65882208
       CALL WITH B. SANDLER RE DIP (.1); CALL WITH B. SANDLER AND A&P TEAM RE DIP ISSUES LIST (1.0);
       INTERNAL WEIL CALL RE CASH MANAGEMENT ORDER (.5); REVIEW ORDER RE SAME (.3).


   10/12/22   Morgan, Gabriel A.                     0.30       448.50                      008    65902139
       CALL (PARTIAL) WITH WEIL TEAM RE: CHANGES TO CASH COLLATERAL ORDER.


   10/12/22  Nemunaitis, Vynessa                                  2.10        2,887.50      008    65886823
       PREPARE SUMMARY OF DIP CREDIT AGREEMENT.


   10/12/22  Gao, Xin                                             2.00        1,960.00      008    65888462
       UK SECURITY REVIEW.


   10/12/22   Foust, Rachael L.                            3.20      3,728.00       008        66061007
       ATTEND INTERNAL TEAM CALL ON CASH MANAGEMENT ORDER (0.5); REVIEW AND COMMENT ON
       SAME (0.6); REVIEW AND REVISE DIP ISSUES LIST (0.7); CORRESPOND INTERNALLY REGARDING DIP OPEN
       ISSUES AND NEXT STEPS (0.6); REVIEW DIP ISSUES RESEARCH SUMMARIES AND ANALYSIS (0.8).


   10/12/22   Gutierrez, Daniela Cristina         5.00         6,000.00       008        65887200
       REVIEW DEPOSIT ACCOUNT SUMMARY AND DILIGENCE (3.0); REVIEW AND DISCUSS DIP AGREEMENT
       (2.0).


   10/12/22  Findlay, Loren                            4.00        3,920.00         008         65888454
       DRAFT AND REVISE MOTION RE ALTERNATIVE DIP (1.0); RESEARCH DIP ISSUES INCLUDING ADEQUATE
       PROTECTION, LIENS, AND POSTPETITION INTEREST (2.6); CALL WITH T. HECKEL RE: DIP BREAK-FEE
       RESEARCH (.4).
                 Case 22-90168 Document 1090 Filed in TXSB on 12/07/22 Page 65 of 128




Cineworld (Regal Cinemas) Unsecured Creditors' Committee - Cineworld UCC
25808.0003
2022012213

                                           ITEMIZED SERVICES - 25808.0003 - Cineworld UCC


   Date         Timekeeper/Narrative                            Hours         Amount        Task   Index

   10/12/22     Heckel, Theodore S.                       5.30        5,989.00        008        65887044
       CORRESPOND WITH WEIL TEAM RE: DIP FINANCING (.3); CONDUCT RESEARCH RE: DIP BREAK-UP FEES
       (2.7); CALL WITH L. FINDLAY RE: DIP BREAK-UP FEE RESEARCH (.4); REVIEW DIP BREAK UP FEE MOTION
       (.3); REVIEW DISCOVERY REQUESTS RE: DIP (.3); REVIEW MOTION FOR RECONSIDERATION OF INTERIM
       DIP ORDER (.4); REVIEW COMMENTS TO CASH MANAGEMENT ORDER (.3); REVIEW CASH MANAGEMENT
       ISSUES LIST (.2); CALL WITH WEIL TEAM RE: CASH MANAGEMENT ISSUES (.4).


   10/12/22   Silber, Joseph                      1.40       966.00         008        65880761
       REVIEW CASH MANAGEMENT PROPOSED FINAL ORDER IN ADVANCE OF MEETING (0.9); ATTEND
       MEETING REGARDING REVISIONS TO CASH MANAGEMENT PROPOSED FINAL ORDER AND TAKE NOTES
       RE: SAME (0.5).


   10/12/22  Silber, Joseph                         3.80        2,622.00        008      65880762
       CONDUCT RESEARCH AND DRAFT MEMO ON WHETHER PREPETITION LENDERS HAVE VALID LIENS ON
       THE PROCEEDS FROM POSTPETITION TICKET AND FOOD SALES (2.5); REVIEW AND CATEGORIZE
       DATAROOM DOCUMENTS REGARDING DILIGENCE REQUESTS RELATED TO THE DIP, CASH
       MANAGEMENT MOTION AND OTHER FIRST DAY MOTIONS (1.3).


   10/12/22   Su, Yifan                            4.80      3,312.00    008        65880742
       REVIEW AND CATEGORIZE DATAROOM DOCUMENTS REGARDING DILIGENCE REQUESTS RELATED TO
       THE DIP, CASH MANAGEMENT MOTION AND OTHER FIRST DAY MOTIONS.


   10/13/22   Perez, Alfredo R.                       3.10       5,254.50      008          65893716
       REVIEW LANGUAGE AND MEMORANDUM REGARDING OID AND MAKEWHOLE ISSUES (.4); PARTICIPATE
       ON CALL WITH PACHULSKI AND WEIL REGARDING OID AND MAKEWHOLE ISSUES (.6); REVIEW REVISED
       MEMORANDUM AND CREDIT AGREEMENT (.4); VARIOUS COMMUNICATIONS WITH WEIL TEAM
       REGARDING MAKEWHOLE ISSUES (.3); CONFERENCE CALL WITH PACHULSKI, PERELLA WEINBERG, FTI,
       AND WEIL TEAM REGARDING DIP WORKSTREAMS AND CASH MANAGEMENT ISSUES (.7); FOLLOW-UP
       CALL WITH R. FOUST REGARDING CASH MANAGEMENT (.1); CONFERENCE CALL WITH WHITE & CASE
       REGARDING THE ALTERNATE DIP PROPOSAL (.2); REVIEW DIP REPORTING REQUIREMENTS (.2). REVIEW
       ISSUES WITH THE CASH MANAGEMENT ORDER AND MARK-UP (.2).


   10/13/22     Singh, Sunny                                      2.10        3,349.50      008    66118836
                 Case 22-90168 Document 1090 Filed in TXSB on 12/07/22 Page 66 of 128




Cineworld (Regal Cinemas) Unsecured Creditors' Committee - Cineworld UCC
25808.0003
2022012213

                                           ITEMIZED SERVICES - 25808.0003 - Cineworld UCC


   Date         Timekeeper/Narrative                            Hours         Amount        Task   Index
        CALL WITH J. FRIEDMANN RE DIP OBJECTION (.3); REVIEW DIP CREDIT AGREEMENT (.3); EMAILS WITH
        WEIL TEAM RE DIP (.3); CALL WITH W&C (.3); CALL WITH PACHULSKI AND WEIL RE MAKEWHOLE (.5);
        CALL WITH R. FOUST RE CASH MANAGEMENT ORDER (.1); REVIEW SAME (.3).


   10/13/22     Friedmann, Jared R.                    1.50         2,092.50       008        65898946
       CALL WITH S.SINGH RE: LITIGATION PLAN IN CONNECTION WITH OBJECTION TO DIP AND NEXT STEPS
       (0.3); EMAILS WITH L.BERSTEIN AND J.WOLLMUTH RE: SAME (0.2); REVIEW DECK PREPARED BY UCC,
       PROPOSED MOTION FOR RECONSIDERATION OF INTERIM DIP ORDER, AND PROPOSED DRAFT DISCOVERY
       ON DEBTORS AND AGH (1.0).


   10/13/22  Nemunaitis, Vynessa                   0.40       550.00                        008    65899804
       CONFERENCE WITH WEIL TEAM REGARDING DIP CREDIT AGREEMENT.


   10/13/22  Bernstein, Lauren                     0.90      1,125.00                       008    65893539
       REVIEW DIP MOTION AND DRAFT MOTION FOR RECONSIDERATION AND DECK.


   10/13/22  Gao, Xin                              0.70                         686.00      008    65888510
       UK SECURITY REVIEW AND EMAILS TO JERSEY COUNSEL.


   10/13/22  Foust, Rachael L.                      5.30        6,174.50        008         66065310
       UCC ADVISOR CALL ON OID AND MAKEWHOLE ISSUES (0.9); REVIEW DIP RESEARCH AND ANALYSIS
       AND CONDUCT FOLLOW-UP RESEARCH (1.7), COORDINATE FOLLOW-UP RE SAME (0.2); REVIEW CREDIT
       DOCUMENT MAKE-WHOLE LANGAUGE (0.8); REVIEW AND REVISE DIP ISSUES LIST (1.1); ATTEND UCC
       ADVISORS COORDINATION CALL ON DIP WORKSTREAMS (0.6).


   10/13/22  Gutierrez, Daniela Cristina            4.00      4,800.00      008        65925738
       UPDATE COLLATERAL SUMMARY (1.0); REVIEW ADDITIONAL SECURITY DOCUMENTS UPLOADED (3.0).


   10/13/22  Findlay, Loren                                       0.30          294.00      008    65901216
       CORRESPONDENCE RE DIP ISSUES LIST.


   10/13/22     Findlay, Loren                                    0.70          686.00      008    66119174
                 Case 22-90168 Document 1090 Filed in TXSB on 12/07/22 Page 67 of 128




Cineworld (Regal Cinemas) Unsecured Creditors' Committee - Cineworld UCC
25808.0003
2022012213

                                           ITEMIZED SERVICES - 25808.0003 - Cineworld UCC


   Date         Timekeeper/Narrative                            Hours         Amount        Task   Index
        ATTEND UCC ADVISOR CALL RE DIP STRATEGY.


   10/13/22   Heckel, Theodore S.                       4.90       5,537.00       008           65928577
       CORRESPOND WITH WEIL TEAM RE: DIP ISSUES (.3); REVIEW DIP DISCOVERY REQUESTS (.3); UPDATE DIP
       WORKSTREAMS TRACKER (.4); CORRESPOND WITH WEIL TEAM RE: DIP DISCOVERY (.2); COMPILE
       DISCOVERY REQUESTS RE: DIP (.4); CONDUCT RESEARCH RE: DIP BREAK-UP FEE MOTION (2.1); REVIEW
       DRAFT OF DIP BREAK-UP FEE MOTION (.4). CALL WITH R. FOUST RE: DIP WORKSTREAMS (.1); CALL WITH
       WEIL, PWP, PSZJ, AND FTI TEAMS RE: DIP WORKSTREAMS (.7).


   10/13/22  Silber, Joseph                                       2.80        1,932.00      008    65888898
       RESEARCH MEMO REGARDING DIP OBJECTION.


   10/13/22   Su, Yifan                            4.60      3,174.00    008        65889220
       REVIEW AND CATEGORIZE DATAROOM DOCUMENTS REGARDING DILIGENCE REQUESTS RELATED TO
       THE DIP, CASH MANAGEMENT MOTION AND OTHER FIRST DAY MOTIONS.


   10/14/22    Perez, Alfredo R.                      6.10        10,339.50      008        65914002
       REVIEW DEMAND LETTER, DIP DISCOVERY AND MOTION TO RECONSIDER (1.3); TELEPHONE CONFERENCE
       WITH M. LITVAK REGARDING MOTION TO RECONSIDER (.1); CONFERENCE CALL WITH J. FRIEDMAN, L.
       BERNSTEIN AND J. WOLLMUTH REGARDING DIP DISCOVERY (.3); TELEPHONE CONFERENCE WITH S. CHO
       REGARDING DIP DISCOVERY (.3); REVIEW REVISED DISCOVERY (.2); REVIEW NEW ULTRA DECISION, PAST
       ULTRA DECISIONS, RESEARCH ON CHARGES, AND LANGUAGE IN THE DOCUMENTS (2.4); CONFERENCE
       CALL WITH I. PACHULSKI REGARDING ULTRA (.4); VARIOUS COMMUNICATIONS WITH I. PACHULSKI, J.
       KIM, S. CHO, AND M. LITVAK REGARDING IMPACT OF ULTRA (.5); VARIOUS COMMUNICATIONS WITH R.
       FOUST AND S. SINGH REGARDING CASH MANAGEMENT MOTION (.2); VARIOUS COMMUNICATIONS
       WITH PACHULSKI AND WEIL TEAMS REGARDING THE ALTERNATE DIP DEMAND LETTER (.2);
       COMMUNICATIONS WITH J. SUSSBERG AND R. FEINSTEIN REGARDING THE ALTERNATIVE DIP (.2).


   10/14/22   Singh, Sunny                            1.60       2,552.00         008        65910957
       CALL WITH W&C RE ALTERNATIVE DIP (.8); REVIEW LETTER TO DEBTOR (.2); CALL WITH KIRKLAND RE
       SAME (.6).


   10/14/22     Friedmann, Jared R.                               1.60        2,232.00      008    65905381
                 Case 22-90168 Document 1090 Filed in TXSB on 12/07/22 Page 68 of 128




Cineworld (Regal Cinemas) Unsecured Creditors' Committee - Cineworld UCC
25808.0003
2022012213

                                           ITEMIZED SERVICES - 25808.0003 - Cineworld UCC


   Date         Timekeeper/Narrative                            Hours         Amount        Task   Index
        FURTHER REVIEW PROPOSED DISCOVERY AND DRAFT MOTION FOR RECONSIDERATION OF INTERIM DIP
        ORDER (0.8); CALL WITH J.WOLLMOTH AND L.BERNSTEIN RE: SAME AND NEXT STEPS (0.5); CALL WITH
        A.PEREZ, L.BERNSTEIN AND J.WOLLMOTH RE: SAME (0.3).


   10/14/22  Foust, Rachael L.                     1.00       1,165.00                      008    66065295
       ATTEND UCC ADVISORS CALL ON UPDATED DIP TERM SHEET AND NEXT STEPS.


   10/14/22  Gutierrez, Daniela Cristina         1.50                         1,800.00      008    65925662
       REVIEW ADDITIONAL SECURITY DOCUMENTS UPLOADED.


   10/14/22  Findlay, Loren                         2.80       2,744.00          008        65910275
       ATTEND PARTIAL CALL RE DIP TERM SHEET WITH ALTERNATIVE DIP LENDERS (.5); DRAFT AND REVISE
       MOTION FOR PAYMENT OF FEES OF ALTERNATIVE DIP LENDERS (2.3).


   10/14/22    Heckel, Theodore S.                       8.40      9,492.00         008          65928569
       REVIEW DISCOVERY MATERIALS RE: DIP (.3); CALL WITH WEIL, PSZJ, PWP, AND FTI TEAMS RE: DIP
       FINANCING (.9); CORRESPOND WITH WEIL TEAM RE: DIP BREAK-UP FEES (.3); CALL WITH WEIL AND PSZJ
       TEAMS AND COUNSEL TO ALTERNATIVE DIP LENDER RE: DIP FINANCING TERM SHEET (.7); CALL WITH L.
       FINDLAY RE: DIP BREAK-FEES AND DIP WORKSTREAMS (.5); CORRESPOND WITH WEIL LIT TEAM RE:
       DILIGENCE (.2); REVIEW DIP DILIGENCE LIST RE: OUTSTANDING DOCUMENTS (.3); CALL WITH R. FOUST
       RE: DIP BREAK-UP FEE MOTION (.2); CONDUCT RESEARCH RE: DIP BREAK-UP FEE MOTION (4.4); REVIEW
       DIP DOCUMENTS RE: BACKSTOP FEE (.4); CORRESPOND WITH PWP TEAM RE: DIP BACKSTOP FEE (.2).


   10/14/22   Su, Yifan                            3.00      2,070.00    008        65925682
       REVIEW AND CATEGORIZE DATAROOM DOCUMENTS REGARDING DILIGENCE REQUESTS RELATED TO
       THE DIP, CASH MANAGEMENT MOTION AND OTHER FIRST DAY MOTIONS.


   10/14/22  Okada, Tyler                        0.20        55.00                          008    65941451
       REVIEW DATAROOM MATERIALS AND ALLOCATE FOR ATTORNEY REVIEW.


   10/15/22     Perez, Alfredo R.                                 1.10        1,864.50      008    65913868
                 Case 22-90168 Document 1090 Filed in TXSB on 12/07/22 Page 69 of 128




Cineworld (Regal Cinemas) Unsecured Creditors' Committee - Cineworld UCC
25808.0003
2022012213

                                           ITEMIZED SERVICES - 25808.0003 - Cineworld UCC


   Date         Timekeeper/Narrative                            Hours         Amount        Task   Index
        VARIOUS COMMUNICATIONS WITH M. LITVAK, S. STAR AND D. SANTOS REGARDING WITHDRAWALS
        FROM FUNDING ACCOUNT AND TESTING LIQUIDITY (.3); VARIOUS COMMUNICATIONS WITH M. LITVAK
        AND I. PACHULSKI REGARDING IMPACT OF ULTRA (.3); COMMUNICATIONS WITH KIRKLAND AND WEIL
        REGARDING THE ALTERNATE DIP (.2); REVIEW CHART FROM D. SANTOS REGARDING COSTS AND
        CHARGES (.3).


   10/15/22  Singh, Sunny                                         0.80        1,276.00      008    65910913
       REVIEW ULTRA DECISION RE MAKEWHOLE.


   10/15/22  Friedmann, Jared R.                   0.10       139.50                        008    65905356
       EMAILS WITH TEAM RE: REVISED DRAFT DOCUMENT REQUESTS AND NEXT STEPS.


   10/15/22  Bernstein, Lauren                     1.80     2,250.00     008                       65905372
       REVIEW EDITS TO DOCUMENT REQUESTS AND RELEVANT BACKGROUND MATERIALS, PROVIDE
       MARK-UP, AND EMAILS WITH J. WOLLMUTH REGARDING SAME.


   10/15/22  Wollmuth, John                          0.30         207.00       008      65948277
       CALL WITH T.HECKEL DISCUSSING REVISED STRATEGY PLANS AND UPCOMING CALL AND CIRCULATING
       UCC REPRESENTATION RESEARCH (0.2); PREPARE FOR AND PARTICIPATE ON ADVISOR CALL
       CONCERNING NEW DISCOVERY STRATEGY (0.1).


   10/15/22     Heckel, Theodore S.                      1.10       1,243.00        008        65928635
       REVISE DIP DISCOVERY REQUESTS (.2); REVIEW MATERIALS RE: DIP FUNDING ISSUE (.3); CORRESPOND
       WITH WEIL LIT TEAM RE: DIP DILIGENCE (.3); CALL WITH J. WOLLMUTH RE: DIP DISCOVERY REQUESTS
       (.1); CORRESPOND WITH DEBTORS RE: DIP DATAROOM DILIGENCE (.2).


   10/15/22  Silber, Joseph                         7.50   5,175.00        008        65902530
       CONDUCT RESEARCH REGARDING WHETHER PREPETITION LENDERS HAVE VALID LIENS ON THE
       "PROCEEDS" FROM POSTPETITION TICKET AND FOOD SALES.


   10/16/22     Perez, Alfredo R.                                 1.90        3,220.50      008    65915777
                 Case 22-90168 Document 1090 Filed in TXSB on 12/07/22 Page 70 of 128




Cineworld (Regal Cinemas) Unsecured Creditors' Committee - Cineworld UCC
25808.0003
2022012213

                                           ITEMIZED SERVICES - 25808.0003 - Cineworld UCC


   Date         Timekeeper/Narrative                            Hours         Amount        Task   Index
        REVIEW MAKE WHOLE PROVISIONS OF THE COMPILED CREDIT AGREEMENT (.7); REVIEW SLIDE DECK
        FROM PERELLA WEINBERG REGARDING DIP AND ALTERNATE DIP (.3); VARIOUS COMMUNICATIONS
        WITH I. PACHULSKI, M. LITVAK, R. FEINSTEIN, D. SANTOS, AND J. LI REGARDING ISSUES RELATED TO
        THE DIP (.4); TELEPHONE CONFERENCE WITH S. CHO REGARDING DIP DISCOVERY (.1); REVIEW REVISED
        DISCOVERY FROM J. WOLLMUTH (.2); REVIEW DIP FEE SLIDES (.2).


   10/16/22  Heckel, Theodore S.                         2.30       2,599.00        008          65928636
       CALL WITH J. WOLLMUTH RE: DIP DILIGENCE (.3); CALL WITH R. FOUST RE: DIP WORKSTREAMS (.2);
       CALL WITH WEIL, PSZJ, PWP, AND FTI TEAMS RE: DIP ISSUES AND STATUS OF NEGOTIATIONS (1.0);
       CONDUCT RESEARCH RE: DIP BREAK-UP FEE MOTION (.4); FOLLOW-UP CALL WITH R. FOUST RE: DIP
       WORKSTREAMS (.1); REVIEW DIP SCENARIO COMPARISON MATERIALS (.2); CORRESPOND WITH WEIL
       TEAM RE: DIP DILIGENCE (.1).


   10/16/22   Silber, Joseph                        2.70      1,863.00        008                  65904945
       FINALIZE MEMO FOR DIP OBJECTION RELATED TO WHETHER PREPETITION LIENS EXTEND TO
       POSTPETITION TICKET AND FOOD SALES.


   10/16/22   Su, Yifan                            1.10       759.00     008        65905616
       REVIEW AND CATEGORIZE DATAROOM DOCUMENTS REGARDING DILIGENCE REQUESTS RELATED TO
       THE DIP, CASH MANAGEMENT MOTION AND OTHER FIRST DAY MOTIONS.


   10/17/22      Perez, Alfredo R.                     4.70      7,966.50        008        65935679
       CONFERENCE CALL WITH PACHULSKI AND WEIL TEAM REGARDING THE LITIGATION STRATEGY ON THE
       DIP (.9); TELEPHONE CONFERENCE WITH S. SINGH REGARDING POTENTIAL SETTLEMENT DISCUSSIONS
       (.1); WORK ON ANALYSIS ON MAKE WHOLE ARGUMENTS INCLUDING REVIEW OF PRIOR ULTRA
       OPINIONS AND THE RECENT FIFTH CIRCUIT CASE AND REFINE THE ARGUMENTS (2.4);
       COMMUNICATIONS WITH M. BARR, S. SINGH, G. MORGAN, AND R. FOUST OF THE ANALYSIS OF THE
       MAKE WHOLE AND OTHER DIP PROVISIONS (.4); VARIOUS COMMUNICATIONS WITH C. FOSTER,
       PACHULSKI AND WEIL TEAM REGARDING HEARINGS AND OBJECTION DEADLINES ON CASH
       MANAGEMENT AND THE FINAL DIP (.3); REVIEW REVISED DISCOVERY (.2); VARIOUS COMMUNICATIONS
       WITH C. MACKLE AND WEIL TEAM REGARDING THE DISCOVERY (.3); REVIEW DIP BUDGET (.1).


   10/17/22     Singh, Sunny                                      2.50        3,987.50      008    65933542
                 Case 22-90168 Document 1090 Filed in TXSB on 12/07/22 Page 71 of 128




Cineworld (Regal Cinemas) Unsecured Creditors' Committee - Cineworld UCC
25808.0003
2022012213

                                           ITEMIZED SERVICES - 25808.0003 - Cineworld UCC


   Date         Timekeeper/Narrative                            Hours         Amount        Task   Index
        CALL WITH B. SANDLER AND A&P RE DIP (.8); CALL WITH A. PEREZ RE SAME (.2); CALL WITH V.
        NEMUNAITIS RE SAME (.2); CALL WITH DPW RE SAME (.3); STRATEGY CALL WITH WEIL AND
        PACHULSKI (1.0).


   10/17/22  Friedmann, Jared R.                     0.70        976.50        008        65936733
       REVIEW PROPOSED DISCOVERY PLAN (0.1); REVIEW REVISED DRAFT DISCOVERY REQUESTS AND EMAILS
       WITH TEAM RE: COMMENTS TO SAME (0.3); REVIEW REVISED DRAFT DISCOVERY DEMANDS AND
       EMAILS WITH TEAM RE: EDITS/COMMENTS TO SAME AND NEXT STEPS (0.3).


   10/17/22  Friedmann, Jared R.                                  0.90        1,255.50      008    66117733
       CALL WITH PACHULSKI RE: DIP STRATEGY.


   10/17/22  Morgan, Gabriel A.                     1.00       1,495.00                     008    65990856
       CALL WITH WEIL AND PACHUSLKI TEAMS RE: LITIGATION STRATEGY DIP.


   10/17/22  Nemunaitis, Vynessa                    0.20                        275.00      008    65935681
       CONFERENCE WITH S. SINGH REGARDING FINANCING.


   10/17/22  Barr, Matthew S.                             1.50       2,925.00      008         65968342
       REVIEW DIP ISSUES (.8); REVIEW LITIGATION ISSUES (.5); AND CORRESPONDENCES WITH TEAM RE SAME
       (.2).


   10/17/22  Bernstein, Lauren                      1.20       1,500.00         008        65975406
       CALL WITH PACHULSKI AND WEIL TEAM TO DISCUSS NEXT STEPS (0.4); REVIEW DRAFT DISCOVERY
       AND PROVIDED COMMENTS ON SAME (0.4); REVIEW EMAILS REGARDING DISCOVERY REQUESTS AND
       COMMUNICATE WITH J. WOLLMUTH REGARDING SAME (0.4).


   10/17/22  Foust, Rachael L.                     0.20                         233.00      008    66060714
       CORRESPOND INTERNALLY RE STATUS OF DIP NEGOTIATIONS.


   10/17/22     Foust, Rachael L.                                 0.50          582.50      008    66262539
                 Case 22-90168 Document 1090 Filed in TXSB on 12/07/22 Page 72 of 128




Cineworld (Regal Cinemas) Unsecured Creditors' Committee - Cineworld UCC
25808.0003
2022012213

                                           ITEMIZED SERVICES - 25808.0003 - Cineworld UCC


   Date         Timekeeper/Narrative                            Hours         Amount        Task   Index
        CALL WITH WEIL AND PACHULSKI TEAMS REGARDING DIP LITIGATION AND DISCOVERY STRATEGY
        (PARTIAL).


   10/17/22  Gutierrez, Daniela Cristina         1.00       1,200.00                        008    65935079
       DRAFT AND REVIEW CORRESPONDENCE REGARDING DILIGENCE ITEMS.


   10/17/22  Wollmuth, John                         4.20         2,898.00       008         65948270
       REVIEW INTERIM DIP ORDER AND OTHER LITIGATION DOCUMENTS (1.3); REVISE UPDATED RFP TO
       DEBTORS AND CORRESPONDENCE WITH J.FRIEDMANN AND CO-COUNSEL RE SAME (2.6); ANALYZE
       DISCOVERY STRATEGY (0.1); CORRESPONDENCE RE MATTER (0.2).


   10/17/22   Heckel, Theodore S.                       7.20      8,136.00         008        66041252
       REVIEW AND REVISE DIP BREAK UP FEE MOTION (1.8); CONDUCT RESEARCH RE: DIP BREAK UP FEE
       MOTION (3.3); CALL WITH WEIL AND PSZJ TEAMS RE: DIP DISCOVERY AND WORKSTREAMS (.9); CALL
       WITH S. CHO (PSZJ) RE: DIP WORKSTREAMS (.2); CORRESPOND WITH WEIL TEAM RE: DIP DISCOVERY (.1);
       CORRESPOND WITH WEIL TEAM RE: DIP BREAK UP FEES (.2); DRAFT REVISIONS TO DIP WORKSTREAMS
       TRACKER (.7).


   10/17/22  Young, Felicity                     0.60                           645.00      008    66050914
       DRAFT UPDATES TO THE CASH MANAGEMENT ORDER.


   10/18/22   Perez, Alfredo R.                        1.10     1,864.50        008       65947637
       EMAIL S. SINGH REGARDING DIP STRATEGY (.2); VARIOUS COMMUNICATIONS WITH PACHULSKI AND
       WEIL TEAMS REGARDING SETTING AND DEADLINES FOR DIP AND CASH MANAGEMENT HEARINGS (.4);
       VARIOUS COMMUNICATIONS WITH FTI REGARDING THE BUDGET (.3); VARIOUS COMMUNICATIONS
       WITH LITIGATION TEAMS REGARDING STRATEGY, PROTECTIVE ORDER AND NEXT STEPS (.2).


   10/18/22    Singh, Sunny                            1.60        2,552.00       008        65945919
       CALL WITH A&P TEAM (.5); CALL WITH CREDITOR RE SAME (.4); CALL WITH WEIL BANKING TEAM RE
       DIP ISSUES (.5); CALL WITH PERELLA RE DIP (.2).


   10/18/22  Nemunaitis, Vynessa                 0.60       825.00                          008    65945771
       CONFERENCE WITH BANKING TEAM REGARDING COLLATERAL REVIEW.
                 Case 22-90168 Document 1090 Filed in TXSB on 12/07/22 Page 73 of 128




Cineworld (Regal Cinemas) Unsecured Creditors' Committee - Cineworld UCC
25808.0003
2022012213

                                           ITEMIZED SERVICES - 25808.0003 - Cineworld UCC


   Date         Timekeeper/Narrative                            Hours         Amount        Task   Index

   10/18/22  Bernstein, Lauren                                    0.40          500.00      008    66274775
       REVIEW DIP MOTION.


   10/18/22  Gao, Xin                                             5.20        5,096.00      008    65981175
       QUERIES ON UK DEBENTURE / DUTCH SECURITY.


   10/18/22  Foust, Rachael L.                     0.50        582.50         008        66060795
       CALL WITH WEIL AND PACHULSKI LITIGATION TEAMS REGARDING DIP DISCOVERY, DEPOSITIONS AND
       STRATEGY.


   10/18/22  Foust, Rachael L.                      0.50        582.50        008         66060813
       REVIEW DIP ISSUES LIST AND CORRESPOND INTERNALLY REGARDING OPEN ISSUES AND STATUS.


   10/18/22  Foust, Rachael L.                   0.80         932.00         008       66262540
       CALL WITH FTI TEAM REGARDING CASH MANAGEMENT MOTION (0.6); CORRESPOND INTERNALLY AND
       WITH DEBTORS' COUNSEL RE SAME (0.2).


   10/18/22   Gutierrez, Daniela Cristina             1.70      2,040.00      008       65946573
       ATTEND CALL TO DISCUSS REVIEW UPDATES (.8); DRAFT AND REVIEW CORRESPONDENCE REGARDING
       DILIGENCE ITEMS (.9).


   10/18/22  Heckel, Theodore S.                          0.50        565.00          008      66051707
       CALL WITH R. FOUST, F. YOUNG, D. O'BRIEN (FTI), AND A. SALTZMAN (FTI) RE: CASH MANAGEMENT.


   10/18/22   Heckel, Theodore S.                      4.90        5,537.00         008         66052266
       CALL WITH WEIL TEAM RE: DIP DILIGENCE AND ROW DIP ISSUES (.5); DRAFT REVISIONS TO DIP BREAK
       UP FEE MOTION (1.3); CONDUCT RESEARCH RE: DIP BREAK UP FEE MOTION (2.4); REVIEW FIFTH CIRCUIT
       ULTRA DECISION (.3); CORRESPOND WITH PSZJ TEAM RE: DIP DILIGENCE (.2); CORRESPOND WITH WEIL
       BANKING TEAM RE: DIP DILIGENCE (.1); CORRESPOND WITH WEIL LIT TEAM RE: DIP DILIGENCE (.1).


   10/18/22     Young, Felicity                                   0.50          537.50      008    66050781
                 Case 22-90168 Document 1090 Filed in TXSB on 12/07/22 Page 74 of 128




Cineworld (Regal Cinemas) Unsecured Creditors' Committee - Cineworld UCC
25808.0003
2022012213

                                           ITEMIZED SERVICES - 25808.0003 - Cineworld UCC


   Date         Timekeeper/Narrative                            Hours         Amount        Task   Index
        CALL WITH FTI AND WEIL RE: CASH MANAGEMENT ORDER.


   10/19/22  Perez, Alfredo R.                           0.40        678.00       008              65957649
       REVIEW RESPONSE TO THE DIP ISSUES LIST (.2); REVIEW LETTER FROM C. MARCUS REGARDING
       ALTERNATIVE DIP (.2).


   10/19/22  Singh, Sunny                             1.10        1,754.50         008          65965981
       REVIEW AP RESPONSE TO DIP ISSUES LIST AND EMAILS RE SAME (.5); DIP RELATED RESEARCH (.6).


   10/19/22   Friedmann, Jared R.                    0.70        976.50       008          65953442
       PARTICIPATE IN MEET AND CONFER WITH DEBTORS’ COUNSEL RE: DISCOVERY AND DEPOSITIONS (0.3);
       REVIEW LETTER FROM DEBTORS RE: CONSIDERATION OF ALTERNATIVE DIP PROPOSAL (0.2); REVIEW
       MATERIALS RE: DIP FOR MEETING WITH UCC (0.2).


   10/19/22  Bernstein, Lauren                                    0.20          250.00      008    66274776
       REVIEW ALTERNATIVE DIP RESPONSE LETTER.


   10/19/22  Foust, Rachael L.                    0.30        349.50        008                    66060825
       CORRESPOND INTERNALLY REGARDING FEE ESTIMATES REQUIRED UNDER THE DIP ORDER.


   10/19/22  Gutierrez, Daniela Cristina          1.00                        1,200.00      008    65965500
       REVIEW PRESENTATION AND DISCUSSION MATERIALS RE: DIP.


   10/19/22     Findlay, Loren                        2.20       2,156.00   008        65968727
       REVIEW DEBTORS' ALTERNATIVE DIP PROPOSAL RESPONSE LETTER AND CORRESPONDENCE RE SAME
       (.2); REVIEW INTERIM DIP ORDER RE ADEQUATE PROTECTION LIENS (2.0).


   10/19/22     Heckel, Theodore S.                               3.70        4,181.00      008    66053491
                 Case 22-90168 Document 1090 Filed in TXSB on 12/07/22 Page 75 of 128




Cineworld (Regal Cinemas) Unsecured Creditors' Committee - Cineworld UCC
25808.0003
2022012213

                                           ITEMIZED SERVICES - 25808.0003 - Cineworld UCC


   Date         Timekeeper/Narrative                            Hours         Amount        Task   Index
        REVIEW MAKE WHOLE RESEARCH MATERIALS (.5); CORRESPOND WITH WEIL TEAM RE: MAKE WHOLE
        MATERIALS (.2); CORRESPOND WITH WEIL LIT TEAM RE: DIP DISCOVERY (.1); CONDUCT RESEARCH RE:
        MAKE WHOLE (1.4); REVIEW SLIDES RE: MAKE WHOLE OVERVIEW (.3); REVIEW LENDER RESPONSE TO DIP
        ISSUES LIST (.8); CORRESPOND WITH WEIL TEAM RE: LENDER RESPONSE TO DIP ISSUES LIST (.2);
        COORDINATE CALL RE: LENDER RESPONSE TO DIP ISSUES LIST (.2).


   10/20/22  Perez, Alfredo R.                     0.90      1,525.50          008     65975291
       CONFERENCE CALL WITH PACHULSKI AND WEIL TEAM REGARDING RESPONSE FROM DIP LENDERS TO
       THE PROPOSAL FROM THE OCUC AND PREPARATION FOR THE OCUC CALL (.5); VARIOUS
       COMMUNICATIONS WITH WEIL AND PACHULSKI TEAMS REGARDING SETTING OF THE DIP HEARING (.2);
       REVIEW COMMENTS TO THE DIP TERM SHEET PROPOSAL (.2).


   10/20/22      Singh, Sunny                             1.80      2,871.00         008         65974681
       REVIEW A&P DIP ISSUES LIST RESPONSE (.4); CALL WITH A&P RE SAME (.2); CALL WITH KIRKLAND RE
       DIP (.4); INTERNAL MEETING RE SAME (.6); REVIEW B. SANDLER COMMENTS TO DIP ISSUES LIST (.2).


   10/20/22   Friedmann, Jared R.                  0.20       279.00        008        65974538
       REVIEW SUMMARY OF DEBTORS' INITIAL DOCUMENT PRODUCTION AND EMAILS WITH TEAM RE: NEXT
       STEPS.


   10/20/22  Nemunaitis, Vynessa                 0.30        412.50                         008    65972437
       CORRESPONDENCE REGARDING COLLATERAL QUESTIONS WITH D. GUTIERREZ.


   10/20/22  Foust, Rachael L.                         1.00       1,165.00      008         66060752
       REVIEW DIP ISSUES LIST (0.8); CORRESPOND WITH WEIL BANKING TEAM REGARDING DIP OBLIGORS (0.2).


   10/20/22   Foust, Rachael L.                        1.20      1,398.00        008         66060777
       CALL WITH UCC ADVISORS REGARDING RESPONSE TO DIP ISSUES LIST (0.5); CORRESPOND INTERNALLY
       RE FEE ESTIMATES (0.3); FOLLOW-UP CALL WITH UCC ADVISORS REGARDING DIP ISSUES LIST RESPONSE
       (0.4).


   10/20/22  Gutierrez, Daniela Cristina             2.50      3,000.00         008                65974761
       REVIEW AND DISCUSS DIP GUARANTORS (1.6); UPDATE COLLATERAL SUMMARY (.9).
                 Case 22-90168 Document 1090 Filed in TXSB on 12/07/22 Page 76 of 128




Cineworld (Regal Cinemas) Unsecured Creditors' Committee - Cineworld UCC
25808.0003
2022012213

                                           ITEMIZED SERVICES - 25808.0003 - Cineworld UCC


   Date         Timekeeper/Narrative                            Hours         Amount        Task   Index

   10/20/22  Findlay, Loren                                5.00    4,900.00       008          65972795
       REVIEW AND ANALYZE DIP CREDIT AGREEMENT AND INTERIM DIP ORDER (1.5); ATTEND CALL WITH
       UCC ADVISORS RE DIP ISSUES LIST RESPONSE FROM A&P (.5); INTERNAL MEETING RE DIP ISSUES LIST
       RESPONSE (.5); DRAFT DIP ISSUES LIST RESPONSE (2.5).


   10/20/22     Heckel, Theodore S.                        11.80     13,334.00         008         66054442
       CORRESPOND WITH WEIL BANKING TEAM RE: DIP DILIGENCE (.2); REVIEW SUMMARY OF DIP ADEQUATE
       PROTECTION LIENS (.1); CALL WITH WEIL, PSZJ, PWP, AND FTI TEAMS RE: RESPONSE TO DIP ISSUES LIST
       (.5); CALL WITH R. FOUST RE: DIP ISSUES (.2); CORRESPOND WITH WEIL LIT TEAM RE: DIP DISCOVERY (.3);
       REVIEW AND REVISE ISSUES TAGS FOR DIP DISCOVERY (.3); EMAIL R. FOUST RE: DIP ISSUES (.1); REVIEW
       LENDERS' DIP ISSUES LIST RESPONSE (.2); DRAFT RESPONSE TO LENDERS' DIP ISSUES LIST RESPONSE (2.0);
       CALL WITH WEIL RE: DIP ISSUES LIST RESPONSE (.5); REVIEW DEBTORS' ORGANIZATIONAL CHART IN
       CONNECTION WITH DIP ANALYSIS (2.1); DRAFT SIMPLIFIED ORGANIZATIONAL CHART WITH DEBT
       OVERLAY IN CONNECTION WITH DIP ANALYSIS (5.3).


   10/20/22  Young, Felicity                                      0.50          537.50      008    66050784
       ATTEND PROFESSIONALS CALL REGARDING DIP.


   10/21/22  Perez, Alfredo R.                        1.00       1,695.00        008          65988902
       VARIOUS COMMUNICATIONS WITH FTI, B. SANDLER AND S. SINGH REGARDING PROPOSAL TO THE DIP
       LENDERS (.4); VARIOUS COMMUNICATIONS WITH C. MACKLE, B. ARNAULT AND A. KORNFELD
       REGARDING DIP DISCOVERY (.1); REVIEW REVISED AND FURTHER REVISED DIP ISSUES LIST (.4);
       COMMUNICATIONS WITH B. PFIEFER REGARDING ALTERNATIVE DIP (.1).


   10/21/22  Perez, Alfredo R.                      0.40       678.00          008     66274538
       VARIOUS COMMUNICATIONS WITH T. HECKEL AND S. CHO REGARDING CRITICAL VENDOR HEARING (.2);
       TELEPHONE CONFERENCE WITH S. CHO REGARDING CRITICAL VENDOR ISSUES (.2).


   10/21/22    Singh, Sunny                           2.00      3,190.00          008        65978657
       CALL WITH W&C RE DIP (.3); CALL WITH B MENDOLSOHN RE SAME (.2); CALL WITH A&P TEAM RE DIP
       ISSUES (.5); REVIEW ISSUES LIST RE SAME (1.0).


   10/21/22     Nemunaitis, Vynessa                               0.20          275.00      008    65987166
                 Case 22-90168 Document 1090 Filed in TXSB on 12/07/22 Page 77 of 128




Cineworld (Regal Cinemas) Unsecured Creditors' Committee - Cineworld UCC
25808.0003
2022012213

                                           ITEMIZED SERVICES - 25808.0003 - Cineworld UCC


   Date         Timekeeper/Narrative                            Hours         Amount        Task   Index
        CORRESPONDENCE WITH S. SINGH REGARDING COLLATERAL.


   10/21/22  Barr, Matthew S.                         0.90      1,755.00          008         65990982
       CORRESPONDENCES WITH TEAM RE DIP (.2); REVIEW DIP TERMSHEET ISSUES (.5); AND CALL WITH
       TEAM RE SAME (.2).


   10/21/22  Foust, Rachael L.                          1.20      1,398.00       008               66060811
       REVIEW AND REVISE DIP ISSUES LIST (0.9); CORRESPOND WITH UCC ADVISORS REGARDING DIP
       RESOLUTION AND OPEN ISSUES (0.3).


   10/21/22  Gutierrez, Daniela Cristina            1.80     2,160.00                       008    65987504
       REVIEW AND DISCUSS ADDITIONAL PREPETITION DEBT DOCUMENTS PROVIDED.


   10/21/22   Findlay, Loren                         3.90                     3,822.00      008    65977626
       REVISE DIP ISSUES LIST AND CORRESPONDENCE RE SAME.


   10/21/22   Heckel, Theodore S.                       9.80       11,074.00          008        66054631
       DRAFT SIMPLIFIED ORG CHART IN CONNECTION WITH DIP ANALYSIS (3.3); REVIEW REVISIONS TO
       RESPONSE TO LENDERS' DIP ISSUES LIST RESPONSE (.3); CALL WITH S. CHO RE: DIP DILIGENCE AND
       RELATED WORKSTREAMS (.2); REVISE RESPONSE TO LENDERS' DIP ISSUES LIST RESPONSE (.9);
       CORRESPOND WITH WEIL TEAM RE: RESPONSE TO LENDERS' DIP ISSUES LIST RESPONSE (.3); REVIEW DIP
       DILIGENCE PACKAGE (.3); CORRESPOND WITH WEIL BANKING TEAM RE: DIP DILIGENCE PACKAGE (.2);
       REVISE SIMPLIFIED ORG CHART IN CONNECTION WITH DIP ANALYSIS (4.1); CORRESPOND WITH WEIL
       TEAM RE: OPEN DIP ISSUES (.2).


   10/21/22   Heckel, Theodore S.                      0.90      1,017.00        008          66054740
       DRAFT UPDATE RE: DIP OBJECTION DEADLINE (.2); CORRESPOND WITH COMMITTEE MEMBERS RE: DIP
       OBJECTION DEADLINE (.3); CORRESPOND WITH COMMITTEE MEMBERS RE: RESPONSE TO LENDERS' DIP
       ISSUES LIST RESPONSE (.2); CORRESPOND WITH COMMITTEE MEMBERS RE: OPEN DIP ISSUES (.2).


   10/21/22  Young, Felicity                       0.50                         537.50      008    66050937
       REVIEW EMAILS RECEIVED RE: DIP WORKSTREAMS.
                 Case 22-90168 Document 1090 Filed in TXSB on 12/07/22 Page 78 of 128




Cineworld (Regal Cinemas) Unsecured Creditors' Committee - Cineworld UCC
25808.0003
2022012213

                                           ITEMIZED SERVICES - 25808.0003 - Cineworld UCC


   Date         Timekeeper/Narrative                            Hours         Amount        Task   Index

   10/22/22  Perez, Alfredo R.                      0.70        1,186.50           008        65988789
       VARIOUS COMMUNICATIONS WITH S. SINGH, B. SANDLER, R. TUCKER, S. SIMMS, C. NELSON, AND D.
       SANTOS REGARDING COMMENTS TO THE DIP PROPOSAL AND DIP OBJECTION (.6); VARIOUS
       COMMUNICATIONS WITH A. KORNFELD AND J. SUSSBERG REGARDING DISCOVERY (.1).


   10/22/22  Singh, Sunny                                         1.10        1,754.50      008    65978649
       EMAILS WITH UCC ADVISORS RE DIP ISSUES.


   10/22/22  Foust, Rachael L.                                    0.80          932.00      008    66060622
       REVIEW DRAFT DIP OBJECTION.


   10/22/22  Heckel, Theodore S.                  0.30                          339.00      008    66057456
       CORRESPOND WITH COMMITTEE MEMBERS RE: OPEN DIP ISSUES.


   10/22/22   Heckel, Theodore S.                       0.70         791.00        008        66057457
       REVISE RESPONSE TO LENDERS' DIP ISSUES LIST RESPONSE (.4); CORRESPOND WITH WEIL TEAM RE:
       RESPONSE TO LENDERS' DIP ISSUES LIST RESPONSE (.2); CORRESPOND WITH PSZJ TEAM RE: RESPONSE TO
       LENDERS' DIP ISSUES LIST RESPONSE (.1).


   10/23/22  Perez, Alfredo R.                         1.80     3,051.00         008         65989294
       REVIEW AND REVISE DIP OBJECTION (1.2); VARIOUS COMMUNICATIONS WITH S. SINGH AND R. FOUST
       REGARDING DIP OBJECTION (.1); VARIOUS COMMUNICATIONS WITH S. SINGH AND R. FOUST REGARDING
       WEIL COMMENTS (.1); COMMUNICATIONS WITH B. SANDLER REGARDING CALL WITH DIP LENDERS'
       COUNSEL AND STRATEGY REGARDING DIP ISSUES (.1); VARIOUS COMMUNICATIONS WITH OCUC
       MEMBER AND ADVISORS REGARDING OBJECTION DEADLINE (.1); REVIEW DIP LENDERS' RESPONSE TO
       PROPOSAL (.2).


   10/23/22     Singh, Sunny                          1.70         2,711.50       008        66093509
       REVIEW DIP OBJECTION (1.0); COMMUNICATIONS RE SAME (.3); REVIEW LENDER RESPONSE TO ISSUES
       LIST (.4).


   10/23/22     Foust, Rachael L.                                 0.30          349.50      008    66060603
                 Case 22-90168 Document 1090 Filed in TXSB on 12/07/22 Page 79 of 128




Cineworld (Regal Cinemas) Unsecured Creditors' Committee - Cineworld UCC
25808.0003
2022012213

                                           ITEMIZED SERVICES - 25808.0003 - Cineworld UCC


   Date         Timekeeper/Narrative                            Hours         Amount        Task   Index
        COMPILE WEIL RX COMMENTS TO DRAFT DIP OBJECTION AND CIRCULATE SAME TO OTHER UCC
        ADVISORS.


   10/23/22    Heckel, Theodore S.                     0.50        565.00          008       66057465
       CORRESPOND WITH WEIL LIT TEAM RE: DIP DISCOVERY (.1); CORRESPOND WITH WEIL LIT TEAM RE:
       DRAFTS OF RESPONSIVE DIP PLEADINGS (.1); CALL WITH J. WOLLMUTH RE: DIP DISCOVERY AND OPEN
       ISSUES (.3).


   10/24/22  Perez, Alfredo R.                        0.70         1,186.50         008         65997496
       REVIEW VARIOUS DOCUMENTS PRODUCED IN CONNECTION WITH DIP DISCOVERY (.3); VARIOUS
       COMMUNICATIONS WITH C. NELSON, S. SINGH, S. DOMINIC, R. FEINSTEIN, M. LITVAK, AND B. SANDLER
       REGARDING STRATEGY WITH RESPECT THE DIP OBJECTION AND STUB RENT PROPOSAL (.4).


   10/24/22  Singh, Sunny                              1.00       1,595.00         008             65995501
       CALL WITH A&P RE ISSUES LIST (.5); CONFERENCES WITH UCC ADVISORS RE SAME (.5).


   10/24/22  Friedmann, Jared R.                     0.90      1,255.50       008        65994341
       ADVISORS CALL RE: DIP NEGOTIATIONS AND LITIGATION STRATEGY IN CONNECTION WITH SAME (0.7);
       REVIEW DIP PROPOSAL COMPARISON CHART (0.2).


   10/24/22  Nemunaitis, Vynessa                                  0.30          412.50      008    66005602
       REVIEW SECURITY DOCUMENTS.


   10/24/22  Barr, Matthew S.                         1.20       2,340.00      008                 66118103
       REVIEW DIP OBJECTION ISSUES (1.0); CORRESPONDENCES WITH TEAM REGARDING SAME (.2).


   10/24/22  Bernstein, Lauren                                    0.10          125.00      008    66274777
       EMAILS REGARDING DIP COMP ANALYSIS.


   10/24/22  Gutierrez, Daniela Cristina            2.00     2,400.00                       008    65996238
       REVIEW AND DISCUSS ADDITIONAL PREPETITION DEBT DOCUMENTS PROVIDED.
                 Case 22-90168 Document 1090 Filed in TXSB on 12/07/22 Page 80 of 128




Cineworld (Regal Cinemas) Unsecured Creditors' Committee - Cineworld UCC
25808.0003
2022012213

                                           ITEMIZED SERVICES - 25808.0003 - Cineworld UCC


   Date         Timekeeper/Narrative                            Hours         Amount        Task   Index

   10/24/22  Heckel, Theodore S.                        2.20       2,486.00      008          66057504
       REVIEW REVISED DRAFT OF DIP OBJECTION (.6); REVIEW DIP DISCOVERY MATERIALS (1.4); CORRESPOND
       WITH WEIL TEAM RE: DIP DISCOVERY (.2).


   10/25/22     Perez, Alfredo R.                     2.20         3,729.00       008          66009329
       VARIOUS COMMUNICATIONS WITH C. NELSON, R. FEINSTEIN, B. SANDLER, S. SIMMS, S. SINGH, AND S.
       STAR REGARDING OPEN ISSUES ON DIP PROPOSAL INCLUDING STUB RENT (.4); REVIEW SIMMON
       OBJECTION (.2); REVIEW COMMUNICATIONS WITH DIP LENDERS REGARDING OPEN ISSUES ON DIP
       PROPOSAL (.2); VARIOUS COMMUNICATIONS WITH R. FEINSTEIN AND S. CHO REGARDING DISCOVERY
       (.2); REVIEW AND COMMENT ON THE REVISED DIP OBJECTION (1.2).


   10/25/22   Singh, Sunny                                 2.90       4,625.50         008         66008367
       COMMUNICATIONS WITH B. SANDLER AND M. MESTERSMITH RE DIP (.5); CALL WITH S. SIMMS AND B.
       SANDLER RE SAME (.3); EMAILS RE SAME (.7); REVISE ISSUES LIST (.3); CALL WITH DEBTORS RE DIP
       ISSUES LIST (.5); CALL WITH A&P RE SAME (.4); CALL WITH S. SIMMS RE SAME (.2).


   10/25/22  Barr, Matthew S.                          1.80         3,510.00                008    66118116
       ATTEND TO DIP ISSUES (.6); AND REVIEW DRAFT OBJECTION (1.2).


   10/25/22  Gao, Xin                                             0.50          490.00      008    66043483
       REVIEW ADDITIONAL FINANCE DOCS.


   10/25/22  Foust, Rachael L.                     0.70      815.50           008                  66060640
       CORRESPOND WITH FTI REGARDING STATUS OF CASH MANAGEMENT REVIEW (0.1); REVIEW FTI
       MARKUP OF CASH MANAGEMENT ORDER (0.6).


   10/25/22  Gutierrez, Daniela Cristina            2.60       3,120.00       008         66016086
       REVIEW UPDATED ORGANIZATIONAL CHART (1.2); REVIEW AND DISCUSS ADDITIONAL PREPETITION
       DOCUMENTS PROVIDED (1.4).


   10/25/22  Findlay, Loren                        0.90          882.00        008                 66009695
       REVIEW DIP OBJECTION AND CORRESPONDENCE RE SAME (.3); UPDATE DIP TERM SHEET (.6).
                 Case 22-90168 Document 1090 Filed in TXSB on 12/07/22 Page 81 of 128




Cineworld (Regal Cinemas) Unsecured Creditors' Committee - Cineworld UCC
25808.0003
2022012213

                                           ITEMIZED SERVICES - 25808.0003 - Cineworld UCC


   Date         Timekeeper/Narrative                            Hours         Amount        Task   Index

   10/25/22  Heckel, Theodore S.                          1.60      1,808.00    008           66057530
       CORRESPOND WITH WEIL TEAM RE: DIP FINANCING (.2); REVIEW DIP DISCOVERY MATERIALS (.4);
       REVIEW RESPONSE TO DIP ISSUES LIST (.3); REVISE DIP TERM SHEET (.7).


   10/25/22  O'Donohue, Jack                       0.50      232.50                         008    66032473
       CROSS-REFERENCING FOLDERS TO CHECK FOR NEW DOCUMENTS.


   10/26/22   Perez, Alfredo R.                        2.50        4,237.50        008          66016913
       REVIEW REVISED DIP OBJECTION (.4); REVIEW CASE LAW ON LIQUIDATED DAMAGES (.5); TELEPHONE
       CONFERENCE WITH M. LITVAK REGARDING MAKE WHOLE SECTION OF THE DIP OBJECTION (.2);
       VARIOUS COMMUNICATIONS WITH M. LITVAK AND T. HECKEL REGARDING MOTION TO SEAL (.2);
       TELEPHONE CONFERENCE WITH S. SINGH REGARDING DISCUSSIONS WITH DIP LENDERS REGARDING
       STUB RENT (.1); VARIOUS COMMUNICATIONS WITH KIRKLAND AND PACHULSKI REGARDING THE
       DEPOSITIONS (.2); VARIOUS COMMUNICATIONS WITH S. SINGH, B. SANDLER, R. FEINSTEIN, C. NELSOM,
       A. SENOUSSI, AND COMMITTEE MEMBERS REGARDING DIP SETTLEMENT (.7); VARIOUS
       COMMUNICATIONS WITH S. SINGH AND R. FOUST REGARDING DIP ORDER AND GUARANTOR ISSUES (.2).


   10/26/22    Singh, Sunny                         2.00      3,190.00      008        66013995
       CALLS AND EMAILS WITH UCC ADVISORS, DEBTOR/LENDERS ADVISORS AND UCC MEMBERS RE DIP
       ISSUES.


   10/26/22  Friedmann, Jared R.                       0.80       1,116.00       008         66016327
       EMAILS WITH TEAM RE: STATUS OF NEGOTIATION OF DIP AND NOTICED DEPOSITION (0.2); EMAILS
       WITH DEBTORS’ COUNSEL RE: SAME (0.1); PARTICIPATE ON ADVISORS CALL RE: SAME (0.5).


   10/26/22   Barr, Matthew S.                   0.50           975.00      008        66022352
       CORRESPONDENCE WITH TEAM REGARDING HEARING ISSUES (.2); CORRESPONDENCE REGARDING DIP
       ISSUES WITH TEAM (.3).


   10/26/22  Bernstein, Lauren                       0.30        375.00       008                  66036594
       COMMUNICATED WITH T. HECKEL (0.1); EMAILS REGARDING DEPOSITIONS AND DOCUMENT
       PRODUCTION (0.2).
                 Case 22-90168 Document 1090 Filed in TXSB on 12/07/22 Page 82 of 128




Cineworld (Regal Cinemas) Unsecured Creditors' Committee - Cineworld UCC
25808.0003
2022012213

                                           ITEMIZED SERVICES - 25808.0003 - Cineworld UCC


   Date         Timekeeper/Narrative                            Hours         Amount        Task   Index

   10/26/22  Gutierrez, Daniela Cristina         1.00       1,200.00                        008    66016110
       DRAFT AND REVIEW CORRESPONDENCE REGARDING PREPETITION GUARANTORS.


   10/26/22   Heckel, Theodore S.                       3.40        3,842.00         008         66057541
       CORRESPOND WITH WEIL TEAM RE: DIP DEPOSITIONS (.2); CALL WITH L. BERSNTEIN RE: DIP
       DEPOSITIONS (.1); CORRESPOND WITH WEIL TEAM RE: STATUS OF DIP NEGOTIATIONS (.3); REVIEW
       DRAFT OF MOTION TO SEAL DIP OBJECTION (.1); CORRESPOND WITH PSZJ TEAM RE: MOTION TO SEAL
       DIP OBJECTION (.1); DRAFT REVISIONS TO MOTION TO SEAL DIP OBJECTION (.2); CALL WITH WEIL, PSZJ,
       FTI, AND PWP TEAMS RE: DIP NEGOTIATIONS (.4); DRAFT DIP STATUS UPDATE FOR WEIL LIT TEAM (.2);
       REVIEW ORGANIZATIONAL CHART RE: GUARANTOR ISSUE (.3); CALL WITH R. FOUST RE: DIP
       GUARANTOR ISSUE (.4); CORRESPOND WITH WEIL UK TEAM RE: REVISIONS TO SIMPLIFIED ORG CHART
       WITH DEBT OVERLAY (.1); REVISE SIMPLIFIED ORG CHART WITH DEBT OVERLAY (1.0).


   10/26/22    Jones, Taylor                            3.80        3,724.00         008         66013844
       REVIEW AND SEND EMAILS WITH T. HECKEL AND R. FOUST RE: MOTION TO FILE DIP OBJECTION UNDER
       SEAL (0.1); DRAFT MOTION TO FILE DIP OBJECTION UNDER SEAL (3.5); EMAIL T. HECKEL AND R. FOUST
       RE: DRAFT MOTION TO FILE UNDER SEAL (0.2).


   10/27/22   Perez, Alfredo R.                        1.00      1,695.00         008      66023854
       REVIEW VARIOUS COMMENTS TO THE DIP ORDER (.4); REVIEW SEVERAL OBJECTIONS FILED BY THE
       LANDLORDS (.3); REVIEW CONDITIONS TO $150 MILLION ADDITIONAL DRAW (.2); COMMUNICATIONS
       WITH D. SANTOS REGARDING SAME (.1).


   10/27/22  Singh, Sunny                                         3.50        5,582.50      008    66023432
       REVIEW DRAFT FINAL DIP ORDER.


   10/27/22   Barr, Matthew S.                           1.90        3,705.00      008         66039550
       REVIEW DIP ISSUES (.5); CALL WITH TEAM RE SAME (.4); AND REVIEW DOCUMENT FILING ISSUES RE
       SAME (.3); ATTEND TO NEXT STEP STRATEGY (.6); AND CORRESPONDENCES WITH TEAM RE SAME (.1).


   10/27/22  Foust, Rachael L.                         1.40      1,631.00      008          66060662
       REVIEW AND REVISE CASH MANAGEMENT ORDER (0.8); FINALIZE AND CIRCULATE SAME TO DEBTORS
       COUNSEL FOR REVIEW (0.1); CALL WITH FTI TEAM RE: CASH MANAGEMENT ORDER MARKUP (0.5).
                 Case 22-90168 Document 1090 Filed in TXSB on 12/07/22 Page 83 of 128




Cineworld (Regal Cinemas) Unsecured Creditors' Committee - Cineworld UCC
25808.0003
2022012213

                                           ITEMIZED SERVICES - 25808.0003 - Cineworld UCC


   Date         Timekeeper/Narrative                            Hours         Amount        Task   Index

   10/27/22   Heckel, Theodore S.                       10.60       11,978.00           008         66057591
       REVISE SIMPLIFIED ORG CHART WITH DEBT OVERLAY (1.2); CALL WITH S. CHO RE: DIP WITNESS &
       EXHIBIT LIST (.1); CORRESPOND WITH WEIL TEAM RE: DIP WITNESS AND EXHIBIT LIST (.1); REVIEW
       FINAL DIP ORDER (1.5); CALL WITH R. FOUST RE: OPEN DIP ISSUES (.2); CALL R. FOUST RE: DIP ORDER (.1);
       FOLLOW-UP WITH R. FOUST RE: DIP ORDER (.4); REVISE FINAL DIP ORDER (4.6); CONDUCT RESEARCH RE:
       FINAL DIP ORDER (2.2); FURTHER CALL WITH R. FOUST RE: DIP ORDER (.2).


   10/28/22     Perez, Alfredo R.                     1.30      2,203.50         008       66037062
       REVIEW LANDLORD OBJECTIONS AND PARAGRAPH 18(B) OF THE PROPOSED DIP ORDER (.5); VARIOUS
       COMMUNICATIONS WITH B. SANDLER AND R. FEINSTEIN REGARDING SAME (.1); REVIEW PARAGRAPH
       14(A) (.1); COMMUNICATIONS WITH M. LITVAK REGARDING PARAGRAPH 14(A) REGARDING
       MARSHALING (.1); TELEPHONE CONFERENCE WITH M. WARNER REGARDING CONDUCT OF HEARINGS
       (.2); TELEPHONE CONFERENCE WITH S. CHO REGARDING HEARING (.1); TELEPHONE CONFERENCE WITH R.
       FOUST AND T. HECKEL REGARDING STATEMENT AND SLIDES (.2).


   10/28/22  Singh, Sunny                                1.30      2,073.50          008            66030173
       CALL WITH R . FOUST RE DIP (.3); CALL WITH KIRKLAND AND A&P RE DIP ORDER (1.0).


   10/28/22  Barr, Matthew S.                            2.10        4,095.00         008        66039480
       ATTEND TO DIP ISSUES (.3); AND NEXT STEP STRATEGY (.5); CALL WITH TEAM RE SAME (.2); ATTEND TO
       RETENTION APP (.5); CALL WITH TEAM RE SAME (.1); ATTEND TO DIP ISSUES (.3); CORRESPONDENCES
       WITH TEAM (.1); AND CLIENT RE SAME (.1).


   10/28/22  Foust, Rachael L.                                    0.20          233.00      008     66060572
       CALL WITH S. SINGH RE: DIP.


   10/28/22  Findlay, Loren                         1.40     1,372.00                       008     66025265
       DRAFT STATEMENT IN SUPPORT OF DIP AND CORRESPONDENCE RE SAME.


   10/28/22     Heckel, Theodore S.                               8.00        9,040.00      008     66057571
                 Case 22-90168 Document 1090 Filed in TXSB on 12/07/22 Page 84 of 128




Cineworld (Regal Cinemas) Unsecured Creditors' Committee - Cineworld UCC
25808.0003
2022012213

                                           ITEMIZED SERVICES - 25808.0003 - Cineworld UCC


   Date         Timekeeper/Narrative                            Hours         Amount        Task   Index
        CORRESPOND WITH WEIL TEAM RE: OPEN DIP ISSUES (.3); CALL WITH L. FINDLAY RE: STATEMENT IN
        SUPPORT OF DIP AND RELATED WORKSTREAMS (.6); DRAFT STATEMENT IN SUPPORT OF DIP (1.5);
        REVISE SIMPLIFIED ORG CHART WITH DEBT OVERLAY (2.4); DRAFT PRESENTATION SLIDES RE:
        STATEMENT IN SUPPORT OF DIP MOTION (3.0); CALL WITH S. CHO (PSZJ) AND C. MACKLE (PSZJ) RE: DIP
        HEARING PRESENTATION MATERIALS (.2).


   10/29/22     Perez, Alfredo R.                        3.70       6,271.50      008        66037122
       REVIEW IN DETAIL THE NEAR FINAL DIP ORDER IN PREPARATION FOR HEARING (3.2); TELEPHONE
       CONFERENCE WITH R. FOUST REGARDING COMMENTS (.1); VARIOUS COMMUNICATIONS WITH M.
       LITVAK, B. SANDLER, R. FEWINSTEIN, S. SINGH, AND R. FOUST REGARDING COMMENTS TO DIP ORDER
       (.2); REVIEW AND REVISE STATEMENT IN SUPPORT OF THE AMENDED DIP (.2).


   10/29/22  Singh, Sunny                                         0.50          797.50      008    66030168
       REVIEW AND COMMENT ON DIP ORDER.


   10/29/22  Barr, Matthew S.                           1.10       2,145.00        008             66040283
       ATTEND TO DIP ISSUES (.3); CORRESPONDENCE (.1) AND CALL WITH TEAM RE SAME (.2); REVIEW
       OBJECTION LANGUAGE RE SAME (.5).


   10/29/22   Foust, Rachael L.                        4.60      5,359.00         008        66060554
       REVIEW AND REVISE DIP ORDER AND COMPILE UCC COMMENT TO SAME (1.6); REVIEW AND REVISE
       DRAFT STATEMENT IN SUPPORT OF DIP (2.8); CORRESPOND WITH T. HECKEL AND L. FINDLAY RE SAME
       (0.2).


   10/29/22  Findlay, Loren                                       2.60        2,548.00      008    66029909
       DRAFT STATEMENT IN SUPPORT OF DIP MOTION.


   10/29/22   Heckel, Theodore S.                       8.40       9,492.00         008       66057570
       REVISE DIP ORDER (1.1); REVIEW STATEMENT IN SUPPORT OF DIP MOTION (.2); DRAFT COMMENTS TO
       STATEMENT IN SUPPORT OF DIP MOTION (.3); CORRESPOND WITH WEIL TEAM RE: STATEMENT IN
       SUPPORT OF DIP MOTION (.2); DRAFT SUMMARY OF DIP TIMELINE OF EVENTS (1.9); REVIEW DIP
       DISCOVERY REQUESTS RE: DIP TIMELINE OF EVENTS (.3); REVIEW COMMITTEE MEETING MATERIALS RE:
       DIP TIMELINE OF EVENTS (.7); DRAFT DIP HEARING PRESENTATION MATERIALS (3.7).
                 Case 22-90168 Document 1090 Filed in TXSB on 12/07/22 Page 85 of 128




Cineworld (Regal Cinemas) Unsecured Creditors' Committee - Cineworld UCC
25808.0003
2022012213

                                           ITEMIZED SERVICES - 25808.0003 - Cineworld UCC


   Date         Timekeeper/Narrative                            Hours         Amount        Task   Index

   10/30/22   Perez, Alfredo R.                        2.50        4,237.50       008         66037294
       REVIEW AND COMMENT ON SLIDES FOR DIP HEARING (.2); VARIOUS COMMUNICATIONS WITH T.
       HECKEL AND S. SINGH REGARDING SLIDES (.1); REVIEW COMMENTS FROM KIRKLAND TO THE FINAL DIP
       ORDER AND FURTHER REVISIONS (.4); VARIOUS COMMUNICATIONS WITH B. SANDLER, M. LITVAK, R.
       FEINSTEIN, AND WEIL TEAM REGARDING REVISIONS TO THE FINAL DIP ORDER, THE STATEMENT IN
       SUPPORT, THE SLIDES, THE FINAL DIP ORDER AS FILED, AND THE FILINGS OF COMMITTEE'S PLEADINGS
       (1.8).


   10/30/22  Singh, Sunny                              3.00       4,785.00       008         66037074
       REVIEW VARIOUS EDITS TO DIP ORDER (1.0); CALLS AND EMAILS WITH UCC ADVISORS RE SAME (1.0);
       CALL WITH DEBTOR AND LENDER ADVISORS (.5); REVIEW UCC STATEMENT IN SUPPORT (.5).


   10/30/22  Barr, Matthew S.                          1.90         3,705.00      008              66038739
       ATTEND TO DIP ISSUES (.8); REVIEW DOCUMENTS ISSUES (.2); CORRESPONDENCES WITH TEAM
       REGARDING STRATEGY (.2); REVIEW STATEMENT (.3); AND DECK (.3); AND CORRESPONDENCES
       REGARDING SAME WITH TEAM (.1).


   10/30/22  Foust, Rachael L.                    0.10      116.50       008        66060515
       CORRESPOND WITH DEBTORS' COUNSEL REGARDING CASH MANAGEMENT MOTION AND ORDER.


   10/30/22   Foust, Rachael L.                        5.20        6,058.00        008         66060560
       CORRESPOND WITH UCC PROFESSIONALS REGARDING STATUS OF DIP DISCUSSIONS (0.4); REVIEW,
       REVISE AND FINALIZE STATEMENT IN SUPPORT OF DIP (2.1), CORRESPOND WITH T. HECKEL AND L.
       FINDLAY RE SAME (0.6); REVIEW AND REVISE DRAFT FINAL DIP ORDER (1.2), CORRESPOND WITH UCC
       ADVISORS RE SAME (0.4); REVIEW DIP RESOLUTION SUMMARY SLIDES (0.3); REVIEW DIP ISSUES LIST (0.2).


   10/30/22  Findlay, Loren                          1.20                     1,176.00      008    66033973
       REVIEW AND REVISE STATEMENT IN SUPPORT OF DIP.


   10/30/22     Heckel, Theodore S.                              11.40       12,882.00      008    66057662
                 Case 22-90168 Document 1090 Filed in TXSB on 12/07/22 Page 86 of 128




Cineworld (Regal Cinemas) Unsecured Creditors' Committee - Cineworld UCC
25808.0003
2022012213

                                           ITEMIZED SERVICES - 25808.0003 - Cineworld UCC


   Date         Timekeeper/Narrative                            Hours         Amount        Task   Index
        DRAFT DIP SLIDES (2.4); CORRESPOND WITH WEIL TEAM RE: EMERGENCY MOTION TO CONTINUE DIP
        HEARING (.3); REVIEW DEBTORS' REVISIONS TO DIP ORDER (.7); DRAFT EMERGENCY MOTION TO
        CONTINUE DIP HEARING (3.6); REVISE DIP HEARING PRESENTATION MATERIALS (4.1); REVIEW REVISIONS
        TO STATEMENT IN SUPPORT OF DIP MOTION (.3).


   10/31/22  Foust, Rachael L.                       0.80         932.00                    008    66060537
       REVIEW, REVISE AND FINALIZE STATEMENT IN SUPPORT OF DIP FOR FILING.


   10/31/22   Heckel, Theodore S.                   3.70         4,181.00       008                66057659
       REVISE SIMPLIFIED ORG CHART WITH DEBT OVERLAY (3.5); CORRESPOND WITH WEIL TEAM RE:
       SIMPLIFIED ORG CHART WITH DEBT OVERLAY (.2).


   10/31/22  Su, Yifan                                            0.80          552.00      008    66274782
       REVIEW DIP ORDER.


   10/31/22  Olvera, Rene A.                       0.50         215.00                      008    66047199
       PREPARE AND ELECTRONICALLY FILE STATEMENT IN SUPPORT OF DIP.


    SUBTOTAL TASK 008 - DIP Financing / Cash                    634.70     $738,990.50
    Collateral / Milestone Related (FN):

   09/28/22  Heckel, Theodore S.                      0.60       678.00        010                 65814545
       REVIEW CRITICAL VENDOR MOTION (.4); REVIEW CRITICAL VENDOR INTERIM ORDER (.2).


   09/29/22  Perez, Alfredo R.                    0.20        339.00       010                     65795663
       VARIOUS COMMUNICATIONS WITH R. LEHANE AND UCC ADVISORS REGARDING LEASE ISSUES.


   09/30/22   Perez, Alfredo R.                       0.40      678.00        010        65798453
       REVIEW SECOND LEASE REJECTION MOTION (.2); VARIOUS COMMUNICATIONS WITH FTI REGARDING
       LEASE REJECTION ISSUES (.2).


   10/03/22     Perez, Alfredo R.                                 0.80        1,356.00      010    65814090
                 Case 22-90168 Document 1090 Filed in TXSB on 12/07/22 Page 87 of 128




Cineworld (Regal Cinemas) Unsecured Creditors' Committee - Cineworld UCC
25808.0003
2022012213

                                           ITEMIZED SERVICES - 25808.0003 - Cineworld UCC


   Date         Timekeeper/Narrative                            Hours         Amount        Task   Index
        VARIOUS COMMUNICATIONS WITH C. NELSON AND PACHULSKI REGARDING THE PAYMENT OF
        OCTOBER RENT (.1); CONFERENCE CALL WITH R. TUCKER, R. LEHANE, T. DILLMAN, PACHULSKI, AND S.
        SINGH REGARDING STUB RENT AND LANDLORD ISSUES (.7).


   10/04/22  Perez, Alfredo R.                      0.40       678.00        010        65823026
       REVIEW COMMENTS TO CRITICAL VENDOR MOTION (.2); COMMUNICATIONS WITH KIRKLAND
       REGARDING CONTINUED HEARING (.1); VARIOUS COMMUNICATIONS WITH FTI REGARDING OCTOBER
       RENT PAYMENT (.1).


   10/05/22   Perez, Alfredo R.                      0.50         847.50        010        65828193
       REVIEW AND COMMENT ON THE INTERIM CRITICAL VENDOR ORDER (.2); VARIOUS COMMUNICATIONS
       WITH S. CHO REGARDING COMMENTS (.2); REVIEW COC OF THE INTERIM ORDER AS FILED (.1).


   10/05/22  Singh, Sunny                                         0.20          319.00      010    65827156
       REVIEW REVISED CRITICAL VENDOR ORDER.


   10/05/22  Jalomo, Chris                         0.30         102.00                      010    65915941
       REVIEW AND ORGANIZE LEASE REJECTION MATERIALS FOR F. YOUNG.


   10/06/22  Perez, Alfredo R.                      0.40        678.00       010        65835530
       VARIOUS COMMUNICATIONS WITH S. CHO AND G. MORGAN REGARDING CRITICAL VENDOR ORDER
       AND HEARING (.2); VARIOUS COMMUNICATIONS WITH PACHULSKI AND WEIL TEAMS AFTER HEARING
       (.2).


   10/07/22  Perez, Alfredo R.                      0.20       339.00        010                   65847688
       VARIOUS COMMUNICATIONS WITH S. SINGH AND B. SANDLER REGARDING STUB RENT.


   10/11/22    Perez, Alfredo R.                       1.10       1,864.50         010     65879539
       REVIEW UK RENT ISSUE AND STATUS (.5); MEETINGS WITH T. HECKEL REGARDING STATUS AND NEXT
       STEPS (.2); TELEPHONE CONFERENCE WITH S. SINGH REGARDING NEXT STEPS (.1); VARIOUS
       COMMUNICATIONS WITH WEIL TEAM REGARDING ANALYSIS AND NEXT STEPS (.3).


   10/11/22     Heckel, Theodore S.                               0.10          113.00      010    66118584
                 Case 22-90168 Document 1090 Filed in TXSB on 12/07/22 Page 88 of 128




Cineworld (Regal Cinemas) Unsecured Creditors' Committee - Cineworld UCC
25808.0003
2022012213

                                           ITEMIZED SERVICES - 25808.0003 - Cineworld UCC


   Date         Timekeeper/Narrative                            Hours         Amount        Task   Index
        CALL WITH T. COOPER (LANDSEC) RE: RENT PAYMENT ISSUE.


   10/12/22  Perez, Alfredo R.                      0.40       678.00                       010    65884431
       CONFERENCE CALL WITH T. COOPER AND T. HECKEL REGARDING UK THEATERS.


   10/12/22  Heckel, Theodore S.                       0.40      452.00                     010    65887021
       CALL WITH A. PEREZ AND T. COOPER (LANDSEC) RE: RENT PAYMENT ISSUE.


   10/13/22  Perez, Alfredo R.                    0.10         169.50       010        65893348
       VARIOUS COMMUNICATIONS WITH B. SANDLER AND C. NELSON REGARDING DELINQUENT RENT.


   10/13/22  Heckel, Theodore S.                          0.30      339.00        010       65928571
       CORRESPOND WITH WEIL TEAM RE: RENT PAYMENT ISSUE (.1); CORRESPOND WITH FTI TEAM RE: RENT
       PAYMENT ISSUE (.1); CALL WITH D. SANTOS (FTI) RE: RENT PAYMENT ISSUE (.1).


   10/13/22  Heckel, Theodore S.                  0.10       113.00                         010    66119175
       CORRESPOND WITH COMMITTEE MEMBER RE: RENT PAYMENT ISSUE.


   10/19/22  Heckel, Theodore S.                   0.10        113.00                       010    66053536
       CORRESPOND WITH PSZJ TEAM RE: SECOND OMNIBUS LEASE REJECTION MOTION.


   10/21/22  Perez, Alfredo R.                     0.60                       1,017.00      010    65988844
       REVIEW NCM FILINGS AND NOTE REGARDING SAME.


   10/22/22  Perez, Alfredo R.                                    0.50          847.50      010    65988699
       REVIEW NCM COMPLAINT.


   10/23/22  Perez, Alfredo R.                      0.10       169.50        010                   65988885
       VARIOUS COMMUNICATIONS WITH C. NELSON AND S. SINGH REGARDING NCM FILINGS.


   10/23/22     Heckel, Theodore S.                               0.20          226.00      010    66057459
                 Case 22-90168 Document 1090 Filed in TXSB on 12/07/22 Page 89 of 128




Cineworld (Regal Cinemas) Unsecured Creditors' Committee - Cineworld UCC
25808.0003
2022012213

                                           ITEMIZED SERVICES - 25808.0003 - Cineworld UCC


   Date         Timekeeper/Narrative                            Hours         Amount        Task   Index
        CORRESPOND WITH PSZJ TEAM RE: EXECUTORY CONTRACT SETOFF MOTION (.1); CORRESPOND WITH
        WEIL TEAM RE: EXECUTORY CONTRACT SETOFF MOTION (.1).


   10/24/22  Perez, Alfredo R.                         2.00      3,390.00       010                65997486
       MEET WITH S. SINGH REGARDING NCM STATUS (.2); TELEPHONE CONFERENCE WITH T. HECKEL
       REGARDING FILINGS BY NCM (.1); REVIEW COMPLAINT AND ATTACHMENTS (1.6); VARIOUS
       COMMUNICATIONS WITH T. HECKEL REGARDING HEARING DATE (.1).


   10/24/22  Singh, Sunny                          0.80                       1,276.00      010    65995527
       REVIEW NCM COMPLAINT AND RELATED PLEADINGS.


   10/24/22  Heckel, Theodore S.                      4.10      4,633.00        010        66057503
       CORRESPOND WITH WEIL TEAM RE: EXECUTORY CONTRACT SETOFF MOTION (.3); REVIEW EXECUTORY
       CONTRACT SETOFF MOTION (.8); REVIEW ADVERSARY COMPLAINT RE: EXECUTORY CONTRACT (1.1);
       REVIEW MOTION TO REJECT CERTAIN EXECUTORY CONTRACT (.5); CALL WITH T. JONES RE: EXECUTORY
       CONTRACT SETOFF MOTION (.2); REVIEW EXHIBITOR SERVICES AGREEMENT (1.2).


   10/24/22  Jones, Taylor                             6.80       6,664.00         010     65993179
       REVIEW DOCUMENTS RELATED TO DISPUTES BETWEEN DEBTORS AND NCM INCLUDING EMERGENCY
       ADEQUATE PROTECTION MOTION, STIPULATION AND AGREED ORDER, NOTICE OF CONTINUED
       HEARING, DEBTORS' REJECTION MOTION, AND NCM'S ADVERSARY COMPLAINT (2.8); CALL WITH T.
       HECKEL RE: NCM ISSUES (0.2); DRAFT SUMMARY OF ISSUES LIST RE: NCM DISPUTES (3.8).


   10/25/22   Perez, Alfredo R.                        0.50         847.50       010         66009333
       CONFERENCE CALL WITH C. NELSON, S. STAR, B. SANDLER, AND S. SINGH REGARDING NEXT STEPS ON
       NCM ISSUES.


   10/25/22     Heckel, Theodore S.                   1.80      2,034.00        010           66057520
       CALL WITH WEIL, PSZJ, AND FTI TEAMS RE: EXECUTORY CONTRACT REJECTION ISSUE (.5); REVIEW
       SUMMARY OF EXHIBITOR SERVICES AGREEMENT RELATED PLEADINGS (.3); REVISE SUMMARY OF
       EXHIBITOR SERVICES AGREEMENT RELATED PLEADINGS (.3); CORRESPOND WITH WEIL TEAM RE:
       EXHIBITOR SERVICES AGREEMENT (.2); REVIEW MOTION TO REJECT EXHIBITOR SERVICES AGREEMENT
       (.2); REVIEW EXECUTORY CONTRACT SETOFF MOTION (.3).
                 Case 22-90168 Document 1090 Filed in TXSB on 12/07/22 Page 90 of 128




Cineworld (Regal Cinemas) Unsecured Creditors' Committee - Cineworld UCC
25808.0003
2022012213

                                           ITEMIZED SERVICES - 25808.0003 - Cineworld UCC


   Date         Timekeeper/Narrative                            Hours         Amount        Task   Index

   10/25/22  Jones, Taylor                           0.60      588.00            010        66005733
       REVIEW AND SEND EMAILS WITH T. HECKEL RE: NCM SUMMARY OF ISSUES LIST (0.1); DRAFT NCM
       SUMMARY OF ISSUES LIST (0.5).


   10/26/22  Heckel, Theodore S.                     0.90         1,017.00      010                66057548
       CALL WITH S. CHO RE: ASSUMPTION-REJECTION PROCEDURES (.1); CONDUCT RESEARCH RE:
       ASSUMPTION-REJECTION PROCEDURES (.8).


   10/31/22  Perez, Alfredo R.                                    0.30          508.50      010    66053772
       REVIEW NCM COMPLAINT.


    SUBTOTAL TASK 010 - Executory                                25.80      $33,074.50
    Contracts/Leases/Real Property/Other 365 Matters
    (EC):

   09/28/22  Perez, Alfredo R.                          2.30        3,898.50       011         65798699
       PREPARE FOR HEARING ON NATIONAL CINEMEDIA'S EMERGENCY MOTION FOR ADEQUATE
       PROTECTION (.8); WORK ON TALKNG POINTS (.3); PARTICIPATE IN THE CINEPLEX MOTION TO LIFT STAY
       HEARING (1.2).


   09/28/22  Heckel, Theodore S.                    1.10                      1,243.00      011    65814530
       ATTEND HEARING RE: MOTION FOR RELIEF FROM STAY.


   09/29/22   Olvera, Rene A.                        1.30          559.00         011          65788629
       DRAFT AND ELECTRONICALLY FILE PRO HAC VICE'S FOR M. BARR, S. SINGH, AND T. HECKEL (.8);
       FINALIZE AND ELECTRONICALLY FILE NOTICE OF APPEARANCE (.5).


   10/03/22  Perez, Alfredo R.                   0.30        508.50       011       65814119
       VARIOUS COMMUNICATIONS WITH KIRKLAND AND PACHULSKI REGARDING SECOND DAY HEARING
       AND INTERIM RELIEF NEEDED.


   10/04/22     Perez, Alfredo R.                                 0.10          169.50      011    65822983
                 Case 22-90168 Document 1090 Filed in TXSB on 12/07/22 Page 91 of 128




Cineworld (Regal Cinemas) Unsecured Creditors' Committee - Cineworld UCC
25808.0003
2022012213

                                           ITEMIZED SERVICES - 25808.0003 - Cineworld UCC


   Date         Timekeeper/Narrative                            Hours         Amount        Task   Index
        REVIEW WITNESS & EXHIBIT LIST FILED BY DEBTORS.


   10/05/22  Perez, Alfredo R.                     0.20        339.00       011                    65828225
       REVIEW WITNESS & EXHIBIT LIST AND COMMUNICATIONS WITH PACHULSKI AND WEIL TEAM
       REGARDING SAME.


   10/05/22  Singh, Sunny                          0.50        797.50                       011    65827119
       REVIEW HEARING TRANSCRIPT FROM CINEPLEX MOTION FOR STAY RELIEF.


   10/06/22  Morgan, Gabriel A.                        1.70       2,541.50          011          65856728
       PREPARE FOR AND ATTEND 10/6 HEARING (1.4); CONFER WITH T. HECKEL RE: 10/6 HEARING (.1); CALL
       AND EMAIL M. CAVANAUGH RE: 10/6 HEARING (.2).


   10/06/22  Heckel, Theodore S.                        1.10      1,243.00          011          65842062
       CORRESPOND WITH WEIL TEAM RE: OCT. 6TH HEARING (.3); CALL WITH S. CHO (PSZJ) RE: OCT. 6TH
       HEARING (.1); ASSIST WITH PREPARATION FOR OCT. 6TH HEARING (.4); ATTEND OCT. 6TH HEARING (.3).


   10/17/22  Olvera, Rene A.                        0.20        86.00        011       66042603
       PREPARE/REVISE CALENDAR INVITES IN CONNECTION WITH UPCOMING HEARINGS AND DEADLINES.


   10/19/22     Perez, Alfredo R.                    0.30           508.50        011        65965279
       REVIEW WITNESS & EXHIBIT LIST FOR HEARINGS ON FRIDAY (.1); REVIEW NOTICE OF HEARING FILED
       (.1); VARIOUS COMMUNICATIONS WITH WEIL TEAM REGARDING HEARINGS AND OBJECTION
       DEADLINES (.1).


   10/20/22  Heckel, Theodore S.                     0.20          226.00        011         66054359
       CORRESPOND WITH WEIL TEAM RE: OCT. 21 HEARING (.1); CORRESPOND WITH PSZJ TEAM RE: OCT. 21
       HEARING (.1).


   10/21/22  Perez, Alfredo R.                     0.20       339.00                        011    65988760
       TELEPHONE CONFERENCE WITH T. HECKEL REGARDING HEARING.
                 Case 22-90168 Document 1090 Filed in TXSB on 12/07/22 Page 92 of 128




Cineworld (Regal Cinemas) Unsecured Creditors' Committee - Cineworld UCC
25808.0003
2022012213

                                           ITEMIZED SERVICES - 25808.0003 - Cineworld UCC


   Date         Timekeeper/Narrative                            Hours         Amount        Task   Index

   10/21/22   Heckel, Theodore S.                        1.20        1,356.00        011          66054741
       CORRESPOND WITH WEIL TEAM RE: OCT. 21ST HEARING (.2); CORRESPOND WITH PSZJ TEAM RE: OCT.
       21ST HEARING (.1); PREPARE FOR OCT. 21ST HEARING (.3); ATTEND OCT. 21ST HEARING RE: CRITICAL
       VENDORS MOTION (.4); CALL WITH A. PEREZ RE: OCT. 21 HEARING AND OUTSTANDING WORKSTREAMS
       (.2).


   10/31/22    Perez, Alfredo R.                        3.10       5,254.50        011         66054336
       REVIEW FINAL STATEMENT AND SLIDES (.2); PREPARE FOR (1.5) AND PARTICIPATE IN HEARING ON THE
       FINAL DIP ORDER (1.0); CONFERENCE WITH S. SINGH REGARDING HEARING (.1), AND B. SANDLER, R.
       FEINSTEIN AND S. SINGH REGARDING SAME (.1); FOLLOW-UP CALL WITH B. SANDLER REGARDING NEXT
       STEPS (.1); COMMUNICATIONS WITH B. LAHANE, S. SINGH AND B. SANDLER REGARDING DIP HEARING
       (.1).


   10/31/22   Singh, Sunny                            1.70                    2,711.50      011    66050204
       CALLS IN PREPARATION FOR HEARING (.7); ATTEND SAME (1.0).


   10/31/22  Morgan, Gabriel A.                                   1.00        1,495.00      011    66114535
       ATTEND 10/31 HEARING.


   10/31/22  Barr, Matthew S.                          2.30      4,485.00         011         66088912
       CALL WITH TEAM RE: DIP HEARING (.5); FOLLOW UP FROM HEARING (.3); ALL HANDS CALL RE CINEPLEX
       AND FOLLOW UP WITH TEAM (1.5).


   10/31/22  Foust, Rachael L.                                    0.90        1,048.50      011    66060555
       ATTEND FINAL DIP HEARING.


   10/31/22  Findlay, Loren                                       0.90          882.00      011    66045574
       ATTEND DIP HEARING.


   10/31/22  Heckel, Theodore S.                       3.80       4,294.00        011          66057656
       PREPARE FOR HEARING ON DIP MOTION (2.5); CALL WITH R. FOUST RE: HEARING ON DIP MOTION (.1);
       CORRESPOND WITH WEIL TEAM RE: DIP HEARING (.3); ATTEND DIP HEARING (.9).
                 Case 22-90168 Document 1090 Filed in TXSB on 12/07/22 Page 93 of 128




Cineworld (Regal Cinemas) Unsecured Creditors' Committee - Cineworld UCC
25808.0003
2022012213

                                           ITEMIZED SERVICES - 25808.0003 - Cineworld UCC


   Date         Timekeeper/Narrative                            Hours         Amount        Task   Index

   10/31/22  Young, Felicity                                      1.00        1,075.00      011    66051037
       ATTEND DIP HEARING.


    SUBTOTAL TASK 011 - Hearings and Court                       25.40      $35,060.50
    Matters (HE):

   09/30/22  Lawford, Mark                           0.50        857.50                     012    65791077
       EMAILS RE RECOGNITION OF A CHAPTER 11 AS A FOREIGN PROCEEDING.


   09/30/22  Davidson, Jenny                          3.90        6,688.50      012           65784831
       REVIEW COURT TRANSCRIPTS FOR BACKGROUND ON NEED FOR RECOGNITION IN UK/TURKEY (1.9).
       ANALYSIS OF BASIS FOR RECOGNITION IN UK/TURKEY (1.0). COMMUNICATIONS WITH S. SINGH, T.
       HECKEL, N. DEVANEY AND A. KELLY-TAGLIANINI RE. SAME (1.0).


   09/30/22   Kelly-Taglianini, Amedea                8.80      8,624.00       012        65793389
       REVIEW LATEST DEBTWIRE AND REORG ANALYSIS (0.6); REVIEW GRR REPORT WITH RESPECT TO UK
       AND TURKISH AUTOMATIC STAY RECOGNITION REQUEST (0.6); SUMMARIZE ENGLISH LAW RE
       RECOGNITION OF CHP 11 AUTOMATIC STAY, AND REVIEW FIRST DAY HEARING TRANSCRIPT AND 28TH
       SEP HEARING AUDIO CLIP REGARDING SAME (5.4); CORRESPONDENCE WITH PARTNER RE CBIR AND
       ENGLISH LAW RECOGNITION (1.2); RESEARCH RE TURKISH RESTRUCTURING PROCESSES AND POSSIBLE
       RECOGNITION PREMISES (1.0).


   09/30/22  Heckel, Theodore S.                     0.90         1,017.00       012        65838554
       CALL WITH J. DAVIDSON RE: UK RECOGNITION PROCEEDING (.1); CORRESPOND WITH WEIL UK TEAM RE:
       UK RECOGNITION PROCEEDING (.3); CORRESPOND WITH WEIL UK TEAM RE: CASE BACKGROUND AND
       INFORMATION (.3); CORRESPOND WITH WEIL TEAM RE: FOREIGN PROCEEDINGS (.2).


   10/03/22  Singh, Sunny                            0.30                       478.50      012    65814400
       CALL WITH J. DAVIDSON RE FOREIGN PROCEEDINGS.


   10/03/22     Kelly-Taglianini, Amedea                          0.90          882.00      012    65835287
                 Case 22-90168 Document 1090 Filed in TXSB on 12/07/22 Page 94 of 128




Cineworld (Regal Cinemas) Unsecured Creditors' Committee - Cineworld UCC
25808.0003
2022012213

                                           ITEMIZED SERVICES - 25808.0003 - Cineworld UCC


   Date         Timekeeper/Narrative                            Hours         Amount        Task   Index
        CORRESPOND WITH J. DAVIDSON AND T. HECKEL RE: COMPILING A BIBLE OF BACKGROUND
        DOCUMENTS FOR THE LONDON TEAM (0.6); LIAISE WITH NY TEAM RE: ACCESS TO THE DATA-ROOM
        DOCUMENTS (.3).


   10/04/22 Perez, Alfredo R.                     0.10        169.50                        012    65822997
       COMMUNICATIONS WITH J. DAVIDSON REGARDING UK RECOGNITION.


   10/04/22   Kelly-Taglianini, Amedea                 4.20      4,116.00      012        65835251
       ATTEND CALL WITH COMPANY'S ENGLISH COUNSEL IN ORDER TO CONFIRM THE POSITION WITH
       RESPECT TO THE PROPOSED UK RECOGNITION/WINDING-UP PETITION HEARINGS (0.6); SUMMARIZE
       CALL IN ORDER TO UPDATE THE WIDER TEAM (0.6); REVIEW CERTAIN DATAROOM DOCUMENTS AND
       ADVISOR MATERIALS IN ORDER TO CONFIRM THE PROPOSED POSITION REGARDING ROW DEBTS, AND
       SUMMARIZE SAME (2.4); DOWNLOAD WINDING-UP PETITION DOCUMENTS RECEIVED FROM COMPANY'S
       ENGLISH COUNSEL AND EMAILING THEM TO CLARIFY THE POSITION WITH RESPECT TO THE PURPORTED
       TURKISH RECOGNITION BEING SOUGHT (0.6).


   10/05/22  Perez, Alfredo R.                                    0.10          169.50      012    65828195
       REVIEW UPDATE OF UK PROCEEDINGS.


   10/05/22  Singh, Sunny                         0.20                          319.00      012    65827180
       REVIEW EMAIL SUMMARIES RE UK LANDLORD ACTION.


   10/05/22  Lawford, Mark                          0.30       514.50                       012    65822504
       DISCUSSION WITH J DAVIDSON RE INTER-COURT COMMUNICATIONS.


   10/05/22    Lado, Luke                              6.50       8,157.50         012        65843860
       BRIEF; REVIEW CHAPTER 11 MOTION (3.0); REVIEW FACILITY AGREEMENTS (2.0); REVIEW SECURITY
       DOCUMENTS (1.5).


   10/05/22     Kelly-Taglianini, Amedea                          9.00        8,820.00      012    65835302
                 Case 22-90168 Document 1090 Filed in TXSB on 12/07/22 Page 95 of 128




Cineworld (Regal Cinemas) Unsecured Creditors' Committee - Cineworld UCC
25808.0003
2022012213

                                           ITEMIZED SERVICES - 25808.0003 - Cineworld UCC


   Date         Timekeeper/Narrative                            Hours         Amount        Task   Index
        ATTEND UK RECOGNITION/WINDING-UP PETITION HEARING AND SUMMARIZE SAME FOR INTERNAL
        TEAM (2.4); PREPARE DRAFT CLIENT UPDATE EMAIL AND REVISE FOR PARTNER COMMENTS (1.2); LIAISE
        WITH TRAINEE ASSOCIATE REGARDING REVIEW OF DATA-ROOM DOCUMENTS (0.6); IDENTIFY AND
        SEND BACKGROUND MATERIALS TO COLLEAGUE FOR THE PURPOSES OF BANKING/SECURITY REVIEW
        (0.6); REVIEW WIND-UP PETITION HEARING APPLICATION DOCUMENTS SENT ACROSS BY DEBTORS' UK
        COUNSEL, INCLUDING WITNESS STATEMENT AND PETITIONS (3.0); REVIEW CROSS-BORDER LITIGATION
        COOPERATION PROCEDURES AND SUMMARIZE SAME (1.2).


   10/05/22   Cross, Harrison                        3.10        3,704.50        012         65827064
       DISCUSS INITIAL MATTER BRIEFING AND SECURITY REVIEW TASK WITH J DAVIDSON (0.3); DISCUSS
       ORGANIZATION STRUCTURE AND INITIAL BRIEFING DOCUMENTS WITH A KELLY-TAGLIANINI (0.2);
       REVIEW AND CONSIDER ORGANIZATION CHART AND DEBT AND SECURITY DOCUMENTS HAVING
       REGARD TO SECURITY REVIEW (1.4); ATTEND CALL WITH WEIL NY BANKING TEAM AND WEIL LONDON
       BANKING TEAM RE: INITIAL BRIEFING AND SECURITY REVIEW (0.5); REVIEW AND DRAFT VARIOUS
       EMAILS TO WEIL LONDON BANKING TEAM RE: FOREIGN SECURITY REVIEW (0.5); CONFER WITH A LONG
       RE: PREPARING DEBT AND SECURITY DOCUMENT BIBLE IN CONNECTION WITH SECURITY REVIEW (0.2).


   10/05/22   Long, Alexander                       1.70        790.50          012        65842923
       MANAGE DOCUMENTS RECEIVED FROM NY INTERNALLY RE: FIRST DAY PLEADINGS, DIP AND CASH
       MANAGEMENT, SAVE DOWN INTERNALLY (0.4); CALL WITH H. CROSS REGARDING INSTRUCTION ON
       PREPARATION OF AN INTERNAL BIBLE OF DEBT AND SECURITY DOCUMENTS (0.3); PREPARE BIBLE
       INDEX FOR BANKING DOCUMENTS (1.0).


   10/06/22  Lawford, Mark                           0.20         343.00                    012    65827216
       EMAILS WITH J DAVIDSON RE RECOGNITION OF THE CHAPTER 11 IN THE UK.


   10/06/22  Lado, Luke                              6.40      8,032.00          012        65843692
       REVIEW SUMMARY OF ENGLISH SECURITY (3.0); REVIEW COMPANY HOUSE SEARCHES (1.0); EMAILS;
       REVIEW SECURITY AGREEMENTS (1.0); REVIEW FACILITY AGREEMENTS (.4); REVIEW EMAIL TO DUTCH
       COUNSEL (1.0).


   10/06/22  Kelly-Taglianini, Amedea              1.20     1,176.00       012       65835255
       REVIEW FIRST DAY HEARING TRANSCRIPT FOR BACKGROUND AND PARTICULAR COMMENTARY ON UK
       RECOGNITION ISSUES.
                 Case 22-90168 Document 1090 Filed in TXSB on 12/07/22 Page 96 of 128




Cineworld (Regal Cinemas) Unsecured Creditors' Committee - Cineworld UCC
25808.0003
2022012213

                                           ITEMIZED SERVICES - 25808.0003 - Cineworld UCC


   Date         Timekeeper/Narrative                            Hours         Amount        Task   Index

   10/06/22  Cross, Harrison                       1.20         1,434.00      012           65829708
       REVIEW DEBT AND SECURITY DOCUMENTS IN CONNECTION WITH UK SECURITY REVIEW (0.5); PREPARE
       DOCUMENT BIBLE FOR UK RESTRUCTURING TEAM (0.3); DISCUSS SAME WITH A LONG (0.2); CONSIDER
       EMAILS RE ENGAGING FOREIGN COUNSEL IN CONNECTION WITH SECURITY REVIEW (0.2).


   10/06/22   Long, Alexander                      0.70       325.50        012         65842907
       REVISE BIBLE INDEX OF BANKING DOCUMENTS AND ARRANGE FOR PREPARATION OF BIBLE FOR J.
       DAVIDSON.


   10/07/22   Kelly-Taglianini, Amedea                 5.40      5,292.00        012        65835282
       REVIEW FIRST DAY HEARING TRANSCRIPT FOR BACKGROUND AND PARTICULAR COMMENTARY ON UK
       RECOGNITION ISSUES (2.4); CORRESPOND WITH J. DAVIDSON REGARDING ENGAGING JERSEY LEGAL
       COUNSEL AND RESEARCH SAME (0.6); LIAISE WITH TRAINEE ASSOCIATE TO SORT UK WINDING-UP
       PETITION SEARCHES (0.6); REVIEW PRELIMINARY BASIS UK DEBTORS' COUNSEL TAX STRAWMAN (1.8).


   10/07/22  Cross, Harrison                         0.80       956.00          012       65840089
       REVIEW EMAIL FROM S WILLIGENBURG RE: DUTCH SECURITY RECOGNITION (0.1); REVIEW FOLDER OF
       ADDITIONAL DEBT AND SECURITY DOCUMENTS (0.2); REVIEW AND DISCUSS WEIL LONDON DEBT
       SUMMARY WITH J DAVIDSON (0.4); EMAILS RE WEEKLY INSOLVENCY SEARCHES (0.1).


   10/10/22  Lawford, Mark                                        0.20          343.00      012    65850666
       EMAILS WITH J DAVIDSON RE RECOGNITION.


   10/10/22     Kelly-Taglianini, Amedea               3.60       3,528.00         012        65887415
       REVIEW DIP MOTION TO CONFIRM GROUP DEBT WITH PARTICULAR REGARD TO UK/OTHER FOREIGN
       JURISDICTION DEBTORS' POSITION AS BORROWER/GUARANTOR (1.8); REVIEW TRAINEE TASK OF
       CONFIRMING WINDING-UP PETITIONS, AND CORRESPOND WITH TRAINEE REGARDING NEW PETITION
       (1.2); CONFIRM POSITION OF THE LATEST WINDING-UP PETITION ON UK COURTS' E-FILING SYSTEM AND
       LONDON GAZETTE (0.6).


   10/10/22  Cross, Harrison                       0.10        119.50                       012    65874469
       REVIEW AND CONSIDER INSOLVENCY SEARCHES OF UK ENTITIES.
                 Case 22-90168 Document 1090 Filed in TXSB on 12/07/22 Page 97 of 128




Cineworld (Regal Cinemas) Unsecured Creditors' Committee - Cineworld UCC
25808.0003
2022012213

                                           ITEMIZED SERVICES - 25808.0003 - Cineworld UCC


   Date         Timekeeper/Narrative                            Hours         Amount        Task   Index

   10/11/22  Lawford, Mark                           0.10      171.50                       012    65872032
       DISCUSSION WITH J DAVIDSON RE UCC MEMBER'S STATUTORY DEMAND.


   10/11/22   Kelly-Taglianini, Amedea                3.60       3,528.00      012        65887392
       LIAISE WITH LONDON BANKING TEAM TO CONFIRM THE POSITION RE SETTLEMENT FACILITY (WITH
       RESPECT TO UK/HUNGARY GUARANTOR POSITION) AND REVIEWING SAID FACILITY (0.6); CORRESPOND
       WITH VARIOUS JERSEY LOCAL COUNSEL RE THEIR ENGAGEMENT (0.6); REVIEW POSSIBLE HUNGARIAN
       LOCAL COUNSEL (0.6); DRAFT INTERNAL EMAIL TO CONFIRM STATUS OF PROCEEDING WITH
       ADDITIONAL LOCAL COUNSEL (0.6); CONFIRM THE POSITION OF NON-US/UK GUARANTORS WITHIN THE
       GROUP, INCLUDING REVIEWING THE GROUP'S STRUCTURE CHART AND VARIOUS FILINGS (WINDING-UP
       PETITIONS AND CORRESPONDING WITNESS STATEMENTS) (1.2).


   10/12/22  Lawford, Mark                                        0.20          343.00      012    65879156
       DISCUSSION WITH J DAVIDSON.


   10/12/22    Kelly-Taglianini, Amedea                7.20       7,056.00       012        65887379
       RESEARCH POSSIBLE LOCAL COUNSEL ENGAGEMENT IN HUNGARY AND JERSEY AND CONFER WITH
       SAME AND J. DAVIDSON RE: SAME (3.6); CORRESPOND WITH J. DAVIDSON AND NY TEAM RE: LATEST
       HEARINGS STATUS, PARTICULARLY WITH RESPECT TO SECOND DAY HEARING, AND READING PRESS
       COVERAGE OF SAME (1.8); REVIEW LATEST UCC DISCUSSION MATERIALS FOR UK/NON-US-RELATED
       ISSUES (0.6); REVIEW DRAFT JERSEY COUNSEL ENGAGEMENT LANGUAGE AND TERMS, INCLUDING
       COMPARING AGAINST PRECEDENTS AND PROPOSING EDITS TO J. DAVIDSON (1.2).


   10/12/22    Heckel, Theodore S.                 0.40       452.00       012          65887030
       CORRESPOND WITH WEIL UK TEAM RE: SECOND DAY HEARING AND UK WORKSTREAMS (.2); CALL
       WITH J. DAVIS RE: UK WORKSTREAMS (.2).


   10/13/22    Kelly-Taglianini, Amedea              6.00        5,880.00        012      65887446
       EMAIL HUNGARIAN LOCAL COUNSEL TO CONFIRM ABILITY TO ACT AND LOCATE RELEVANT
       BACKGROUND MATERIALS FOR PRELIMINARY CONFLICTS CHECK (0.6); UPDATE WINDING-UP
       PETITION/INSOLVENCY TRACKER AND CONFIRMING RELEVANT UK DEBTOR ENTITIES (0.6); RESEARCH
       POSSIBLE BASIS OF AUTOMATIC STAY RECOGNITION AT ENGLISH COMMON LAW (3.6); CATCH-UP WITH
       J. DAVIDSON (0.6); CORRESPOND WITH DEBTOR COUNSEL RE UK DEVELOPMENT (0.6).
                 Case 22-90168 Document 1090 Filed in TXSB on 12/07/22 Page 98 of 128




Cineworld (Regal Cinemas) Unsecured Creditors' Committee - Cineworld UCC
25808.0003
2022012213

                                           ITEMIZED SERVICES - 25808.0003 - Cineworld UCC


   Date         Timekeeper/Narrative                            Hours         Amount        Task   Index

   10/13/22  Long, Alexander                          3.00       1,395.00      012           65910823
       PREPARE BIBLE OF DOCUMENTS FOR J. DAVIDSON (1.7); SHARE ADDITIONAL DOCUMENTS (0.3); SHARE
       DOCUMENTS WITH OGIER (0.2); UPDATE INSOLVENCY SEARCHES TRACKER, SHARE INTERNALLY (0.5);
       DISCUSS WITH A. KELLY-TAGLIANINI AND SCHEDULE S&M CALL (0.3).


   10/14/22  Lawford, Mark                          0.30        514.50                      012    65898814
       EMAILS WITH A TAGLIANINI RE APPROACH TO RECOGNITION IN ENGLAND.


   10/14/22  Davidson, Jenny                          0.80      1,372.00       012         65896295
       EMAILS WITH LOCAL COUNSEL (0.3); COORDINATE A. KELLY-TAGLIANINI ON RECOGNITION AND LOCAL
       COUNSEL (0.5).


   10/14/22   Kelly-Taglianini, Amedea               4.20       4,116.00       012       65896268
       EMAIL HUNGARIAN LOCAL COUNSEL TO SET OUT NEXT STEPS OF ENGAGEMENT (0.6); CORRESPOND
       WITH JERSEY COUNSEL AND BANKING TEAM ON JERSEY COMPANY/INSOLVENCY SEARCHES (0.6);
       FURTHER RESEARCH POSSIBLE BASES OF AUTOMATIC STAY RECOGNITION AT ENGLISH COMMON LAW,
       COMPILE LIST OF PROMINENT CASES AND LIAISE WITH TRAINEE REGARDING SAME (3.0).


   10/14/22  Long, Alexander                      0.30       139.50       012         65910960
       EMAILS ON SCHEDULING CALL WITH S&M AND SHARE DOCUMENTS WITH HUNGARIAN COUNSEL.


   10/17/22  Kelly-Taglianini, Amedea                1.20      1,176.00       012        65978435
       CORRESPOND WITH DUTCH COUNSEL RE PROPOSED ENGAGEMENT TERMS (0.6); LIAISE WITH TRAINEE
       RE WINDING-UP PETITION/INSOLVENCY SEARCHES, INCLUDING VERIFYING HISTORICAL RECEIVERSHIP
       APPOINTMENT (0.6).


   10/17/22  Long, Alexander                         2.00       930.00         012         65982983
       PREPARE BIBLE OF CASES ON UK RECOGNITION, RESEARCH AND EMAILS RE: SAME (1.3); ARRANGE
       SCHEDULING FOR SLAUGHTER & MAY CALL ON UK LANDLORDS AND EMAILS ON THE SAME (0.3);
       ARRANGE INSOLVENCY SEARCHES AND INTERNAL EMAILS RE: SAME (0.4).


   10/18/22     Gogna, Reena                                      1.00        1,715.00      012    65983131
                 Case 22-90168 Document 1090 Filed in TXSB on 12/07/22 Page 99 of 128




Cineworld (Regal Cinemas) Unsecured Creditors' Committee - Cineworld UCC
25808.0003
2022012213

                                           ITEMIZED SERVICES - 25808.0003 - Cineworld UCC


   Date         Timekeeper/Narrative                            Hours         Amount        Task   Index
        REVIEW UNDERLYING SECURITY DOCUMENTS AND DRAFT COMMENTS AND ANALYSIS.


   10/18/22   Lado, Luke                                3.50     4,392.50         012       65981871
       CALLS (1.0); REVIEW DEBENTURES (1.0); CONSIDER ENFORCEMENT OF THE ENGLISH SECURITY OVER
       DUTCH SHARES (1.0); CONSIDER NEW SECURITY OVER ROW AND CONSEQUENCES FOR UNSECURED
       CREDITORS (.5).


   10/18/22  Kelly-Taglianini, Amedea              3.60      3,528.00         012        65978451
       REVIEW ENGLISH DEBENTURES WITH RESPECT TO CROWN UK HOLDCO/CROWN NL HOLDCO SECURITY
       QUERY, INCLUDING CORRESPONDING WITH THE UK BANKING TEAM (1.2); REVIEW AND PROPOSE
       AMENDMENTS TO DRAFT HUNGARIAN COUNSEL ENGAGEMENT TERMS (1.8); SUMMARIZE PROPOSED
       LOCAL COUNSEL ENGAGEMENT FOR THE INTERNAL TEAM AHEAD OF SHARING WITH THE UCC (0.6).


   10/19/22  Long, Alexander                      0.10                           46.50      012    65983203
       SHARE BIBLE OF BANKING DOCUMENTS INTERNALLY.


   10/20/22  Kelly-Taglianini, Amedea                 3.00      2,940.00        012        65978449
       REVIEW LATEST UCC PRESENTATION DECK FOR UPDATES, PARTICULARLY WITH REGARD TO
       UK/NON-US ISSUES (1.8); ATTEND CALL WITH SLAUGHTER AND MAY AS DEBTORS' UK COUNSEL TO
       DISCUSS UK WINDING-UP PETITIONS AND UK LANDLORD NEGOTIATIONS (0.6); DISCUSS WITH J.
       DAVIDSON AND TRAINEE CURRENT STATUS AHEAD OF THE CALL WITH DEBTORS' UK COUNSEL (0.6).


   10/20/22  Long, Alexander                        0.70        325.50           012        65982693
       INTERNAL UPDATE MEETING WITH J. DAVIDSON AND A. KELLY-TAGLIANINI (0.3); PREPARE FOR AND
       ATTEND CALL WITH S&M, K&E ON UK LANDLORDS AND UPDATES (0.4).


   10/21/22  Kelly-Taglianini, Amedea              0.60       588.00       012       65978443
       REVIEW LATEST UCC PRESENTATION DECK TO CONFIRM NO NOTEWORTHY UK-RELATED UPDATES.


   10/24/22  Kelly-Taglianini, Amedea               1.20       1,176.00         012        66022598
       REVIEW LATEST CHP11 UPDATES FOR ANY NON-US/UK RELATED ISSUES (0.6); REVIEW LATEST TRAINEE
       WINDING-UP SEARCH TRACKER, CORRESPOND INTERNALLY RE: SAME, AND CONFIRM POSITION ON
       LONDON GAZETTE (UK OFFICIAL INSOLVENCY RECORD) (0.6).
                Case 22-90168 Document 1090 Filed in TXSB on 12/07/22 Page 100 of 128




Cineworld (Regal Cinemas) Unsecured Creditors' Committee - Cineworld UCC
25808.0003
2022012213

                                           ITEMIZED SERVICES - 25808.0003 - Cineworld UCC


   Date         Timekeeper/Narrative                            Hours         Amount        Task   Index

   10/24/22  Long, Alexander                     0.50           232.50         012                 66041886
       CONDUCT INSOLVENCY SEARCHES AND REVIEW RESULTS (.3); UPDATE TRACKER (.1); EMAIL
       INTERNALLY RE: SAME (.1).


   10/25/22  Davidson, Jenny                        0.20      343.00       012        66034696
       COMMUNICATIONS WITH A. KELLY-TAGLIANINI RE LOCAL COUNSEL ENGAGEMENTS AND OTHER UK
       WORK STREAMS.


   10/25/22  Kelly-Taglianini, Amedea                1.80       1,764.00        012         66022486
       REVIEW LATEST UCC ADVISER MATERIALS FOR POTENTIAL UK/NON-US NEXUS (0.6); LIAISE WITH
       BANKING TEAM AND DUTCH COUNSEL REGARDING THE SCOPE OF LOCAL COUNSEL ENGAGEMENT AND
       SUMMARIZE THE POSITION FOR J. DAVIDSON/US TEAM ON SAME (1.2).


   10/26/22  Kelly-Taglianini, Amedea             1.20        1,176.00      012        66022593
       REVIEW ABRIDGED COMPANY ORG CHART, VERIFY UK ENTITIES AND CORRESPOND WITH THE NY TEAM
       AND TRAINEE ON SAME.


   10/26/22  Long, Alexander                       0.30       139.50                        012    66041877
       REVIEW UCC DECK AND FLAG COMMENTS TO A. KELLY-TAGLIANINI.


   10/27/22   Kelly-Taglianini, Amedea              1.20      1,176.00       012       66022612
       LIAISE WITH LOCAL COUNSEL TO CONFIRM WIP AND SUMMARIZE SAME FOR INTERNAL PURPOSES.


   10/28/22  Kelly-Taglianini, Amedea                1.20      1,176.00        012       66022492
       REVIEW UK COURT FILINGS WITH RESPECT TO ENGLISH WINDING-UP PETITIONS AND CORRESPOND
       WITH DEBTOR'S UK COUNSEL REGARDING SAME IN ORDER TO CONFIRM HEARING ADJOURNMENT (0.6);
       REVIEW LATEST PRESS COMMENTARY FOR CASE DEVELOPMENTS AND/OR ANY NON-US NEXUS (0.6).


   10/31/22  Kelly-Taglianini, Amedea              2.40       2,352.00       012           66053799
       CONFIRM LATEST UK WINDING-UP/INSOLVENCY SEARCHES POSITION WITH TRAINEE (0.6); REVIEW
       LATEST COMMENTARY AND OTHER PUBLIC MATERIALS FOLLOWING FINAL DIP HEARING AND
       CONSENSUAL UCC/DEBTOR AGREEMENT (1.8).
                Case 22-90168 Document 1090 Filed in TXSB on 12/07/22 Page 101 of 128




Cineworld (Regal Cinemas) Unsecured Creditors' Committee - Cineworld UCC
25808.0003
2022012213

                                           ITEMIZED SERVICES - 25808.0003 - Cineworld UCC


   Date         Timekeeper/Narrative                            Hours         Amount        Task   Index

   10/31/22   Cross, Harrison                       0.20        239.00       012        66047191
       REVIEW AND CONSIDER PRESS RELEASES ON DIP LOAN APPROVAL IN CONNECTION WITH FOREIGN
       LEGAL ISSUES.


   10/31/22 Long, Alexander                       0.50        232.50        012                    66060697
       CONDUCT INSOLVENCY SEARCHES, REVIEW RESULTS AND SHARE FINDINGS INTERNALLY.


    SUBTOTAL TASK 012 - International Matters (IM):             112.80     $117,473.00

   10/14/22   Bernstein, Lauren                       1.80       2,250.00          013        65905396
       CALL WITH J. FRIEDMANN AND J. WOLLMUTH TO DISCUSS MATTER BACKGROUND, REVIEW OF
       DOCUMENT REQUESTS, AND NEXT STEPS (0.7); CALL WITH A. PEREZ, J. FRIEDMANN, AND J. WOLLMUTH
       TO DISCUSS DOCUMENT REQUESTS (0.4); EMAIL WITH J. WOLLMUTH REGARDING EDITS TO DOCUMENT
       REQUESTS (0.3); REVIEW DRAFT DOCUMENT REQUESTS AND REVISED SET (0.4).


   10/14/22   Wollmuth, John                           5.80      4,002.00        013        65902207
       REVIEW BACKGROUND MATERIALS TO CINEWORLD RESTRUCTURING LITIGATION (1.5); MEET WITH
       J.FRIEDMANN AND L.BERNSTEIN TO DISCUSS (0.6); ANALYZE CURRENT DISCOVERY REQUESTS (0.9);
       FOLLOW-UP CONVERSATION WITH A.PEREZ, J.FRIEDMANN, L.BERNSTEIN (0.5); INCORPORATE
       LITIGATION TEAM'S FEEDBACK INTO, AND RESPOND TO THE LATEST DRAFT OF RFP FROM CO-COUNSEL
       (2.3).


   10/15/22   Wollmuth, John                          3.40        2,346.00         013        65948255
       REVISE RFP (1.1); CORRESPONDENCE RE SAME WITH L.BERNSTEIN (0.3); REVISE UPDATED VERSION OF RFP
       AND MAKING FURTHER EDITS (2.0).


   10/16/22  Friedmann, Jared R.                       1.50      2,092.50        013         65910618
       REVIEW AND REVISE REVISED DRAFT DOCUMENT REQUESTS TO DEBTORS (0.7); EMAILS WITH TEAM RE:
       SAME AND NEXT STEPS (0.1); REVIEW REVISED DRAFT OF DOCUMENT REQUESTS AND EMAILS WITH
       TEAM RE: SAME (0.2); REVIEW PROPOSAL TO SHIFT IMMEDIATE FOCUS TO DEPOSITIONS IN LIEU OF
       DOCUMENT DISCOVERY AND EMAILS WITH TEAM RE: SAME (0.2); REVIEW NOTES FROM UCC ADVISORS
       CALL AND EMAILS WITH L.BERNSTEIN AND J.WOLLMOTH RE: SAME (0.3).


   10/16/22     Bernstein, Lauren                                 1.00        1,250.00      013    65947212
                Case 22-90168 Document 1090 Filed in TXSB on 12/07/22 Page 102 of 128




Cineworld (Regal Cinemas) Unsecured Creditors' Committee - Cineworld UCC
25808.0003
2022012213

                                           ITEMIZED SERVICES - 25808.0003 - Cineworld UCC


   Date         Timekeeper/Narrative                            Hours         Amount        Task   Index
        CALL WITH J. WOLLMUTH TO DISCUSS COMMENTS ON DRAFT DOCUMENT REQUESTS (0.1); REVIEW J.
        FRIEDMANN COMMENTS ON DRAFT DOCUMENT REQUESTS (0.2); REVIEW NOTES FROM STRATEGY CALL
        WITH WEIL TEAM, CO-COUNSEL, AND ADVISORS (0.4); REVIEW EMAILS REGARDING DOCUMENT
        REQUEST STRATEGY AND EMAIL WITH J. FRIEDMANN AND J. WOLLMUTH REGARDING SAME (0.3).


   10/16/22   Wollmuth, John                        3.20       2,208.00        013       65948286
       PREPARE FOR MEETING AND CORRESPOND WITH J.FRIEDMANN RE UPDATES (0.4); CORRESPONDENCE
       AND DRAFT UCCS FIRST RFP TO SUPPORT UPCOMING OBJECTION FILING AND ORAL ARGUMENT RE
       SAME, AND CIRCULATE DRAFT FROM LITIGATION TEAM TO RESTRUCTURING TEAM FOR REVIEW AND
       SIGN OFF (2.8).


   10/18/22    Friedmann, Jared R.                      1.80      2,511.00        013       65940157
       CALL WITH L.BERNSTEIN RE: PREPARING FOR DISCOVERY/DEPOSITIONS (0.2); REVIEW PROPOSED
       CONFIDENTIALITY ORDER AND EDITS TO SAME (0.5); CALL WITH L.BERNSTEIN RE: SAME AND NEXT
       STEPS (0.2); REVIEW PACHULSKI PROPOSED MARK-UP OF CONFIDENTIALITY AGREEMENT AND EMAILS
       WITH L.BERNSTEIN RE: SAME (0.3); LITIGATION STRATEGY COORDINATION CALL WITH PACHULSKI AND
       WEIL TEAM (0.5); EMAILS WITH DEBTORS’ COUNSEL RE: COORDINATING MEET AND CONFER RE:
       DISCOVERY (0.1).


   10/18/22   Bernstein, Lauren                      1.60       2,000.00          013        65975430
       CALL WITH PACHULSKI, J. FRIEDMANN AND J. WOLLMUTH TO DISCUSS DEPOSITIONS (0.6); CALL WITH
       J. WOLLMUTH TO DISCUSS REVIEW OF MATERIALS TO PREP FOR DEPOSITIONS (0.4); MARK UP
       PROTECTIVE ORDER AND EMAIL WITH J. FRIEDMANN REGARDING SAME (0.6).


   10/18/22   Wollmuth, John                       2.30         1,587.00       013           65948289
       CORRESPONDENCE RE DISCOVERY UPDATES FROM DEBTOR WITH LITIGATION TEAM, ANALYZE KEY
       DOCUMENTS TO PREPARE FOR DEPOSITIONS WEEK OF 10/24, AND REVIEW UPDATES IN CASE (1.4);
       PARTICIPATE ON CALL WITH CO-COUNSEL REGARDING DEPOSITION AND DISCOVERY STRATEGY,
       PREPARE AND CIRCULATE NOTES OF CALL (0.9).


   10/19/22  Bernstein, Lauren                       1.50       1,875.00      013        65975475
       REVIEW SUMMARY OF CALL WITH KIRKLAND (0.2); REVIEW J. WOLLMUTH ANALYSIS OF INFORMATION
       TO GLEAN FROM DEPOSITIONS AND PROVIDED FEEDBACK (1.1); EMAILS REGARDING PULLING
       KIRKLAND DOCUMENT PRODUCTION (0.2).
                Case 22-90168 Document 1090 Filed in TXSB on 12/07/22 Page 103 of 128




Cineworld (Regal Cinemas) Unsecured Creditors' Committee - Cineworld UCC
25808.0003
2022012213

                                           ITEMIZED SERVICES - 25808.0003 - Cineworld UCC


   Date         Timekeeper/Narrative                            Hours         Amount        Task   Index

   10/19/22   Wollmuth, John                          3.70        2,553.00        013       65948293
       REVIEW PROTECTIVE ORDER, MOTION FOR RECONSIDERATION, AND LATEST PERELLA WEINBERG
       UPDATE TO PREPARE FOR UPCOMING DEPOSITIONS (1.0); PARTICIPATE IN AND CIRCULATE NOTES
       FROM MEETING WITH DEBTORS COUNSEL AND CO-COUNSEL (0.6); ANALYZE MOTION FOR
       RECONSIDERATION FOR L.BERNSTEIN TO DETERMINE EVIDENTIARY NEEDS OF CASE IN PREPARATION
       FOR DIP HEARING/OBJECTION (1.8); COORDINATE WITH LSS TO PULL DEBTORS FIRST PRODUCTION OF
       DISCOVERY (0.3).


   10/20/22  Bernstein, Lauren                         2.40       3,000.00       013        65975469
       CALL WITH PACHULSKI AND WEIL TO DISCUSS STRATEGY (0.5); CALL WITH J. WOLLMUTH TO DISCUSS
       CREATING LIST OF GOALS FOR DEPOSITIONS (0.2); EMAILS REGARDING ACCESS TO DOCUMENT
       PRODUCTION (0.3); EMAILS WITH J. WOLLMUTH REGARDING REVIEW OF DOCUMENT PRODUCTION (0.3);
       REVIEW KIRKLAND'S DOCUMENT PRODUCTION (0.7); REVISE DRAFT EMAIL SUMMARIZING DOCUMENT
       PRODUCTION (0.4).


   10/20/22  Wollmuth, John                           7.40     5,106.00        013        66000301
       DRAFT DEPO PREP MATERIALS BASED ON MATERIALS AND CORRESPOND WITH WEIL PROFESSIONALS
       TO COORDINATE RETRIEVAL OF PRODUCTION (5.0); REVIEW DEBTOR'S FIRST PRODUCTION AND DRAFT
       SUMMARY RE SAME FOR J.FRIEDMANN AND L.BERNSTEIN (2.4).


   10/20/22  Chavez, Miguel                        1.80         684.00                      013    66051321
       RELATIVITY DATABASE SETUP, DATA LOAD TO RELATIVITY, DATA QC.


   10/21/22   Friedmann, Jared R.                        1.10       1,534.50      013         65983210
       REVIEW ANALYSES OF INITIAL PRODUCTION OF DOCUMENTS BY DEBTORS (0.2); EMAILS WITH
       DEBTORS’ COUNSEL RE: SAME (0.2); REVIEW DEBTORS’ WRITTEN RESPONSES AND OBJECTIONS TO
       DOCUMENTS REQUESTS AND EMAIL RE: MAKING WITNESSES AVAILABLE FOR DEPOSITIONS (0.2);
       EMAILS WITH CO-COUNSEL RE: SAME AND NEXT STEPS (0.1); REVIEW FOLLOW-UP EMAILS WITH
       DEBTORS RE: DEPOSITIONS (0.1); REVIEW DIP ISSUES LIST AND CORRESPONDENCE RE: REVISIONS TO
       SAME (0.3).


   10/21/22  Bernstein, Lauren                      0.20        250.00                      013    65979746
       CALL WITH J. WOLLMUTH TO DISCUSS UPDATED DEPOSITION OBJECTIONS CHART.
                Case 22-90168 Document 1090 Filed in TXSB on 12/07/22 Page 104 of 128




Cineworld (Regal Cinemas) Unsecured Creditors' Committee - Cineworld UCC
25808.0003
2022012213

                                           ITEMIZED SERVICES - 25808.0003 - Cineworld UCC


   Date         Timekeeper/Narrative                            Hours         Amount        Task   Index

   10/21/22  Wollmuth, John                          2.50      1,725.00      013         66000287
       DRAFT DEPO GOALS CHART OUTLINE (2.0); REVIEW MATTER CORRESPONDENCE AND UPDATES (0.5).


   10/22/22  Wollmuth, John                                       0.10           69.00      013    66000291
       CORRESPONDENCE RE DEBTORS PRODUCTION.


   10/23/22  Bernstein, Lauren                    2.60      3,250.00        013       65985746
       REVIEW PART OF DEBTORS' DOCUMENT PRODUCTION AND MAKE NOTES OF SAME (1.8);
       COMMUNICATE WITH J. WOLLMUTH REGARDING REVIEW AND ANALYSIS OF DOCUMENTS (0.4);
       REVIEW DRAFT EMAILS REGARDING DOCUMENT ANALYSIS AND PROVIDE FEEDBACK ON SAME (0.4).


   10/23/22   Wollmuth, John                      4.90        3,381.00      013       66000310
       REVIEW DEBTORS' SECOND PRODUCTION, CORRESPOND WITH L.BERNSTEIN AND MEMBERS OF WEIL RX
       RE APPROACH TO SAME.


   10/23/22  Haiken, Lauren C.                    0.90         391.50                       013    66054768
       CHECK PRODUCTION FOR TECHNICAL ACCURACY PER L. BERNSTEIN.


   10/24/22     Friedmann, Jared R.                     1.00      1,395.00        013     66118102
       CALL WITH A.KORNFELD RE: DEPOSITIONS AND LITIGATION STRATEGY (0.3); REVIEW DOCUMENTS
       FROM DEBTORS SECOND PRODUCTION AND EMAILS WITH L.BERNSTEIN AND J.WOLLMOTH RE: SAME
       (0.6); EMAILS WITH LITIGATION TEAM RE: LATEST STATUS AND NEXT STEPS (0.1).


   10/24/22   Bernstein, Lauren                        3.00     3,750.00       013       66023408
       MEET WITH J. WOLLMUTH TO DISCUSS REVIEW OF DOCUMENTS AND OUTSTANDING PROJECTS (0.4);
       REVISE EMAILS SUMMARIZING HOT DOCUMENTS AND REVIEWED DOCUMENTS (1.8); EMAILS
       REGARDING DEPOSITIONS (0.1); EMAILS WITH J. WOLLMUTH REGARDING ANALYSIS OF DEBTOR
       DOCUMENTS (0.7).


   10/24/22   Wollmuth, John                      1.60      1,104.00        013          66000247
       CONDUCT DOCUMENT REVIEW AND DRAFT INITIAL UPDATE LETTER FOR J.FRIEDMANN (1.2); MEET
       WITH L.BERNSTEIN (0.4).
                Case 22-90168 Document 1090 Filed in TXSB on 12/07/22 Page 105 of 128




Cineworld (Regal Cinemas) Unsecured Creditors' Committee - Cineworld UCC
25808.0003
2022012213

                                           ITEMIZED SERVICES - 25808.0003 - Cineworld UCC


   Date         Timekeeper/Narrative                            Hours         Amount        Task   Index

   10/24/22     Wollmuth, John                        7.20       4,968.00       013        66000270
       CONDUCT DOCUMENT REVIEW OF DEBTORS’ SECOND PRODUCTION, CORRESPOND WITH L.BERNSTEIN
       RE SAME (3.3); EXTRACT 2 SETS OF RELEVANT DOCUMENTS AND PROVIDE BRIEF ANALYSIS RE SAME
       AND THEIR POTENTIAL USE, AND CIRCULATE ANALYSIS AND FINDINGS TO WEIL LIT AND RX TEAMS
       (3.5); REVIEW AND RESPOND TO MATTER CORRESPONDENCE (0.4).


   10/24/22  Haiken, Lauren C.                       2.30     1,000.50                      013    66054704
       CONFER WITH J. WOLLMUTH TO AID IN REVIEW OF DOCUMENTS.


   10/25/22  Friedmann, Jared R.                        0.60         837.00        013        66009346
       EMAILS RE: DOCUMENTS PRODUCED BY DEBTORS ADDRESSING DIP ISSUES (0.2); REVIEW LIST OF
       POTENTIAL DEPOSITION TOPICS (0.2); CALL WITH L.BERNSTEIN RE: PREPARING FOR DEPOSITIONS AND
       NEXT STEPS (0.2).


   10/25/22  Bernstein, Lauren                        0.50       625.00          013       66023446
       EMAILS REGARDING REVIEW OF DEBTORS' DOCUMENTS (0.3); CALL WITH J. FRIEDMANN TO DISCUSS
       STATUS OF NEGOTIATIONS (0.1); REVIEW EMAILS BETWEEN UCC AND DEBORS (0.1).


   10/25/22    Wollmuth, John                         4.80       3,312.00         013       66000283
       FINISH REVIEW AND ANALYSIS OF DEBTOR'S DOCUMENTS (2.2); CONFER WITH L.BERNSTEIN RE NEXT
       STEPS (0.1); REVIEW AND RESPOND TO CORRESPONDENCE RE SAME TOPICS (0.2); CONTINUE WORK ON
       THE DEVELOPMENT OF DEPOSITION TOPICS (1.6); DRAFT SECOND UPDATE RE NOTABLE DOCUMENTS
       FROM DEBTORS' SECOND PRODUCTION FOR J.FRIEDMANN AND L.BERNSTEIN (.7).


   10/26/22  Wollmuth, John                         1.60       1,104.00         013         66053787
       WORK ON DEPOSITION PREP MATERIALS, COMPILE IMPORTANT DOCUMENTS IN APPROPRIATE FORM,
       AND REVIEW RELATED MATTER CORRESPONDENCE TO DEPOSITION PREP (0.6); CORRESPOND WITH
       L.BERNSTEIN RE THIRD PRODUCTION AND APPROACH TO SAME (0.1); CALL WITH T.HECKEL, REVIEW
       MATTER UPDATES AND CORRESPONDENCE RE DEBTORS' THIRD PRODUCTION (0.3); CONTINUE REVIEW
       OF DEBTORS' THIRD PRODUCTION (0.6).


    SUBTOTAL TASK 013 - Litigation Matters (BL):                 74.10      $62,161.00

   09/29/22     Perez, Alfredo R.                                 0.30          508.50      016    65795723
                Case 22-90168 Document 1090 Filed in TXSB on 12/07/22 Page 106 of 128




Cineworld (Regal Cinemas) Unsecured Creditors' Committee - Cineworld UCC
25808.0003
2022012213

                                           ITEMIZED SERVICES - 25808.0003 - Cineworld UCC


   Date         Timekeeper/Narrative                            Hours         Amount        Task   Index
        VARIOUS COMMUNICATIONS WITH UCC AND UCC ADVISORS REGARDING PERELLA RETENTION (.2);
        COMMUNICATIONS WITH G. MACK REGARDING BANKER SELECTION (.1).


   09/29/22  Heckel, Theodore S.                       0.10                     113.00      016    65838333
       CALL WITH A. SENOUSSI (PWP) RE: RETENTION APPLICATION.


   09/30/22  Heckel, Theodore S.                                  0.10          113.00      016    65838568
       CORRESPOND WITH PSZJ TEAM RE: TASK CODES.


   10/01/22  Heckel, Theodore S.                                  0.10          113.00      016    65839864
       CORRESPOND WITH PSZJ RE: TASK CODES.


   10/03/22  Heckel, Theodore S.                       0.60         678.00       016        65839996
       CALL WITH S. SU RE: PWP RETENTION APPLICATION (.3); CORRESPOND WITH KATTAN TEAM RE: PWP
       RETENTION APPLICATION (.1); CORRESPOND WITH WEIL TEAM RE: PWP RETENTION APPLICATION (.2).


   10/03/22     Young, Felicity                         0.70         752.50 016         65819695
       REVIEW PWP RETENTION APPLICATION PRECEDENTS AND EMAILS WITH PWP AND KATTEN RE: SAME
       (.4); REVIEW S.D.TEX LOCAL RULES RE: RETENTION APPLICATIONS (.3).


   10/04/22  Su, Yifan                              0.50          345.00       016        65814970
       MEET WITH F. YOUNG ABOUT RETENTION APPLICATIONS (.3); RESEARCH RETENTION APPLICATION
       PRECEDENTS (.2).


   10/04/22    Young, Felicity                          2.10       2,257.50       016        65819710
       REVIEW PRECEDENT RETENTION APPLICATIONS FOR UCC INVESTMENT BANKER APPOINTMENTS (.5);
       EMAILS WITH KATTEN AND PWP RE: PWP RETENTION APPLICATION (.4); MEET WITH S SU RE: DRAFT
       RETENTION APPLICATION (.4); CONSIDER PRECEDENTS RE: FTI RETENTION APPLICATION AND EMAIL TO
       J SILBER REGARDING SAME (.3); DRAFT EMAIL TO L FINLAY RE: WEIL RETENTION APPLICATION
       PROCESS AND FORMS (.5).


   10/05/22     Perez, Alfredo R.                                 0.30          508.50      016    65828155
                Case 22-90168 Document 1090 Filed in TXSB on 12/07/22 Page 107 of 128




Cineworld (Regal Cinemas) Unsecured Creditors' Committee - Cineworld UCC
25808.0003
2022012213

                                           ITEMIZED SERVICES - 25808.0003 - Cineworld UCC


   Date         Timekeeper/Narrative                            Hours         Amount        Task   Index
        REVIEW PJT RETENTION PAPERS.


   10/05/22  Heckel, Theodore S.                   0.80        904.00           016        65841888
       CORRESPOND WITH WEIL TEAM RE: DEBTORS' RETENTION APPLICATIONS (.3); REVIEW DEBTORS'
       RETENTION APPLICATION (.5).


   10/05/22  Silber, Joseph                                       3.10        2,139.00      016    65824079
       DRAFT FTI RETENTION APPLICATION.


   10/05/22  Su, Yifan                                0.70        483.00         016        66116834
       COMPILE RETENTION APPS ON DOCKET (.3); MEET WITH F. YOUNG RE: RETENTION APPLICATIONS (.4).


   10/05/22  Young, Felicity                         0.80        860.00          016               66046983
       REVIEW FTI PRECEDENT RETENTION APPLICATIONS AND EMAIL J SILBER RE: SAME (.6); EMAIL
       CORRESPONDENCE WITH FTI RE PII LIST AND RETENTION (.2).


   10/06/22  Perez, Alfredo R.                                    0.30          508.50      016    65835548
       REVIEW KIRKLAND RETENTION APPLICATION.


   10/06/22  Silber, Joseph                            4.20       2,898.00         016        65829384
       DRAFT FTI RETENTION APPLICATION (3.8); CALL WITH F. YOUNG RE: FTI RETENTION APPLICATION (.4).


   10/06/22  Young, Felicity                           0.40                     430.00      016    65915946
       CALL WITH J SILBER RE: FTI RETENTION APPLICATION.


   10/07/22  Perez, Alfredo R.                                    0.20          339.00      016    65847897
       REVIEW KIRKLAND RETENTION APPLICATION.


   10/07/22  Silber, Joseph                           0.10         69.00                    016    65836536
       CONFER WITH F. YOUNG RE: STATUS OF FTI RETENTION APPLICATION,.


   10/10/22     Perez, Alfredo R.                                 0.10          169.50      016    65872328
                Case 22-90168 Document 1090 Filed in TXSB on 12/07/22 Page 108 of 128




Cineworld (Regal Cinemas) Unsecured Creditors' Committee - Cineworld UCC
25808.0003
2022012213

                                           ITEMIZED SERVICES - 25808.0003 - Cineworld UCC


   Date         Timekeeper/Narrative                            Hours         Amount        Task   Index
        TELEPHONE CONFERENCE WITH J. FRIEDMAN REGARDING INTERIM COMPENSATION MOTION.


   10/10/22   Friedman, Julie T.                         0.40       278.00      016         65868415
       REVIEW INTERIM COMP MOTION AND PREPARE EMAIL RE: SAME (.2); CONFER WITH S. SINGH RE:
       BILLING MATTERS (.1); CALL WITH A. PEREZ RE: INTRIM COMP MOTION (.1).


   10/14/22  Perez, Alfredo R.                      0.10       169.50        016                   65913606
       VARIOUS COMMUNICATIONS WITH S. SINGH AND B. SANDLER REGARDING FEE BUDGET.


   10/14/22  Young, Felicity                        0.20       215.00        016                   65915961
       REVIEW AND RESPOND TO EMAILS WITH FTI AND PWP REGARDING RETENTION APPLICATIONS.


   10/17/22  Young, Felicity                       2.00       2,150.00                      016    66050866
       DRAFT AMENDMENTS TO THE PJT AND FTI RETENTION APPLICATIONS.


   10/17/22  Jalomo, Chris                         0.30        102.00                       016    66042127
       REVIEW AND ORGANIZE RETENTION APPLICATION EXAMPLES FOR F. YOUNG.


   10/18/22  Singh, Sunny                           0.50                        797.50      016    65974614
       CALL WITH PACHULSKI AND PERELLA TEAM RE PJT RETENTION.


   10/18/22  Foust, Rachael L.                    0.20        233.00        016        66060844
       CORRESPOND WITH F. YOUNG AND TEAM REGARDING STATUS OF RETENTION APPLICATIONS AND
       NEXT STEPS.


   10/18/22  Heckel, Theodore S.                     0.70         791.00     016        66052401
       REVIEW SUMMARY AND ISSUES OVERVIEW RE: DEBTORS' PROFESSIONAL ADVISORS' RETENTION
       APPLICATIONS (.5); REVIEW A&G REALTY RETENTION APPLICATION (.2).


   10/18/22   Su, Yifan                              1.30        897.00                     016    65946690
       REVISE DEBTORS’ RETENTION MEMO (.2); DRAFT SUMMARY SLIDE (1.1).
                Case 22-90168 Document 1090 Filed in TXSB on 12/07/22 Page 109 of 128




Cineworld (Regal Cinemas) Unsecured Creditors' Committee - Cineworld UCC
25808.0003
2022012213

                                           ITEMIZED SERVICES - 25808.0003 - Cineworld UCC


   Date         Timekeeper/Narrative                            Hours         Amount        Task   Index

   10/18/22  Young, Felicity                         0.50                       537.50      016    66050790
       CALL WITH PWP AND PSZJ TO DISCUSS PWP RETENTION.


   10/19/22  Findlay, Loren                       1.20     1,176.00      016        65968718
       REVIEW AND SUMMARIZE INTERIM COMP PAYMENT PROCEDURES AND CORRESPONDENCE RE SAME.


   10/19/22  Silber, Joseph                                       4.00        2,760.00      016    65954615
       REVIEW AND REVISE FTI RETENTION APPLICATION.


   10/19/22   Su, Yifan                                           1.20          828.00      016    65974695
       REVISE PWP RETENTION APPLICATION.


   10/19/22  Su, Yifan                             1.10                         759.00      016    65974805
       DRAFT AND REVISE INTERIM FEE PROCEDURE SUMMARY.


   10/19/22  Young, Felicity                          1.00         1,075.00        016      66051024
       REVIEW AND PROVIDE COMMENTS ON THE PWP ENGAGEMENT LETTER (.4). EMAILS WITH PWP RE:
       RETENTION APPLICATION (.1) CALL WITH S ROCHESTER (.3); CONSIDER ISSUES RE CONSULTANT
       RETENTION BY PWP (.2).


   10/20/22   Silber, Joseph                           3.90      2,691.00         016        65968572
       REVISE FTI RETENTION APPLICATION (3.3); CONDUCT RESEARCH RE: FTI RETENTION APPLICATION (.6).


   10/20/22 Su, Yifan                              5.20      3,588.00      016        65974794
       COMPARE PWP RETENTION APPLICATION TO PRECEDENTS AND COMMENT ON PROPOSED EDITS.


   10/20/22  Young, Felicity                         4.00        4,300.00       016                66051051
       REVIEW AND DRAFT FTI RETENTION APPLICATION (2.0); REVIEW AND DRAFT PWP RETENTION
       APPLICATION (2.0).


   10/21/22     Silber, Joseph                                    3.70        2,553.00      016    65977154
                Case 22-90168 Document 1090 Filed in TXSB on 12/07/22 Page 110 of 128




Cineworld (Regal Cinemas) Unsecured Creditors' Committee - Cineworld UCC
25808.0003
2022012213

                                           ITEMIZED SERVICES - 25808.0003 - Cineworld UCC


   Date         Timekeeper/Narrative                            Hours         Amount        Task   Index
        RESEARCH ISSUES RE: RETENTIONS.


   10/21/22   Su, Yifan                                           1.40          966.00      016    65978341
       REVISE PWP RETENTION APPLICATION.


   10/21/22    Young, Felicity                      1.00    1,075.00          016        66050870
       UPDATE PWP ENGAGEMENT LETTER AND THE RETENTION APPLICATION (.8); CALL FROM S ROCHESTER
       (.1); EMAILS RE: RETENTION APPLICATION (.1).


   10/25/22  Singh, Sunny                                         0.50          797.50      016    66008470
       REVIEW FTI AND PWP RETENTION APPLICATION.


   10/25/22   Silber, Joseph                                      2.80        1,932.00      016    66000193
       REVISE FTI RETENTION APPLICATION.


   10/25/22   Su, Yifan                                           1.50        1,035.00      016    66010415
       REVISE PWP RETENTION APPLICATION.


   10/25/22  Su, Yifan                            0.40        276.00                        016    66010472
       EMAILS AND REVIEW RETENTION APPLICATION COMMENTS AND UPDATES.


   10/25/22  Young, Felicity                        1.80       1,935.00         016        66050923
       REVIEW AND SETTLE COMMENTS TO THE THE FTI RETENTION APPLICATION (.7); REVIEW AND SETTLE
       COMMENTS TO THE PWP RETENTION APPLICATION (.8) REVIEW AND SETTLE COMMENT TO THE PWP
       ENGAGEMENT LETTER (.3).


   10/26/22 Perez, Alfredo R.                     0.10       169.50        016                     66017021
       COMMUNICATIONS WITH R. FOUST REGARDING PERELLA WEINBERG RETENTION APPLICATION.


   10/26/22   Singh, Sunny                                        0.30          478.50      016    66013897
       CALLS RE PJT RETENTION.
                Case 22-90168 Document 1090 Filed in TXSB on 12/07/22 Page 111 of 128




Cineworld (Regal Cinemas) Unsecured Creditors' Committee - Cineworld UCC
25808.0003
2022012213

                                           ITEMIZED SERVICES - 25808.0003 - Cineworld UCC


   Date         Timekeeper/Narrative                            Hours         Amount        Task   Index

   10/26/22  Foust, Rachael L.                    0.40        466.00        016        66060650
       CORRESPOND INTERNALLY REGARDING PJT RETENTION APPLICATION AND OBJECTION EXTENSION.


   10/26/22  Foust, Rachael L.                    0.30        349.50        016                    66060681
       CORRESPOND WITH F. YOUNG AND TEAM REGARDING STATUS OF FEE APPLICATIONS.


   10/26/22  Heckel, Theodore S.                    0.20       226.00        016                   66057550
       CORRESPOND WITH WEIL TEAM RE: DEBTORS' PROFESSIONALS RETENTION APPLICATIONS.


   10/26/22   Su, Yifan                                 0.50        345.00        016              66015896
       EMAIL F. YOUNG, J. ZHANG, AND J. SILBER ABOUT PJT RETENTION APPLICATION AND REDLINE
       AGAINST PRECEDENTS.


   10/26/22   Young, Felicity                           1.70       1,827.50        016      66051031
       REVISE PWP RETENTION APPLICATION AND ENGAGEMENT LETTER INCLUDING EMAILS WITH S
       ROCHESTER (KATTEN REGARDING SAME) (.8); CORRESPONDENCE WITH FTI AND PACHULSKI RE: THEIR
       RESPECTIVE APPLICATIONS (.2); DISCUSS PJT RETENTION WITH R FOUST AND PWP (.4); EMAIL
       KIRKLAND RE: PJT RETENTION (.3).


   10/27/22  Foust, Rachael L.                     0.60                         699.00      016    66060672
       REVIEW OTHER UCC PROFESSIONALS RETENTION APPLICATIONS.


   10/27/22   Silber, Joseph                                      3.00        2,070.00      016    66018697
       REVISE FTI RETENTION APPLICATION.


   10/27/22  Su, Yifan                             0.20        138.00      016                     66274781
       CONFER WITH F. YOUNG ABOUT RETENTION APPLICATION DRAFTS AND COMMENTS.


   10/27/22  Young, Felicity                          2.00      2,150.00                    016    66050788
       REVIEW AND REVISE THE FTI, PJT AND PACHULSKI RETENTION APPLICATIONS.


   10/28/22     Foust, Rachael L.                                 1.40        1,631.00      016    66060706
                Case 22-90168 Document 1090 Filed in TXSB on 12/07/22 Page 112 of 128




Cineworld (Regal Cinemas) Unsecured Creditors' Committee - Cineworld UCC
25808.0003
2022012213

                                           ITEMIZED SERVICES - 25808.0003 - Cineworld UCC


   Date         Timekeeper/Narrative                            Hours         Amount        Task   Index
        REVIEW UCC PROFESSIONAL RETENTION APPLICATIONS (0.6); CORRESPOND WITH F. YOUNG RE
        FINALIZATION AND FILING OF SAME (0.8).


   10/28/22  Heckel, Theodore S.                      0.40        452.00         016         66057593
       CORRESPOND WITH WEIL TEAM RE: RETENTION APPLICATIONS (.2); CALL WITH F. YOUNG RE:
       RETENTION APPLICATIONS (.1); FOLLOW UP CALL WITH F. YOUNG RE: RETENTION APPLICATIONS (.1).


   10/28/22   Silber, Joseph                           1.80      1,242.00        016               66024597
       REVISE AND FINALIZE WEIL, PWP, FTI, AND PACHULSKI RETENTION APPLICATIONS.


   10/28/22  Su, Yifan                                  3.20       2,208.00       016          66036186
       PREPARE FINAL FILING VERSIONS OF FTI, PACHULSKI, AND PWP APPLICATIONS, REDLINES AND FINAL
       REVIEW (2.7); CONFER WITH J. SILBER AND F. YOUNG ABOUT FILING RETENTION APPLICATIONS (.5).


   10/28/22   Young, Felicity                         4.00       4,300.00       016  66036540
       FINALIZE AND FILE THE FTI, PWP AND PACHULSKI RETENTION APPLICATIONS INCLUDING
       CORRESPONDENCE WITH THE COMMITTEE CO-CHAIRS AND VARIOUS WEIL ATTORNEYS REGARDING
       SAME.


   10/31/22  Singh, Sunny                                         0.60          957.00      016    66050268
       CALLS AND EMAILS RE PJT RETENTION APP.


    SUBTOTAL TASK 016 - Retention / Fee                          77.10      $67,815.00
    Applications: Non-Weil Professionals (CPO &
    RPO):

   09/28/22  Barr, Matthew S.                                     0.50          975.00      017    66262458
       CALL WITH TEAM REGARDING ENGAGEMENT.


   09/30/22     Perez, Alfredo R.                    0.40        678.00       017        65798557
       REVIEW CONFLICTS LIST (.2); VARIOUS COMMUNICATIONS WITH WEIL TEAM REGARDING RETENTION
       (.1); TELEPHONE CONFERENCE WITH T. HECKEL REGARDING RETENTION (.1).
                Case 22-90168 Document 1090 Filed in TXSB on 12/07/22 Page 113 of 128




Cineworld (Regal Cinemas) Unsecured Creditors' Committee - Cineworld UCC
25808.0003
2022012213

                                           ITEMIZED SERVICES - 25808.0003 - Cineworld UCC


   Date         Timekeeper/Narrative                            Hours         Amount        Task   Index

   09/30/22     Heckel, Theodore S.                   0.40        452.00        017        65838503
       CORRESPOND WITH WEIL TEAM RE: RETENTION APPLICATION (.2); REVIEW REVISIONS TO TASK CODES
       (.1); CORRESPOND WITH WEIL TEAM RE: TASK CODES (.1).


   09/30/22  Lee, Kathleen Anne                        1.90        940.50       017        65794177
       COORDINATE WITH T. HECKEL RE: RETENTION (.2); DRAFT DISCLOSURE SCHEDULE FOR RETENTION
       APPLICATION (1.7).


   10/01/22  Perez, Alfredo R.                        0.80     1,356.00        017       65798554
       WORK ON WEIL RETENTION ISSUES (.4); VARIOUS COMMUNICATIONS WITH WEIL TEAM REGARDING
       RETENTION ISSUES (.4).


   10/01/22  Friedman, Julie T.                     0.50                        347.50      017    65794104
       PREPARE TASK CODES FOR MATTER AND EMAILS RE: SAME.


   10/01/22  Heckel, Theodore S.                                  0.10          113.00      017    65839975
       CORRESPOND WITH WEIL TEAM RE: TASK CODES.


   10/02/22  Perez, Alfredo R.                    0.20         339.00       017                    65798511
       REVIEW FINAL TASK CODES AND COMMUNICATIONS WITH J. FRIEDMAN REGARDING SAME.


   10/03/22  Su, Yifan                              1.10          759.00        017        65803812
       CALL WITH T. HECKEL ABOUT RETENTION APPLICATION (.3); RESEARCH SDTX RETENTION RULES (.8).


   10/03/22  Lee, Kathleen Anne                    3.50                       1,732.50      017    65811744
       DRAFT DISCLOSURE SCHEDULE FOR RETENTION APPLICATION.


   10/04/22  Lee, Kathleen Anne                    2.60                       1,287.00      017    65833933
       DRAFT DISCLOSURE SCHEDULE FOR RETENTION APPLICATION.


   10/05/22     Lee, Kathleen Anne                                2.00          990.00      017    65834015
                Case 22-90168 Document 1090 Filed in TXSB on 12/07/22 Page 114 of 128




Cineworld (Regal Cinemas) Unsecured Creditors' Committee - Cineworld UCC
25808.0003
2022012213

                                           ITEMIZED SERVICES - 25808.0003 - Cineworld UCC


   Date         Timekeeper/Narrative                            Hours         Amount        Task   Index
        UPDATE DISCLOSURE SCHEDULE FOR WEIL RETENTION APPLICATION.


   10/06/22  Su, Yifan                            0.20                          138.00      017    66117564
       COORDINATE WITH PARALEGAL WITH RETENTION APP.


   10/06/22  Lee, Kathleen Anne                    6.00       2,970.00                      017    65875508
       UPDATE DISCLOSURE SCHEDULE FOR WEIL RETENTION APPLICATION.


   10/07/22  Findlay, Loren                           2.40        2,352.00                  017    65837887
       DRAFT WEIL RETENTION APPLICATION (2.2); CALL WITH T. HECKEL RE: SAME (.2).


   10/07/22  Heckel, Theodore S.                      0.20                      226.00      017    65842175
       CALL WITH L. FINDLAY RE: WEIL RETENTION APPLICATION.


   10/07/22  Lee, Kathleen Anne                    1.90        940.50                       017    65879956
       DRAFT DISCLOSURE SCHEDULE FOR WEIL RETENTION APPLICATION.


   10/10/22  Findlay, Loren                                       0.30          294.00      017    65867121
       DRAFT WEIL RETENTION APPLICATION.


   10/10/22  Young, Felicity                          0.60        645.00           017         65915785
       EMAILS RE: STATUS OF FTI, PWP AND WEIL RETENTION APPLICATIONS (.4); CALL WITH K LEE RE: WEIL
       RETENTION APPLICATION (.2).


   10/10/22  Lee, Kathleen Anne                    5.80        2,871.00          017        65880062
       DRAFT DISCLOSURE SCHEDULE FOR RETENTION APPLICATION (5.6); CALL WITH F. YOUNG RE: WEIL
       RETENTION APPLICATION (.2).


   10/11/22  Findlay, Loren                                       0.90          882.00      017    65875292
       DRAFT WEIL RETENTION APPLICATION.


   10/11/22     Lee, Kathleen Anne                                9.20        4,554.00      017    65885642
                Case 22-90168 Document 1090 Filed in TXSB on 12/07/22 Page 115 of 128




Cineworld (Regal Cinemas) Unsecured Creditors' Committee - Cineworld UCC
25808.0003
2022012213

                                           ITEMIZED SERVICES - 25808.0003 - Cineworld UCC


   Date         Timekeeper/Narrative                            Hours         Amount        Task   Index
        DRAFT DISCLOSURE SCHEDULE FOR WEIL RETENTION APPLICATION (9.0); CORRESPOND WITH F. YOUNG
        RE: SAME (.2).


   10/12/22  Findlay, Loren                                       0.20          196.00      017    65888495
       DRAFT WEIL RETENTION APPLICATION.


   10/13/22  Findlay, Loren                                       1.00          980.00      017    65901191
       DRAFT WEIL RETENTION APPLICATION.


   10/14/22  Findlay, Loren                                       1.30        1,274.00      017    65910434
       DRAFT WEIL RETENTION APPLICATION.


   10/14/22   Lee, Kathleen Anne                       2.00         990.00     017          66057086
       ASSIST F. YOUNG WITH WEIL RETENTION APPLICATION AND SUPPLEMENTAL PARTIES (1.6); CONFER
       WITH L. FINDLEY RE: SAME (.2); CORRESPOND WITH CONFLICTS RE: SAME (.2).


   10/15/22  Findlay, Loren                                       0.80          784.00      017    65910627
       DRAFT WEIL RETENTION APPLICATION.


   10/15/22  Young, Felicity                         1.30                     1,397.50      017    65916041
       REVIEW AND REVISE WEIL RETENTION APPLICATION.


   10/16/22  Findlay, Loren                                       1.30        1,274.00      017    65910917
       DRAFT WEIL RETENTION APPLICATION.


   10/17/22   Foust, Rachael L.                     0.80          932.00       017         66060843
       REVIEW AND REVISE DRAFT WEIL RETENTION APPLICATION (0.7); CORRESPOND WITH F. YOUNG RE
       SAME (0.1).


   10/17/22     Findlay, Loren                                    5.40        5,292.00      017    65931616
                Case 22-90168 Document 1090 Filed in TXSB on 12/07/22 Page 116 of 128




Cineworld (Regal Cinemas) Unsecured Creditors' Committee - Cineworld UCC
25808.0003
2022012213

                                           ITEMIZED SERVICES - 25808.0003 - Cineworld UCC


   Date         Timekeeper/Narrative                            Hours         Amount        Task   Index
        DRAFT WEIL RETENTION APPLICATION (.2); REVIEW AND REVISE DISCLOSURE SCHEDULE FOR WEIL
        RETENTION APPLICATION (5.2).


   10/17/22  Young, Felicity                                      1.00        1,075.00      017    66051035
       DRAFT WEIL RETENTION APPLICATION.


   10/18/22  Findlay, Loren                           2.50       2,450.00      017        65941288
       DRAFT WEIL RETENTION APPLICATION (.8); UPDATE DISCLOSURE SCHEDULE FOR WEIL RETENTION
       APPLICATION (1.7).


   10/18/22  Young, Felicity                           0.50        537.50         017          66050939
       DISCUSS RETENTION APPLICATION WITH R FOUST (.3); DRAFT EMAIL TO S SINGH TO L FINDLAY (.2).


   10/19/22  Findlay, Loren                        0.20        196.00                       017    65968689
       UPDATE DISCLOSURE SCHEDULE FOR WEIL RETENTION APPLICATION.


   10/19/22  Young, Felicity                      0.50        537.50        017        66050921
       REVIEW AND RESPOND TO EMAILS REGARDING RETENTION APPLICATION AND DISCLOSURE SCHEDULE.


   10/19/22   Lee, Kathleen Anne                    0.70        346.50         017                 66057089
       ASSIST WITH FINALIZING DISCLOSURE SCHEDULE FOR WEIL RETENTION APPLICATION.


   10/20/22  Findlay, Loren                        2.50       2,450.00                      017    65972680
       UPDATE DISCLOSURE SCHEDULE FOR WEIL RETENTION APPLICATION.


   10/20/22   Silber, Joseph                       2.50                       1,725.00      017    65968591
       REVISE DISCLOSURE SCHEDULE FOR RETENTION APPLICATION.


   10/21/22  Singh, Sunny                                         1.30        2,073.50      017    65978656
       REVIEW WEIL RETENTION APP.


   10/21/22     Findlay, Loren                                    0.80          784.00      017    65977638
                Case 22-90168 Document 1090 Filed in TXSB on 12/07/22 Page 117 of 128




Cineworld (Regal Cinemas) Unsecured Creditors' Committee - Cineworld UCC
25808.0003
2022012213

                                           ITEMIZED SERVICES - 25808.0003 - Cineworld UCC


   Date         Timekeeper/Narrative                            Hours         Amount        Task   Index
        UPDATE DISCLOSURE SCHEDULE FOR WEIL RETENTION APPLICATION.


   10/21/22  Silber, Joseph                        1.10        759.00                       017    65977196
       UPDATE DISCLOSURE SCHEDULE TO WEIL RETENTION APPLICATION.


   10/22/22  Findlay, Loren                        4.70       4,606.00                      017    65978207
       UPDATE DISCLOSURE SCHEDULE FOR WEIL RETENTION APPLICATION.


   10/23/22  Findlay, Loren                        1.00        980.00          017        65985000
       UPDATE DISCLOSURE SCHEDULE FOR WEIL RETENTION APPLICATION (.7); DRAFT WEIL RETENTION
       APPLICATION (.3).


   10/23/22  Silber, Joseph                          0.40        276.00                     017    65980017
       REVIEW S. SINGH'S COMMENTS ON WEIL RETENTION APPLICATION.


   10/24/22 Perez, Alfredo R.                     0.10        169.50        017                    65997141
       COMMUNICATIONS WITH L. FINDLAY REGARDING WEIL RETENTION APPLICATION.


   10/24/22  Foust, Rachael L.                      0.90         1,048.50      017          66060629
       REVIEW AND REVISE WEIL RETENTION APPLICATION (0.7); CORRESPOND INTERNALL RE SAME (0.2).


   10/24/22  Findlay, Loren                        5.10       4,998.00         017        65992543
       UPDATE DISCLOSURE SCHEDULE FOR WEIL RETENTION APPLICATION (3.2); DRAFT AND REVISE WEIL
       RETENTION APPLICATION (1.9).


   10/24/22  Heckel, Theodore S.                       0.20          226.00         017            66057509
       CALL WITH J. SILBER RE: WEIL RETENTION APPLICATION (.1); CALL WITH L. FINDLAY RE: WEIL
       RETENTION APPLICATION (.1).


   10/24/22   Silber, Joseph                                      2.10        1,449.00      017    65991898
       REVISE RETENTION APPLICATION.
                Case 22-90168 Document 1090 Filed in TXSB on 12/07/22 Page 118 of 128




Cineworld (Regal Cinemas) Unsecured Creditors' Committee - Cineworld UCC
25808.0003
2022012213

                                           ITEMIZED SERVICES - 25808.0003 - Cineworld UCC


   Date         Timekeeper/Narrative                            Hours         Amount        Task   Index

   10/25/22  Perez, Alfredo R.                       1.30        2,203.50      017         66009374
       REVIEW AND REVISE WEIL RETENTION APPLICATION (1.0); TELEPHONE CONFERENCE WITH R. FOUST
       REGARDING COMMENTS (.1); MEET WITH L. FINDLAY REGARDING COMMENTS (.1); VARIOUS
       COMMUNICATIONS WITH M. BARR REGARDING COMMENTS (.1).


   10/25/22  Barr, Matthew S.                                     1.10        2,145.00      017    66022388
       REVIEW WEIL RETENTION APP.


   10/25/22  Foust, Rachael L.                        1.30         1,514.50     017                66060609
       REVIEW WEIL RETENTION APPLICATION (0.4); REVIEW OTHER UCC PROFESSIONALS' RETENTION
       APPLICATIONS (0.6); CORRESPOND WITH F. YOUNG RE SAME (0.3).


   10/25/22  Findlay, Loren                                       1.10        1,078.00      017    66009704
       DRAFT WEIL RETENTION APPLICATION.


   10/25/22   Silber, Joseph                       1.20         828.00                      017    66000204
       REVISE DISCLOSURE SCHEDULE FOR WEIL RETENTION APPLICATION.


   10/25/22  Young, Felicity                      1.70       1,827.50       017         66050892
       REVIEW AND RESPOND TO QUESTIONS REGARDING THE WEIL RETENTION APPLICATION INCLUDING
       CALL WITH S CHO AND M HICKEY.


   10/26/22  Perez, Alfredo R.                     0.20        339.00        017                   66016920
       VARIOUS COMMUNICATIONS WITH L. FINDLAY AND T. HECKEL REGARDING WEIL RETENTION
       APPLICATION.


   10/26/22  Barr, Matthew S.                        1.20      2,340.00       017                  66118348
       REVIEW REVISED RETENTION APP (1.0); CORRESPONDENCE REGARDING SAME WITH TEAM (.2).


   10/26/22  Findlay, Loren                        0.90       882.00                        017    66017477
       REVIEW WEIL RETENTION APPLICATION AND CORRESPONDENCE RE SAME.
                Case 22-90168 Document 1090 Filed in TXSB on 12/07/22 Page 119 of 128




Cineworld (Regal Cinemas) Unsecured Creditors' Committee - Cineworld UCC
25808.0003
2022012213

                                           ITEMIZED SERVICES - 25808.0003 - Cineworld UCC


   Date         Timekeeper/Narrative                            Hours         Amount        Task   Index

   10/26/22  Heckel, Theodore S.                         0.40        452.00       017      66057557
       CORRESPOND WITH WEIL TEAM RE: WEIL RETENTION APPLICATION (.2); REVIEW REVISIONS TO WEIL
       RETENTION APPLICATION (.1); CALL WITH S. SUE RE: WEIL RETENTION APPLICATION (.1).


   10/26/22   Silber, Joseph                          1.40       966.00         017         66011506
       CALL DISCUSSING DISCLOSURE SCHEDULE (0.5); FOLLOW UP EMAILS DISCUSSING NEXT STEPS ON
       RETENTION APPLICATION (0.4); REDLINE ENGAGEMENT LETTER AGAINST PRECEDENTS (0.5).


   10/26/22   Su, Yifan                                  4.00         2,760.00        017       66015849
       REVISE RETENTION APPLICATION (1.3); REVISE PII LIST (1); COORDINATE WITH F. YOUNG AND LIBRARY
       TO LOCATE WEIL CREDITOR REPRESENTATIONS (1.1); CALL WITH J. SILBER AND F. YOUNG ABOUT PII
       LIST AND DISCLOSURE SCHEDULE AND REVISE SAME (.6).


   10/26/22  Young, Felicity                        2.50         2,687.50       017      66050773
       REVIEW AND FINALIZE THE WEIL DISCLOSURE SCHEDULE (2.2); REVIEW AND RESPOND TO COMMENTS
       FROM M BARR RE: APPLICATION (.3).


   10/27/22  Perez, Alfredo R.                      1.50         2,542.50       017        66023932
       REVIEW AND REVISE WEIL RETENTION APPLICATION (1.1); CONFERENCE CALL WITH R. FOUST AND F.
       YOUNG REGARDING WEIL RETENTION APPLICATION (.4).


   10/27/22  Foust, Rachael L.                        0.80         932.00      017                 66060628
       REVIEW WEIL RETENTION APPLICATION (0.6); CORRESPOND WITH F. YOUNG RE SAME (0.2).


   10/27/22  Findlay, Loren                        0.50                         490.00      017    66024418
       CORRESPONDENCE RE WEIL RETENTION APPLICATION.


   10/27/22   Heckel, Theodore S.                     0.30      339.00          017        66057556
       CORRESPOND WITH WEIL TEAM RE: WEIL RETENTION APPLICATION (.2); CALL WITH F. YOUNG AND R.
       FOUST (PARTIAL) RE: WEIL RETENTION APPLICATION (.1).


   10/27/22     Silber, Joseph                                    2.10        1,449.00      017    66018694
                Case 22-90168 Document 1090 Filed in TXSB on 12/07/22 Page 120 of 128




Cineworld (Regal Cinemas) Unsecured Creditors' Committee - Cineworld UCC
25808.0003
2022012213

                                           ITEMIZED SERVICES - 25808.0003 - Cineworld UCC


   Date         Timekeeper/Narrative                            Hours         Amount        Task   Index
        CONDUCT RESEARCH AND REVISE DECLARATION DISCLOSURE LANGUAGE IN RETENTION APPLICATION.


   10/27/22   Su, Yifan                              2.80                     1,932.00      017    66018549
       REVISE AND FINALIZE WEIL RETENTION APPLICATION.


   10/27/22   Young, Felicity                        3.00         3,225.00        017      66050912
       REVIEW AND REVISE WEIL RETENTION APPLICATION PURSUANT TO COMMENTS FROM M BARR, A
       PEREZ AND S SINGH ON THE RETENTION APPLICATION (2.0); FINALIZE DISCLOSURE SCHEDULES
       INCLUDING VARIOUS EMAILS TO PARTNERS REGARDING SAME (1.0).


   10/27/22 Okada, Tyler                           0.80           220.00                    017    66039396
       CONDUCT RESEARCH RE: WEIL RETENTION APPLICATIONS FOR J. SILBER.


   10/28/22  Perez, Alfredo R.                      0.20                        339.00      017    66037039
       REVIEW CHANGES TO THE FINAL WEIL RETENTION APPLICATION.


   10/28/22  Singh, Sunny                                         0.30          478.50      017    66030170
       REVIEW WEIL RETENTION APPLICATION.


   10/28/22  Friedman, Julie T.                   2.60      1,807.00                        017    66030559
       REVIEW WEIL RETENTION APPLICATION AND COMMENT ON SAME.


   10/28/22  Findlay, Loren                                       0.20          196.00      017    66025262
       REVIEW AND FILE WEIL RETENTION APPLICATION.


   10/28/22   Heckel, Theodore S.                     0.40          452.00        017         66057589
       CALL WITH R. FOUST RE: WEIL RETENTION APPLICATION (.2); FOLLOW UP CALL WITH R. FOUST RE:
       FILING RETENTION APPLICATIONS (.2).


   10/28/22     Su, Yifan                                         2.20        1,518.00      017    66036045
                Case 22-90168 Document 1090 Filed in TXSB on 12/07/22 Page 121 of 128




Cineworld (Regal Cinemas) Unsecured Creditors' Committee - Cineworld UCC
25808.0003
2022012213

                                            ITEMIZED SERVICES - 25808.0003 - Cineworld UCC


   Date         Timekeeper/Narrative                            Hours           Amount       Task   Index
        EMAIL J. FRIEDMAN AND F. YOUNG RE: FINAL REVIEW OF APPLICATION AND PRECEDENTS (.4); REVISE
        WEIL RETENTION APPLICATION (1.8).


   10/28/22   Young, Felicity                         2.00      2,150.00      017        66036445
       FINALIZE AND FILE THE WEIL RETENTION APPLICATION INCLUDING CORRESPONDENCE WITH THE
       COMMITTEE CO-CHAIRS REGARDING SAME.


    SUBTOTAL TASK 017 - Retention / Fee                         121.70      $103,741.50
    Applications: Weil (CP & RP):

   10/17/22  Heckel, Theodore S.                       0.40        452.00         020         66041002
       CORRESPOND WITH WEIL TEAM RE: 341 MEETING (.1); ATTEND INITIAL MEETING OF CREDITORS (.2);
       CORRESPOND WITH PSZJ TEAM RE: 341 MEETING (.1).


   10/17/22  Su, Yifan                                            0.20           138.00      020    66117746
       ATTEND 341 MEETING.


    SUBTOTAL TASK 020 - 341(a) Meeting of                         0.60          $590.00
    Creditors (MC):

   09/29/22  Perez, Alfredo R.                    0.20        339.00                         021    65796924
       TELEPHONE CONFERENCE WITH S. STATHAM REGARDING STATUS.


   10/11/22 Okada, Tyler                           0.50      137.50        021      65941267
       CONDUCT RESEARCH RE: PRECEDENT EQUITY COMMITTEE MOTION TO APPROVE COMMITMENT
       AGREEMENT & PAYMENT OF FEES FOR L. FINDLAY.


    SUBTOTAL TASK 021 - U.S Trustee                               0.70          $476.50
    Issues/Meetings/Communications (UST):


    Total Fees Due                                            1,439.60     $1,599,736.50
                Case 22-90168 Document 1090 Filed in TXSB on 12/07/22 Page 122 of 128




Cineworld (Regal Cinemas) Unsecured Creditors' Committee - Cineworld UCC
25808.0003
2022012213


                                                 ITEMIZED DISBURSEMENTS

                          NAME
               DATE       DESCRIPTION                                         DISB TYPE    DISB ID#        AMOUNT

               10/31/22   Chase, Sarah                                        H060          41194274         458.91
                          COMPUTERIZED RESEARCH
                          PAYEE: GLOBALX (04553-01); INVOICE#: 0000028870; DATE: 10/16/2022 - INSOLVENCY
                          SEARCHES VIA GLOBALX 10 OCTOBER 2022


               10/31/22   Su, Yifan                                           H071          41193903          32.65
                          AIR COURIER/EXPRESS MAIL
                          INVOICE#: 792887889; DATE: 10/28/2022 - FEDEX INVOICE: 792887889 INVOICE
                          DATE:221028TRACKING #: 279582143318 SHIPMENT DATE: 20221025 SENDER: SUE SU WEIL
                          GOTSHAL & MANGES, 767 FIFTH AVENUE, NEW YORK CITY, NY 10153 SHIP TO: THEODORE
                          HECKEL, WEIL GOTSHAL & MANGES, 700 LOUISIANA ST STE 1700, HOUSTON, TX 77002


               10/04/22   Findlay, Loren                                      H080          41173576          20.00
                          MEALS - LEGAL O/T
                          INVOICE#: WYVHL8-L1-89; DATE: 10/9/2022 - SEAMLESS MEALS EXPENSE BY LOREN FINDLAY
                          ON 2022-10-04 AT 7:20 PM


               10/10/22   Foust, Rachael L.                                   H080          41181344          20.00
                          MEALS - LEGAL O/T
                          INVOICE#: WYVHL8-L1-90; DATE: 10/16/2022 - SEAMLESS MEALS BY RACHAEL FOUST ON
                          2022-10-10 AT 7:16 PM


               10/11/22   Foust, Rachael L.                                   H080          41181315          20.00
                          MEALS - LEGAL O/T
                          INVOICE#: WYVHL8-L1-90; DATE: 10/16/2022 - SEAMLESS MEALS BY RACHAEL FOUST ON
                          2022-10-11 AT 7:42 PM


               10/12/22   Foust, Rachael L.                                   H080          41181310          20.00
                          MEALS - LEGAL O/T
                          INVOICE#: WYVHL8-L1-90; DATE: 10/16/2022 - SEAMLESS MEALS BY RACHAEL FOUST ON
                          2022-10-12 AT 6:56 PM
                Case 22-90168 Document 1090 Filed in TXSB on 12/07/22 Page 123 of 128




Cineworld (Regal Cinemas) Unsecured Creditors' Committee - Cineworld UCC
25808.0003
2022012213


                                                 ITEMIZED DISBURSEMENTS

                          NAME
               DATE       DESCRIPTION                                          DISB TYPE     DISB ID#        AMOUNT

               10/18/22   Heckel, Theodore S.                                  H080           41177298               20.00
                          MEALS - LEGAL O/T
                          INVOICE#: CREX5457417210181205; DATE: 10/18/2022 - ATTORNEY WORKING MEAL, OCT 10,
                          2022


               10/26/22   Young, Felicity                                      H080           41207850               20.00
                          MEALS - LEGAL O/T
                          INVOICE#: WYVHL8-L1-92; DATE: 10/30/2022 - SEAMLESS MEALS EXPENSE BY FELICITY
                          YOUNG ON 2022-10-25 AT 8:18 PM


               10/05/22   Findlay, Loren                                       H163           41158590               40.98
                          TRANSPORTATION - LEGAL/OVERTIME
                          INVOICE#: CREX5444403210051201; DATE: 10/5/2022 - LOCAL TAXI, OCT 03, 2022 - UBER RIDE
                          HOME


               10/05/22   Gao, Xin                                             H163           41182451               42.15
                          TRANSPORTATION - LEGAL/OVERTIME
                          PAYEE: GET TAXI (46888-01); INVOICE#: 1051569; DATE: 10/10/2022 - GETT TAXI INVOICE#
                          1051569 DATED 101022: 05/10/2022 110 FETTER LN, LONDON EC4A 1AY, UK BETHNAL GRN RD
                          SHOREDITCH HIGH ST (STOP J), LONDON E1 6GY, UK CYNTHIA GAO


               10/10/22   Barr, Matthew S.                                     H163           41163854              160.00
                          TRANSPORTATION - LEGAL/OVERTIME
                          INVOICE#: CREX5438696010101206; DATE: 10/10/2022 - LOCAL TAXI, SEP 29, 2022 - LATE TAXI
                          HOME


               10/10/22   Foust, Rachael L.                                    H163           41186805               47.03
                          TRANSPORTATION - LEGAL/OVERTIME
                          PAYEE: XYZ (37976-01); INVOICE#: 1724177; DATE: 10/19/2022 - TAXI CHARGES FOR 2022-10-19
                          INVOICE #17241772101028574 RACHAEL L FOUST E088 RIDE DATE: 2022-10-10 FROM: 767 5 AVE,
                          MANHATTAN, NY TO: MANHATTAN, NY RIDE TIME: 23:01
                Case 22-90168 Document 1090 Filed in TXSB on 12/07/22 Page 124 of 128




Cineworld (Regal Cinemas) Unsecured Creditors' Committee - Cineworld UCC
25808.0003
2022012213


                                                 ITEMIZED DISBURSEMENTS

                          NAME
               DATE       DESCRIPTION                                          DISB TYPE     DISB ID#       AMOUNT

               10/06/22   Findlay, Loren                                       H165           41160775             30.70
                          TRANSPORTATION - LOCAL MEETING
                          INVOICE#: CREX5447181110061205; DATE: 10/6/2022 - LOCAL TAXI, OCT 04, 2022 - UBER RIDE
                          HOME


               10/12/22   Houston Office, H                                    S011           41169089              7.00
                          DUPLICATING
                          14 COLOR PRINT(S) MADE IN HOUSTON BETWEEN 10/05/2022 TO 10/11/2022


               10/12/22   Foust, Rachael L.                                    S011           41169173             10.00
                          DUPLICATING
                          20 PRINTING - COLOR IN NEW YORK CITY ON 10/05/2022 11:19AM FROM UNIT 11


               10/26/22   Houston Office, H                                    S011           41189860              9.00
                          DUPLICATING
                          18 COLOR PRINT(S) MADE IN HOUSTON BETWEEN 10/20/2022 TO 10/25/2022


               10/26/22   WGM, Firm                                            S011           41189914              7.50
                          DUPLICATING
                          15 COLOR PRINT(S) MADE IN NEW YORK BETWEEN 10/25/2022 TO 10/25/2022


               10/05/22   Kelly-Taglianini, Amedea                             S013           41161402             35.70
                          OUTSIDE DUPLICATING
                          12 TA510 TAB A5 A-Z IN LONDON ON 10/03/2022 22:28PM FROM UNIT 04


               10/05/22   Kelly-Taglianini, Amedea                             S013           41161446              6.74
                          OUTSIDE DUPLICATING
                          6 TA501 TAB A5 1-5 IN LONDON ON 10/03/2022 22:28PM FROM UNIT 04
                Case 22-90168 Document 1090 Filed in TXSB on 12/07/22 Page 125 of 128




Cineworld (Regal Cinemas) Unsecured Creditors' Committee - Cineworld UCC
25808.0003
2022012213


                                                 ITEMIZED DISBURSEMENTS

                          NAME
               DATE       DESCRIPTION                                        DISB TYPE       DISB ID#    AMOUNT

               10/05/22   Kelly-Taglianini, Amedea                           S013             41161451      0.74
                          OUTSIDE DUPLICATING
                          6 SPA5S SPIRALBIND A5 IN LONDON ON 10/03/2022 22:28PM FROM UNIT 04


               10/12/22   Davidson, Jenny                                    S013             41169111      0.12
                          OUTSIDE DUPLICATING
                          1 SPA5S SPIRALBIND A5 IN LONDON ON 10/06/2022 15:36PM FROM UNIT 20


               10/12/22   Long, Alexander                                    S013             41169118      2.49
                          OUTSIDE DUPLICATING
                          1 TA503 TAB A5 1-20 IN LONDON ON 10/06/2022 22:12PM FROM UNIT 04


               10/12/22   Long, Alexander                                    S013             41169123      9.96
                          OUTSIDE DUPLICATING
                          4 TA503 TAB A5 1-20 IN LONDON ON 10/06/2022 22:11PM FROM UNIT 04


               10/12/22   Long, Alexander                                    S013             41169135      2.93
                          OUTSIDE DUPLICATING
                          1 TA510 TAB A5 A-Z IN LONDON ON 10/06/2022 22:12PM FROM UNIT 04


               10/12/22   Davidson, Jenny                                    S013             41169142      1.66
                          OUTSIDE DUPLICATING
                          1 TA502 TAB A5 1-10 IN LONDON ON 10/06/2022 15:37PM FROM UNIT 20


               10/12/22   Long, Alexander                                    S013             41169152     11.73
                          OUTSIDE DUPLICATING
                          4 TA510 TAB A5 A-Z IN LONDON ON 10/06/2022 22:12PM FROM UNIT 04


               10/12/22   Long, Alexander                                    S013             41169155      1.46
                          OUTSIDE DUPLICATING
                          12 SPA5S SPIRALBIND A5 IN LONDON ON 10/06/2022 22:11PM FROM UNIT 04
                Case 22-90168 Document 1090 Filed in TXSB on 12/07/22 Page 126 of 128




Cineworld (Regal Cinemas) Unsecured Creditors' Committee - Cineworld UCC
25808.0003
2022012213


                                                 ITEMIZED DISBURSEMENTS

                          NAME
               DATE       DESCRIPTION                                        DISB TYPE       DISB ID#    AMOUNT

               10/12/22   Long, Alexander                                    S013             41169169        0.37
                          OUTSIDE DUPLICATING
                          3 SPA5S SPIRALBIND A5 IN LONDON ON 10/06/2022 22:12PM FROM UNIT 04


               10/19/22   Cross, Harrison                                    S013             41184162        3.39
                          OUTSIDE DUPLICATING
                          2 TA502 TAB A5 1-10 IN LONDON ON 10/13/2022 14:37PM FROM UNIT 04


               10/19/22   Cross, Harrison                                    S013             41184254        2.26
                          OUTSIDE DUPLICATING
                          2 TA501 TAB A5 1-5 IN LONDON ON 10/13/2022 14:37PM FROM UNIT 04


               10/19/22   Cross, Harrison                                    S013             41184281        0.50
                          OUTSIDE DUPLICATING
                          4 SPA5S SPIRALBIND A5 IN LONDON ON 10/13/2022 14:36PM FROM UNIT 04


               10/10/22   London, Office                                     S017             41164195    1,863.45
                          DUPLICATING
                          12423 PHOTOCOPY(S) MADE IN LONDON BETWEEN 10/03/2022 TO 10/06/2022


               10/10/22   WGM, Firm                                          S017             41164211     376.20
                          DUPLICATING
                          2508 PHOTOCOPY(S) MADE IN NEW YORK CITY BETWEEN 10/06/2022 TO 10/06/2022


               10/17/22   London, Office                                     S017             41175034     694.35
                          DUPLICATING
                          4629 PHOTOCOPY(S) MADE IN LONDON BETWEEN 10/13/2022 TO 10/14/2022


               10/17/22   WGM, Firm                                          S017             41175069      52.20
                          DUPLICATING
                          348 PHOTOCOPY(S) MADE IN NEW YORK CITY BETWEEN 10/13/2022 TO 10/13/2022
                Case 22-90168 Document 1090 Filed in TXSB on 12/07/22 Page 127 of 128




Cineworld (Regal Cinemas) Unsecured Creditors' Committee - Cineworld UCC
25808.0003
2022012213


                                                 ITEMIZED DISBURSEMENTS

                          NAME
               DATE       DESCRIPTION                                      DISB TYPE    DISB ID#    AMOUNT

               10/24/22   London, Office                                   S017          41184085     122.85
                          DUPLICATING
                          819 PHOTOCOPY(S) MADE IN LONDON BETWEEN 10/18/2022 TO 10/18/2022


               10/24/22   Houston Office, H                                S017          41184110       0.45
                          DUPLICATING
                          3 PHOTOCOPY(S) MADE IN HOUSTON BETWEEN 10/17/2022 TO 10/17/2022


               10/12/22   Foust, Rachael L.                                S018          41169166      17.00
                          DOCUMENT BINDING
                          10 DOCUMENT BINDING IN NEW YORK CITY ON 10/05/2022 11:19AM FROM UNIT 11


               10/12/22   Silber, Joseph                                   S018          41169168       5.10
                          DOCUMENT BINDING
                          3 DOCUMENT BINDING IN NEW YORK CITY ON 10/06/2022 19:20PM FROM UNIT 15


               10/19/22   Friedmann, Jared R.                              S018          41184218       1.70
                          DOCUMENT BINDING
                          1 DOCUMENT BINDING IN NEW YORK CITY ON 10/13/2022 15:39PM FROM UNIT 12


               10/05/22   Gao, Xin                                         S081          41163607       8.79
                          MEALS
                          MEALS 02/10/2022-08/10/2022


               10/06/22   Gao, Xin                                         S081          41163660      16.03
                          MEALS
                          MEALS 02/10/2022-08/10/2022


               10/18/22   Gao, Xin                                         S081          41200223      12.58
                          MEALS
                          MEALS 16/10/2022-22/10/2022
                Case 22-90168 Document 1090 Filed in TXSB on 12/07/22 Page 128 of 128




Cineworld (Regal Cinemas) Unsecured Creditors' Committee - Cineworld UCC
25808.0003
2022012213


                                                 ITEMIZED DISBURSEMENTS

                          NAME
               DATE       DESCRIPTION                                        DISB TYPE     DISB ID#    AMOUNT

               10/12/22   WGM, Firm                                          S117           41168906       8.10
                          DUPLICATING
                          54 PRINT(S) MADE IN NEW YORK BETWEEN 10/06/2022 TO 10/11/2022


               10/12/22   Houston Office, H                                  S117           41168975     483.00
                          DUPLICATING
                          3220 PRINT(S) MADE IN HOUSTON BETWEEN 10/05/2022 TO 10/11/2022


               10/12/22   Dallas, Office                                     S117           41169052      42.00
                          DUPLICATING
                          280 PRINT(S) MADE IN DALLAS BETWEEN 10/11/2022 TO 10/11/2022


               10/19/22   London, Office                                     S117           41184899       0.15
                          DUPLICATING
                          1 PRINT(S) MADE IN LONDON BETWEEN 10/13/2022 TO 10/13/2022


               10/19/22   Houston Office, H                                  S117           41184969      30.15
                          DUPLICATING
                          201 PRINT(S) MADE IN HOUSTON BETWEEN 10/13/2022 TO 10/13/2022


               10/26/22   WGM, Firm                                          S117           41189849      12.60
                          DUPLICATING
                          84 PRINT(S) MADE IN NEW YORK BETWEEN 10/25/2022 TO 10/25/2022


               10/26/22   Houston Office, H                                  S117           41189973     133.20
                          DUPLICATING
                          888 PRINT(S) MADE IN HOUSTON BETWEEN 10/20/2022 TO 10/25/2022


                          TOTAL DISBURSEMENTS                                                          $4,925.87
